19-23649-rdd        Doc 551        Filed 11/27/19 Entered 11/27/19 16:12:36                    Main Document
                                               Pg 1 of 123



DAVIS POLK & WARDWELL LLP
450 Lexington Avenue
New York, New York 10017
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Marshall S. Huebner
Benjamin S. Kaminetzky
Timothy Graulich
Eli J. Vonnegut

Counsel to the Debtors and Debtors in Possession
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          Chapter 11

PURDUE PHARMA L.P., et al.,                                     Case No. 19-23649 (RDD)

                 Debtors. 1                                     (Jointly Administered)


             FIRST MONTHLY FEE STATEMENT OF DAVIS POLK &
            WARDWELL LLP FOR COMPENSATION FOR SERVICES
      AND REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL TO THE
        DEBTORS AND DEBTORS IN POSSESSION FOR THE PERIOD FROM
              SEPTEMBER 16, 2019 THROUGH SEPTEMBER 30, 2019



    Name of Applicant                                   Davis Polk & Wardwell LLP
    Applicant’s Role in Case                            Counsel to Purdue Pharma L.P., et al.,
    Date Order of Employment Signed                    November 25, 2019 [Docket No. 542]
    Period for which compensation and                  September 16, 2019 through September 30, 2019
    reimbursement is sought


1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stamford, CT 06901.
19-23649-rdd        Doc 551        Filed 11/27/19 Entered 11/27/19 16:12:36                    Main Document
                                               Pg 2 of 123



                           Summary of Total Fees and Expenses Requested

    Total compensation requested in this                $ 2,527,631.202
    statement                                           (80% of 3,159,539.00)

    Total reimbursement requested in this               $90,233.31
    statement
    Total compensation and                              $2,617,864.51
    reimbursement requested in this
    statement
    This is a(n):    X Monthly Application               Interim Application          Final Application



         Pursuant to sections 327, 330, and 331 of chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of New York (the “Local Rules”), the Order

Approving Application of Debtors for Authority to Employ and Retain Davis Polk & Wardwell

LLP as Attorneys for the Debtors Nunc Pro Tunc to the Petition Date, dated November 25, 2019

[Docket No. 542] (the “Retention Order”), and the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals, dated November 21,

2019 [Docket No. 529] (the “Interim Compensation Order”), Davis Polk & Wardwell LLP

(“Davis Polk”), counsel for the above-captioned debtors and debtors in possession (collectively,

the “Debtors”), submits this Monthly Statement of Services Rendered and Expenses Incurred for

the Period from September 16, 2019 Through September 30, 2019 (this “Fee Statement”).3 By

this Fee Statement, Davis Polk seeks (i) compensation in the amount of $2,527,631.20 which is

2
  This amount reflects a reduction in fees in the amount of $18,122 on account of the following: (a) $20,502.50 from
a 50% reduction of Non-Working Travel Time; and (b) $2,380.50 of voluntary write-offs.

3
 The period from September 16, 2019, through and including September 30, 2019, is referred to herein as the “Fee
Period.”


                                                         2
19-23649-rdd        Doc 551        Filed 11/27/19 Entered 11/27/19 16:12:36                     Main Document
                                               Pg 3 of 123



equal to 80% of the total amount of reasonable compensation for actual, necessary legal services

that Davis Polk incurred in connection with such services during the Fee Period (i.e.,

$3,159,539.00) and (ii) payment of $90,233.31 for the actual, necessary expenses that Davis Polk

incurred in connection with such services during the Fee Period.

                  Itemization of Services Rendered and Disbursements Incurred

         1.       Attached hereto as Exhibit A is a chart of the number of hours expended and

fees incurred (on an aggregate basis) by Davis Polk partners, associates, law clerks and

paraprofessionals during the Fee Period with respect to each of the project categories Davis

Polk established in accordance with its internal billing procedures. As reflected in Exhibit A,

Davis Polk incurred $3,159,539.00 in fees during the Fee Period. Pursuant to this Fee

Statement, Davis Polk seeks reimbursement for 80% of such fees, totaling $2,527,631.20.

         2.       Attached hereto as Exhibit B is a chart of Davis Polk professionals and

paraprofessionals, including the standard hourly rate for each attorney and paraprofessional who

rendered services to the Debtors in connection with these chapter 11 cases during the Fee Period

and the title, hourly rate, aggregate hours worked and the amount of fees earned by each

professional. The blended hourly billing rate of attorneys for all services provided during the

Fee Period is $1,044.39.4 The blended hourly billing rate of all paraprofessionals is $357.67.5

         3.       Attached hereto as Exhibit C is a chart of expenses that Davis Polk incurred or

disbursed in the amount of $90,233.31 in connection with providing professional services to the

Debtors during the Fee Period. These expense amounts are intended to cover Davis Polk’s

direct operating costs, which costs are not incorporated into Davis Polk’s hourly billing rates.

4
 The blended hourly billing rate of $1,044.39 for attorneys is derived by dividing the total fees for attorneys of
$3,094,228.00 by the total hours of 2,962.7.
5
 The blended hourly billing rate of $357.67 for paraprofessionals is similarly derived by dividing the total fees for
paraprofessionals of $65,311.00 by the total hours of 182.60.


                                                         3
19-23649-rdd        Doc 551    Filed 11/27/19 Entered 11/27/19 16:12:36          Main Document
                                           Pg 4 of 123



Only the clients for whom the services are actually used are separately charged for such

services. The effect of including such expenses as part of the hourly billing rates would unfairly

impose additional cost upon clients who do not require extensive photocopying, delivery and

other services.

       4.         Attached hereto as Exhibit D are the time records of Davis Polk for the Fee

Period organized by project category with a daily time log describing the time spent by each

attorney and other professional during Fee Period as well as an itemization of expenses.

                                              Notice

       5.         The Debtors will provide notice of this Fee Statement in accordance with the

Interim Compensation Order. The Debtors submit that no other or further notice be given.

                            [Remainder of Page Left Blank Intentionally]




                                                 4
19-23649-rdd      Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36         Main Document
                                           Pg 5 of 123


         WHEREFORE, Davis Polk, in connection with services rendered on behalf of the Debtors,

respectfully requests (i) compensation in the amount of $2,527,631.20 which is equal to 80% of the

total amount of reasonable compensation for actual, necessary legal services that Davis Polk incurred

in connection with such services during the Fee Period (i.e., $3,159,539.00) and (ii) payment of

$90,233.31 for the actual, necessary expenses that Davis Polk incurred in connection with such

services during the Fee Period.

Dated:    November 27, 2019
          New York, New York



                                            DAVIS POLK & WARDWELL LLP

                                            By: /s/ Marshall S. Huebner


                                            450 Lexington Avenue
                                            New York, New York 10017
                                            Telephone: (212) 450-4000
                                            Facsimile: (212) 701-5800
                                            Marshall S. Huebner
                                            Benjamin S. Kaminetzky
                                            Timothy Graulich
                                            Eli J. Vonnegut

                                            Counsel to the Debtors and Debtors in
                                            Possession




                                                 5
19-23649-rdd   Doc 551   Filed 11/27/19 Entered 11/27/19 16:12:36   Main Document
                                     Pg 6 of 123


                                    Exhibit A

                             Fees By Project Category




                                   Exhibit A - 1
19-23649-rdd      Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                           Pg 7 of 123




                     Project Category                            Total Hours            Total Fees

  Asset Dispositions                                                            1              $735.00
  Automatic Stay/Preliminary
                                                                          1364.2        $1,311,565.50
  Injunction/Litigation/DOJ
  Bar Date/Estimation/Claims Allowance Issues                               272.8         $300,000.50
  Corporate Governance, Board Matters and
                                                                            146.6         $163,020.00
  Communications
  Creditor/UCC/AHC Issues                                                   178.2         $227,595.50
  Cross-Border/International Issues                                          16.5          $18,672.50
  Equityholder/IAC Issues                                                     4.4            $7,220.00
  Customer/Vendor/Lease/Contract Issues                                        29          $31,849.50
  Employee/Pension Issues                                                   154.5         $177,608.50
  General Case Administration                                               397.8         $376,417.50
  Non-DPW Retention and Fee Issues                                           27.0          $25,022.50
  Support Agreement/Plan/Disclosure Statement                                 0.8              $747.50
  DPW Retention/Preparation of Fee
                                                                              5.6            $2,892.00
  Statements/Applications Budget
  IP, Regulatory and Tax                                                     38.5          $40,308.00
  Special Committee/Investigations Issues                                   490.3         $457,762.50
  Non-Working Travel Time (50%)                                              18.1          $18,122.00

  Total6                                                                  3,145.3       $3,159,539.00




  6
   This amount reflects a reduction in fees in the amount of $18,122 on account of the following: (a)
  $20,502.50 from a 50% reduction of Non-Working Travel Time; and (b) $2,380.50 of voluntary write-offs.

                                             Exhibit A - 1
19-23649-rdd   Doc 551   Filed 11/27/19 Entered 11/27/19 16:12:36   Main Document
                                     Pg 8 of 123


                                      Exhibit B

                         Professional & Paraprofessional Fees




                                     Exhibit B - 1
19-23649-rdd            Doc 551     Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                Pg 9 of 123


                                           Position,
                                   Year Assumed Position,                Hourly     Total
  Name of Professional                                                                          Total
                                  Prior Relevant Experience,             Billing    Hours
      Individual                                                                             Compensation
                                  Year of Obtaining Relevant              Rate      Billed
                                      License to Practice
 Partners
                                  Partner; joined partnership in 2018;
 Bauer, David R.                                                           $1,445      4.6         $6,647.00
                                  admitted New York 2008
                                  Partner; joined partnership in 2001;
 Bivens, Frances E.                                                        $1,645       31        $50,995.00
                                  admitted New York 1993
                                  Partner; joined partnership in 2011;
 Crandall, Jeffrey P.                                                      $1,645      6.9        $11,350.50
                                  admitted New York 1983
                                  Partner; joined partnership in 2017;
 Curran, William A.                                                        $1,445      3.7         $5,346.50
                                  admitted New York 2010
                                  Partner; joined partnership in 2002;
 Duggan, Charles S.                                                        $1,645     27.2        $44,744.00
                                  admitted New York 1997
                                  Partner; joined partnership in 2009;
 Graulich, Timothy                                                         $1,645     84.7       $139,331.50
                                  admitted New York 2015
                                  Partner; joined partnership in 2002;
 Huebner, Marshall S.                                                      $1,645    139.4       $229,313.00
                                  admitted New York 1994
                                  Partner; joined partnership in 2003;
 Kaminetzky, Benjamin S.                                                   $1,645    117.4       $193,123.00
                                  admitted New York 1995
                                  Partner; joined partnership in 2015;
 McClammy, James I.                                                        $1,585     72.1       $114,278.50
                                  admitted New York 1999
                                  Partner; joined partnership in 1995;
 Taylor, William L.                                                        $1,645      9.3        $15,298.50
                                  admitted New York 1991
                                  Partner; joined partnership in 2015;
 Vonnegut, Eli J.                                                          $1,585     93.5       $148,197.50
                                  admitted New York 2009
 Partner Total:                                                                      589.8      $958,625.00
 Counsel
                                  Counsel; joined Davis Polk 2018;
 Brecher, Stephen I.                                                       $1,225     32.8        $40,180.00
                                  admitted New York 2000
                                  Counsel; joined partnership in 2015;
 Chen, Bonnie                                                              $1,225      1.4         $1,715.00
                                  admitted New York 2012
                                  Counsel; joined Davis Polk 2000;
 Lele, Ajay B.                                                             $1,225     30.9        $37,852.50
                                  admitted New York 2001
                                  Counsel; joined Davis Polk 2009;
 Tobak, Marc J.                                                            $1,225    101.6       $124,460.00
                                  admitted New York 2009
 Counsel Total:                                                                      166.7      $204,207.50
 Associates, Law Clerks and Legal Assistants
                                  Associate; joined Davis Polk 2017;
 Benedict, Kathryn S.                                                      $1,040    150.7       $156,728.00
                                  admitted New York 2015
                                  Associate; joined Davis Polk 2018;
 Boehm, Korey                                                               $645      59.6        $38,442.00
                                  admitted New York 2019
                                  Associate; joined Davis Polk 2017;
 Cardillo, Garrett                                                          $930     143.8       $133,734.00
                                  admitted New York 2017



                                                   Exhibit B - 1
19-23649-rdd           Doc 551     Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                              Pg 10 of 123


                                          Position,
                                  Year Assumed Position,              Hourly     Total
  Name of Professional                                                                       Total
                                 Prior Relevant Experience,           Billing    Hours
      Individual                                                                          Compensation
                                 Year of Obtaining Relevant            Rate      Billed
                                     License to Practice
                                 Associate; joined Davis Polk 2018;
 Carvajal, Shanaye                                                       $645      14.2         $9,159.00
                                 admitted New York 2017
                                 Associate; joined Davis Polk 2017;
 Chao, Daniel                                                            $645        38        $24,510.00
                                 admitted New York 2019
                                 Associate; joined Davis Polk 2017;
 Cheung, Chui-Lai                                                        $735       8.1         $5,953.50
                                 admitted New York 2018
                                 Associate; joined Davis Polk 2008;
 Clarens, Margarita                                                     $1,075       43        $46,225.00
                                 admitted New York 2009
                                 Associate; joined Davis Polk 2015;
 Consla, Dylan A.                                                       $1,040     85.9        $89,336.00
                                 admitted New York 2015
                                 Associate; joined Davis Polk 2017;
 D'Angelo, Nicholas                                                      $735        10         $7,350.00
                                 admitted New York 2017
                                 Associate; joined Davis Polk 2017;
 Diggs, Elizabeth R.                                                     $735      59.3        $43,585.50
                                 admitted New York 2018
                                 Associate; joined Davis Polk 2017;
 DiMarco, Nicholas                                                       $645      26.3        $16,963.50
                                 admitted New York 2017
                                 Associate; joined Davis Polk 2017;
 Forester, Daniel F.                                                    $1,075     15.8        $16,985.00
                                 admitted New York 2012
                                 Associate; joined Davis Polk 2016;
 Frankel, Jay                                                            $930       0.1           $93.00
                                 admitted New York 2017
                                 Associate; joined Davis Polk 2016;
 Hendin, Alexander J.                                                    $930       6.3         $5,859.00
                                 admitted New York 2017
                                 Associate; joined Davis Polk 2018;
 Horley, Tim                                                             $645      97.9        $63,145.50
                                 admitted New York 2019
                                 Associate; joined Davis Polk 2017;
 Katz, Jaclyn                                                            $735         1          $735.00
                                 admitted New York 2018
                                 Associate; joined Davis Polk 2018;
 Kaufman, Zachary A.                                                     $930      80.2        $74,586.00
                                 admitted New York 2017
                                 Associate; joined Davis Polk 2009;
 Kiechel, Julia                                                         $1,075     24.4        $26,230.00
                                 admitted New York 2010
                                 Associate; joined Davis Polk 2017;
 Kim, Clara Y.                                                           $735       7.6         $5,586.00
                                 admitted New York 2018
                                 Associate; joined Davis Polk 2017;
 Kim, Eric M.                                                            $930      77.8        $72,354.00
                                 admitted New York 2017
 Knudson, Jacquelyn              Associate; joined Davis Polk 2017;
                                                                        $1,010     63.1        $63,731.00
 Swanner                         admitted New York 2015
                                 Associate; joined Davis Polk 2017;
 Levine, Zachary                                                         $735     100.9        $74,161.50
                                 admitted New York 2018
                                 Associate; joined Davis Polk 2014;
 Lutchen, Alexa B.                                                      $1,040     63.4        $65,936.00
                                 admitted New York 2015
                                 Associate; joined Davis Polk 2018;
 Mazer, Deborah S.                                                       $735     116.1        $85,333.50
                                 admitted New York 2018


                                                  Exhibit B - 2
19-23649-rdd          Doc 551     Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                             Pg 11 of 123


                                         Position,
                                 Year Assumed Position,              Hourly     Total
  Name of Professional                                                                      Total
                                Prior Relevant Experience,           Billing    Hours
      Individual                                                                         Compensation
                                Year of Obtaining Relevant            Rate      Billed
                                    License to Practice
                                Associate; joined Davis Polk 2012;
 McCarthy, Gerard                                                      $1,075    133.1       $143,082.50
                                admitted New York 2015
                                Associate; joined Davis Polk 2015;
 McMillian, Chautney R.                                                $1,010     10.6        $10,706.00
                                admitted New York 2016
                                Associate; joined Davis Polk 2017;
 Obasaju, Victor                                                        $735      26.5        $19,477.50
                                admitted New York 2018
                                Associate; joined Davis Polk 2017;
 Peck, Dan                                                              $735      12.5         $9,187.50
                                admitted New York 2018
                                Associate; joined Davis Polk 2016;
 Pera, Michael                                                          $930      59.7        $55,521.00
                                admitted New York 2017
                                Associate; joined Davis Polk 2018;
 Reck, Nick                                                             $930      19.8        $18,414.00
                                admitted New York 2018
                                Associate; joined Davis Polk 2011;
 Robertson, Christopher                                                $1,075      102       $109,650.00
                                admitted New York 2013
                                Associate; joined Davis Polk 2016;
 Rubin, Dylan S.                                                        $930     103.7        $96,441.00
                                admitted New York 2017
                                Associate; joined Davis Polk 2019;
 Rudewicz, Daniel                                                      $1,010      6.6         $6,666.00
                                admitted New York 2016

 Scheiner, Tyler                Law Clerk; joined Davis Polk 2019       $525       6.7         $3,517.50

                                Associate; joined Davis Polk 2018;
 Shimamura, Alexander K.B.                                              $645      27.2        $17,544.00
                                admitted New York 2019
                                Associate; joined Davis Polk 2016;
 Stefanik, Sean                                                         $930      46.3        $43,059.00
                                admitted New York 2018
                                Associate; joined Davis Polk 2018;
 Strauss, Steven                                                        $645        25        $16,125.00
                                admitted New York 2019
                                Associate; joined Davis Polk 2017;
 Theodora, Brooke                                                       $735       5.6         $4,116.00
                                admitted New York 2018
                                Associate; joined Davis Polk 2018;
 Townes, Esther C.                                                      $735      95.9        $70,486.50
                                admitted New York 2018

 Wasim, Roshaan                 Law Clerk; joined Davis Polk 2019       $525       8.3         $4,357.50

                                Associate; joined Davis Polk 2018;
 Wasserman, Benjamin D.                                                 $735      49.3        $36,235.50
                                admitted New York 2018

 Whisenant, Anna Lee            Law Clerk; joined Davis Polk 2019       $525      12.3         $6,457.50

                                Associate; joined Davis Polk 2014;
 Williams, Nikolaus                                                    $1,040     47.9        $49,816.00
                                admitted New York 2015

 Wohlberg, Charlie              Law Clerk; joined Davis Polk 2019       $525      19.8        $10,395.00

 Wolfgang, Katelyn              Associate; joined Davis Polk 2013;
                                                                       $1,075     40.3        $43,322.50
 Trionfetti                     admitted New York 2013


                                                 Exhibit B - 3
19-23649-rdd          Doc 551     Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                             Pg 12 of 123


                                         Position,
                                 Year Assumed Position,              Hourly    Total
  Name of Professional                                                                     Total
                                Prior Relevant Experience,           Billing   Hours
      Individual                                                                        Compensation
                                Year of Obtaining Relevant            Rate     Billed
                                    License to Practice
                                Associate; joined Davis Polk 2018;
 Workman, Brett J.                                                      $645     16.3        $10,513.50
                                admitted New York 2019

 Hamby, Aly                     Law Clerk; joined Davis Polk 2019       $525      9.3         $4,882.50

 Meyer, Corey M.                Law Clerk; joined Davis Polk 2019       $525     11.3         $5,932.50

 Scheiner, Tyler                Law Clerk; joined Davis Polk 2019       $525      6.7         $3,517.50

 Hwang, Eric                    Law Clerk; joined Davis Polk 2019       $525      6.7         $3,517.50

 Lojac, Dylan H.                Law Clerk; joined Davis Polk 2019       $525      5.1         $2,677.50

 Turay, Edna                    Law Clerk; joined Davis Polk 2019       $525      4.9         $2,572.50

 Hwang, Eric                    Law Clerk; joined Davis Polk 2019       $525      6.7         $3,517.50

 Lojac, Dylan H.                Law Clerk; joined Davis Polk 2019       $525      5.1         $2,677.50

 Turay, Edna                    Law Clerk; joined Davis Polk 2019       $525      4.9         $2,572.50

                                Legal Assistant; joined Davis Polk
 Fennelly, Colin                                                        $305      2.1          $640.50
                                2019
                                Legal Assistant; joined Davis Polk
 Giddens, Magali                                                        $425     36.7        $15,597.50
                                2019
                                Legal Assistant; joined Davis Polk
 Hirakawa, Lisa                                                         $425      2.8         $1,190.00
                                2014
                                Legal Assistant; joined Davis Polk
 Ismail, Mohamed Ali                                                    $425      3.4         $1,445.00
                                1993
                                Legal Assistant; joined Davis Polk
 Kaletka, Erich J                                                       $425       13         $5,525.00
                                2018
                                Legal Assistant; joined Davis Polk
 Milstein, Adi                                                          $425        5         $2,125.00
                                2018
                                Legal Assistant; joined Davis Polk
 Young, Ryan                                                            $305     51.1        $15,585.50
                                1999
                                Court Clerk; joined Davis Polk
 Jackson Jr., Ahmad                                                     $180        3          $540.00
                                2017
                                Docket Clerk; joined Davis Polk
 DiMola, Stephen V.                                                     $250     11.6         $2,900.00
                                2016
                                Docket Clerk; joined Davis Polk
 Smyth, Paul                                                            $180       14         $2,520.00
                                2018
                                Ediscovery Management Analyst;
 Chen, Johnny W.                                                        $380       18         $6,840.00
                                joined Davis Polk 2008


                                                 Exhibit B - 4
19-23649-rdd       Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                           Pg 13 of 123


                                       Position,
                               Year Assumed Position,              Hourly      Total
 Name of Professional                                                                       Total
                              Prior Relevant Experience,           Billing     Hours
     Individual                                                                          Compensation
                              Year of Obtaining Relevant            Rate       Billed
                                  License to Practice
                              Ediscovery Project Manager; joined
 Hinton, Carla Nadine                                                  $475       21.9          $10,402.50
                              Davis Polk 2000

 Associates, Law Clerks and Legal Assistants Total:                            2388.8       $1,989,866.50

 TOTAL7                                                                        3145.3       $3,159,539.00




   7
    This amount reflects a reduction in fees in the amount of $18,122 on account of the following: (a)
   $20,502.50 from a 50% reduction of Non-Working Travel Time; and (b) $2,380.50 of voluntary write-offs.

                                              Exhibit B - 5
19-23649-rdd   Doc 551   Filed 11/27/19 Entered 11/27/19 16:12:36   Main Document
                                    Pg 14 of 123


                                    Exhibit C

                    Summary of Actual and Necessary Expenses




                                   Exhibit C - 1
19-23649-rdd   Doc 551   Filed 11/27/19 Entered 11/27/19 16:12:36   Main Document
                                    Pg 15 of 123



                Expense Category                   Total Expenses

        Chapter 11 Petition Filing Fees                         $10,302.00
        Computer Research                                       $10,245.43
        Court and Related Fees                                  $13,944.85
        Duplication                                              $8,544.91
        Meals                                                    $3,473.59
        Miscellaneous Disbursements                              $2,812.79
        Off-site Hearing Preparation                             $5,375.40
        Outside Documents & Research                               $624.61
        Postage, Courier & Freight                               $1,073.73
        Travel                                                   $4,574.18
        Travel Hotel                                             $1,458.27
        UCC Formation Meeting Venue Fee                         $27,803.55
        TOTAL                                                   $90,233.31




                                   Exhibit C - 1
19-23649-rdd   Doc 551   Filed 11/27/19 Entered 11/27/19 16:12:36   Main Document
                                    Pg 16 of 123


                                     Exhibit D

                         Detailed Time Records and Expenses




                                    Exhibit D - 1
  19-23649-rdd            Doc 551   Filed 11/27/19 Entered 11/27/19 16:12:36                   Main Document
                                               Pg 17 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                             Time Detail By Project

Name                        Date            Hours    Narrative

PURD100 Asset Dispositions
Katz, Jaclyn        09/20/19                   1.0   Prepare closing set for Treyburn facility sale (0.9); email with
                                                     Purdue on same (0.1).
Total PURD100 Asset                            1.0
Dispositions

PURD105 Automatic Stay/Preliminary Injunction/Litigation/DOJ
Benedict, Kathryn S. 09/16/19              3.1 Review materials regarding discovery orders (1.3); conference
                                                with B. Wasserman regarding same (0.9); correspondence
                                                with M. Tobak regarding preliminary Injunction scheduling
                                                materials (0.7); revise same (0.8); correspondence with A.
                                                Pravda regarding data encryption (0.4).
Boehm, Korey         09/16/19              3.2 Email with Computer Support regarding Preliminary Injunction
                                                depository mailbox (0.2); review deposition of J. Lowne and
                                                summarize key excerpts (1.3); research and summarize issue
                                                regarding Federal Rules of Evidence (1.7).
Cardillo, Garrett    09/16/19            16.4 Revise declarations in support of motion for preliminary
                                                Injunction (0.9); emails with T. Melvin (PJT) regarding same
                                                (0.1); calls with T. Melvin (PJT) regarding same (0.3); review
                                                and revise brief in support of preliminary Injunction Brief (6.4);
                                                telephone call with PJT regarding declaration and follow-up
                                                from same (0.9); review and revise talking points for First Day
                                                hearing (1.9); attend conference with M. Tobak, G. McCarthy,
                                                others regarding preparation for commencement of adversary
                                                proceeding (0.7); draft and revise complaint for injunctive relief
                                                (5.0); confer with D. Rubin and others regarding Injunction
                                                revisions and filing (0.2).
Chen, Johnny W.      09/16/19              0.9 Follow-up with K. Bennett and vendor regarding issues with
                                                transfer workflow for discovery repository.
Graulich, Timothy    09/16/19              7.1 Review and provide comments to Preliminary Injunction
                                                papers.
Hinton, Carla Nadine 09/16/19              1.6 EDiscovery follow-up tasks regarding quality control of
                                                finalized document set for production, per K. Benedict.
Hirakawa, Lisa       09/16/19              2.8 Prepare a table of authorities for the Preliminary Injunction
                                                Brief as per E. Townes.
Horley, Tim          09/16/19            10.6 Review and revise lists of cases involving governmental
                                                entities, related parties, and all cases (8.5); Review and revise
                                                list of defendants to be named in Preliminary Injunction
                                                Complaint (0.2); review and revise case caption on complaint
                                                to reflect changes in other documents (0.1); prepare written
                                                summaries of work and updates for D. Rubin, E. Townes, and
                                                Prime Clerk (0.5); review court dockets to determine missing
                                                case information; (1.3).
Huebner, Marshall S. 09/16/19              1.9 Conference call with U.S. Trustee regarding questions and
                                                issues on First Day Motions (1.0); email with Davis Polk and
                                                team regarding same and potential resolutions (0.2); attend
                                                conference with B. Kaminetzky and G. McCarthy regarding
                                                briefing schedule and update (0.5); calls with B. Kaminetzky
                                                regarding First Day hearing presentation (0.2).
Kaminetzky,          09/16/19            10.1 Email and analysis regarding voluntary Injunction, press
Benjamin S.                                     statements, Multi-District Litigation administrative hearing,
                                                affiliates, severance of Debtors, depositions, First Day
                                                hearing, preparation for hearing and strategy (1.3); review
                                                press reports (0.4); correspond with M. Huebner regarding

                                                        4
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 18 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     timing (0.1); review and revise suggestion of bankruptcy (0.2);
                                                     attend meetings with M. Tobak and G. McCarthy and others
                                                     regarding Preliminary Injunction Motion, related papers and
                                                     strategy (0.7); correspond with M. Tobak and G. McCarthy
                                                     regarding Preliminary Injunction (0.7); attend meeting with M.
                                                     Huebner and G. McCarthy regarding preliminary Injunction
                                                     strategy and update (0.5); review severance order (0.1);
                                                     review and revise preliminary Injunction papers (3.2); analysis
                                                     regarding Arizona petition (0.3); review and revise first day
                                                     presentation (0.3); email with M. Huebner regarding same
                                                     (0.2); call with A. Less regarding preliminary Injunction (0.4);
                                                     call with M. Kesselman regarding preliminary Injunction
                                                     strategy and update (0.2); call with Chambers regarding
                                                     hearing date (0.2); analysis regarding Injunction (0.4); calls
                                                     with H. Coleman regarding update and stay issues (0.5);
                                                     review Washington's stay pleading (0.2); conference call with
                                                     H. Coleman and others regarding stay strategy (0.2).
McCarthy, Gerard            09/16/19          12.9   Correspond with M. Huebner, B. Kaminetzky regarding
                                                     briefing schedule (0.5); Conference with M. Tobak, G. Cardillo
                                                     and others regarding preparation for commencement of
                                                     adversary proceeding (0.7); teleconference with PJT Partners
                                                     regarding declaration and prepare for same (1.0); revise
                                                     adversary complaint (4.5); calls with G. Cardillo regarding
                                                     declaration and brief (0.2); conference with B. Kaminetzky and
                                                     M. Tobak regarding Preliminary Injunction adversary
                                                     proceeding (0.4) and correspondence regarding same (0.3);
                                                     revise Preliminary Injunction Brief (3.6); revise Preliminary
                                                     Injunction Motion (1.7).
Rubin, Dylan S.             09/16/19          10.7   Revise complaint (3.5); revise Injunction brief (5.1);
                                                     correspond with E. Townes regarding Preliminary Injunction
                                                     open items list (0.2); correspond with M. Tobak and others
                                                     regarding Injunction timeline and next steps (0.6); emails with
                                                     Dechert regarding Injunction service (0.3); correspond with B.
                                                     Kaminetzky and others regarding Injunction revisions and
                                                     filing steps (0.8); correspond with G. Cardillo regarding same
                                                     (0.2).
Tobak, Marc J.              09/16/19          15.4   Revise draft brief in support of Preliminary Injunction Motion
                                                     (6.4); conference call with B. Kaminetzky and others regarding
                                                     automatic stay strategy (0.2); revise draft Preliminary
                                                     Injunction Complaint (1.7); conferences and correspondence
                                                     with G. McCarthy and G. Cardillo and others regarding
                                                     complaint (1.0); revise procedures motion and ancillary filings
                                                     (2.0); attend conference with B. Kaminetzky and H. Coleman
                                                     regarding bankruptcy and litigation coordination (0.5);
                                                     conference with PJT Partners regarding declaration (0.5);
                                                     revise draft Preliminary Injunction order (1.1); attend
                                                     conference with Milbank, B. Kaminetzky, G. McCarthy
                                                     regarding preliminary Injunction (1.1); correspond with H.
                                                     Coleman, B. Kaminetzky regarding Washington case (0.2);;
                                                     correspondence with M. Kesselman regarding voluntary
                                                     Injunction (0.4); correspondence with Dechert regarding
                                                     Suggestion of Bankruptcy (0.3).
Townes, Esther C.           09/16/19           9.4   Review Prime Clerk service and notice list for preliminary
                                                     injunction (2.5); correspond with T. Horley regarding same
                                                     (0.3); review Exhibit C for Preliminary Injunction Complaint
                                                     (1.7); cite check Preliminary Injunction Brief (0.5); proof read
                                                        5
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 19 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     same (0.7); review case caption and ECF defendant list (1.6);
                                                     draft attorney declaration (0.5); draft checklist of outstanding
                                                     task list for Preliminary Injunction papers (0.6); review exhibits
                                                     to attorney declaration for Preliminary Injunction Brief (0.5);
                                                     review table of authorities for Preliminary Injunction brief (0.2);
                                                     draft notice of hearing (0.3).
Wasserman,                  09/16/19           4.9   Draft summary of discovery procedures research (1.9); send
Benjamin D.                                          the same to K. Benedict (0.1); revise papers on same (2.9).

Benedict, Kathryn S.        09/17/19          11.8   Prepare J. Lowne for First Day hearing (1.8); update materials
                                                     for J. Lowne direct and cross preparation (1.2); review and
                                                     revise materials related to scheduling order for preliminary
                                                     Injunction hearing (4.9); attend conference with M. Tobak, G.
                                                     McCartney, G. Cardillo, D. Rubin, B. Wasserman, K. Boehm
                                                     and others regarding same (0.8); review and revise materials
                                                     related to chapter 11 discovery (1.6); revise preliminary
                                                     Injunction scheduling materials (0.3); prepare materials for first
                                                     day cross examination of J. Lowne as per B. Kaminetzky and
                                                     E. Vonnegut (1.2).
Boehm, Korey                09/17/19           4.3   Revise Preliminary Injunction discovery papers (1.8); revise
                                                     research memorandum to incorporate comments of M.
                                                     Huebner (1.3); verify information and citations in Preliminary
                                                     Injunction discovery papers (1.2).
Cardillo, Garrett           09/17/19          19.1   Review and revise brief and declarations in support of motion
                                                     for preliminary Injunction (5.9); review and revise of all motion
                                                     papers (6.7); review and revise complaint for injunctive relief
                                                     (5.5); incorporate M. Kesselman and M. Huebner revisions to
                                                     brief in support of motion for preliminary Injunction (1.0).
Chen, Johnny W.             09/17/19           1.1   Complete testing of discovery repository and follow-up with
                                                     vendor regarding issues (0.6); correspond with vendor
                                                     regarding communications and logistics for access to
                                                     document production for approved parties (0.5).
Graulich, Timothy           09/17/19           8.7   Prepare for and argue motion at First Day hearing.
Hinton, Carla Nadine        09/17/19           1.8   EDiscovery follow-up communications to circulate finalized
                                                     document set for production per K. Benedict.
Horley, Tim                 09/17/19           6.8   Review and revise list of governmental actions (0.5); review
                                                     and revise list of related party actions (1.1); review and revise
                                                     list of all pending actions (3.1); prepare finalized versions of
                                                     the lists (0.3); plan and prepare for filing (0.4); attend
                                                     conference with E. Townes, and others regarding procedures
                                                     for filing documents (0.4); conference with E. Townes, D.
                                                     Rubin and Prime Clerk regarding service, notice, filing
                                                     procedures, and lists (0.3); and prepare for same (0.6);
                                                     correspond with D. Rubin regarding status of case lists (0.1).
Huebner, Marshall S.        09/17/19           2.5   Extensive work on Preliminary Injunction Brief and discussions
                                                     regarding same (0.7); attend meeting with D. Mazer and
                                                     others to prepare for First Day hearing (0.6); correspond with
                                                     C. Duggan and M. Clarens regarding court rulings on legal
                                                     expense reimbursement and materials requested by Board
                                                     (0.4); attend negotiations with U.S. Trustee regarding
                                                     resolution of remaining objections (0.8).
Kaletka, Erich J            09/17/19           5.9   Prepare materials for First Day hearing.
Kaminetzky,                 09/17/19          13.7   Hearing and witness preparation (4.5); post hearing
Benjamin S.                                          discussions with participants (5.0); review revise Preliminary
                                                     Injunction papers (1.3); correspond with M. Tobak and G.
                                                     McCarthy regarding preliminary Injunction papers research,
                                                        6
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 20 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     strategy, timing and updates (1.6); correspond with M.
                                                     Huebner regarding preliminary Injunction update and strategy
                                                     (0.3); analyze regarding litigation action and developments
                                                     and stay implications and strategy (0.8); review comments to
                                                     preliminary Injunction (0.2).
Mazer, Deborah S.           09/17/19           3.6   Draft oral argument informational material for First Day
                                                     hearing (2.6); draft updates from First Day hearing for team
                                                     (0.4); attend meeting with M. Huebner, E. Vonnegut and
                                                     others to review substantive material to prepare for First Day
                                                     hearing (0.6).
McCarthy, Gerard            09/17/19          15.4   Revise Preliminary Injunction Complaint (5.3); revise PJT
                                                     declaration (1.0); revise AlixPartners declaration (0.5);
                                                     teleconferences and correspondence with B. Kaminetzky and
                                                     M. Tobak regarding commencement of adversary proceeding
                                                     (1.6); revise Preliminary Injunction Brief (3.4); review
                                                     complaint exhibits (1.6); perform research regarding
                                                     preliminary Injunction case law (2.0).
Rubin, Dylan S.             09/17/19          14.2   Confer with PrimeClerk and others from Davis Polk team
                                                     regarding service (0.3); prepare for service (0.6); confer with
                                                     Dechert regarding notice of Injunction (1.2); review and revise
                                                     Preliminary Injunction Brief, Motion, and Complaint papers
                                                     (9.8); research regarding Injunction Brief case law (2.3).
Tobak, Marc J.              09/17/19          14.3   Revise draft Preliminary Injunction Brief and supporting
                                                     papers (12.7); attend conference with B. Kaminetzky, G.
                                                     McCarthy and others regarding same (1.6).
Townes, Esther C.           09/17/19           3.9   Attend telephone conference with D. Rubin, T Horley, and
                                                     Prime Clerk regarding service logistics for Preliminary
                                                     Injunction Brief (0.3); draft email waiver of service (0.1);
                                                     develop chart regarding same (0.1); review exhibits to
                                                     preliminary injunction papers (1.1); prepare guide for
                                                     Managing Attorney's Office regarding commencing adversary
                                                     proceeding (0.2); attend conference with T. Horley and
                                                     Managing Attorney's Office regarding same (0.4); review
                                                     Prime Clerk service and notice list (1.1); cite check Preliminary
                                                     Injunction brief (0.6).
Wasserman,                  09/17/19           6.7   Revise preliminary Injunction papers with D. Rubin and G.
Benjamin D.                                          Cardillo.
Young, Ryan                 09/17/19           4.8   Prepare draft exhibits as per E. Townes (1.2); assist with
                                                     preparation for commencement adversary proceeding as per
                                                     E. Townes (0.8); prepare drafts motions as per G. Cardillo
                                                     (0.5); update exhibits A, B, and C to Preliminary Injunction
                                                     Complaint as per T. Horley (2.3).
Benedict, Kathryn S.        09/18/19          12.8   Correspondence with M. Tobak, G. McCarthy, and G. Cardillo
                                                     regarding status of Preliminary Injunction papers (0.3);
                                                     prepare papers related to expedited scheduling of preliminary
                                                     injunction (1.4); attend conference with M. Tobak, G.
                                                     McCarthy, G. Cardillo, D. Rubin, K. Boehm, and E. Townes
                                                     regarding status of Preliminary Injunction papers (2.9); finalize
                                                     Preliminary Injunction procedures papers, including notice of
                                                     motion, motion for schedule, scheduling order, protective
                                                     order, and request form (6.6); attend conference with Court
                                                     deputy regarding Court's preferences for scheduling order
                                                     (0.4); correspond with M. Tobak to review procedures papers
                                                     (0.9); correspondence with B. Kaminetzky, D. Mazer, and K.
                                                     Boehm regarding automatic stay language for letter (0.3).
Boehm, Korey                09/18/19           1.3   Teleconference with computer support regarding Preliminary
                                                        7
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 21 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     Injunction data repository (0.2); revise Preliminary Injunction
                                                     papers to incorporate comments of K. Benedict (1.1).
Cardillo, Garrett           09/18/19           9.1   Call with J. O'Connell (PJT) and T. Melvin (PJT) regarding
                                                     declarations (0.4); finalize declarations in support of motion for
                                                     preliminary Injunction (2.1); review, revise, and finalize brief
                                                     and motion for preliminary Injunction (6.6).
DiMola, Stephen V.          09/18/19          11.1   Commencing and filing documents in the adversary
                                                     proceeding.
Duggan, Charles S.          09/18/19           0.6   Email with M. Huebner regarding Department of Justice
                                                     request.
Giddens, Magali             09/18/19           2.0   Correspondences with E. Townes and Managing Attorney's
                                                     office regarding procedural issues in connection with
                                                     electronic filing and Chambers rules (0.5); review preliminary
                                                     Injunction documents (1.5).
Hinton, Carla Nadine        09/18/19           1.7   EDiscovery follow-up tasks to circulate finalized document set
                                                     for production per K. Benedict.
Horley, Tim                 09/18/19          14.8   Prepare finalized versions of exhibits A-C to the adversary
                                                     proceeding complaint (2.6); conference with E. Townes and D.
                                                     Rubin about final versions of exhibits A through C (0.6);
                                                     conference with D. Rubin and Managing Attorney's office
                                                     regarding filing Preliminary Injunction Papers (0.5); prepare
                                                     updates and revisions to complaint (0.2); enter each of 889
                                                     defendants in adversary proceeding to electronic filing system
                                                     with S. DiMola and P. Smyth (6.5); file adversary proceeding
                                                     and accompanying exhibits (0.4); file motion for preliminary
                                                     Injunction, brief in support, declarations, motion for
                                                     scheduling, notice of hearing, and all accompanying exhibits
                                                     (2.6); prepare documents to be sent to the court via email
                                                     (0.5); prepare documents for binders to be delivered by hand
                                                     to the Court (0.8).
Huebner, Marshall S.        09/18/19           4.0   Extensive work on preliminary Injunction papers and questions
                                                     (1.2); correspond with Davis Polk team regarding Washington,
                                                     Rhode Island and Illinois issues regarding discovery and
                                                     hearings and automatic stay issues (1.8); revise letter
                                                     regarding same (0.1); emails with U.S. Attorney and
                                                     Department of Justice counsel and clients regarding same
                                                     (0.6).
Kaminetzky,                 09/18/19          12.9   Review and revise preliminary Injunction papers and related
Benjamin S.                                          filings (2.1); attend conference with M. Tobak and G.
                                                     McCarthy regarding same (1.2); correspond with M. Huebner
                                                     regarding update, strategy and timing (0.7); calls and emails
                                                     with Chambers regarding hearing date (0.2); review stay
                                                     research (0.4); conference call with M. Kesselman, J. Adams,
                                                     H. Coleman, S. Birnbaum and others regarding litigation
                                                     update and stay strategy (1.1); email and analysis regarding
                                                     litigation update and stay strategy (2.4); review fraudulent
                                                     transfer brief (0.2); review press reports (0.3); calls and email
                                                     with M. Kesselman and P. Gallagher regarding press (0.2);
                                                     review court filings regarding stay (0.5); review first day
                                                     transcript (0.6); meeting with K. Benedict and M. Tobak
                                                     regarding tasks and strategy (0.2); email with M. Huebner and
                                                     S. Gilbert regarding stay (0.3); draft letter regarding
                                                     application of stay (0.5); review comments to same (0.2);
                                                     conference call with M. Kesselman and Davis Polk team
                                                     regarding litigation and strategy (1.0); review and revise press
                                                     materials (0.3); review and revise New York attorney general
                                                        8
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 22 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     insert (0.1); correspond with G. McCarthy regarding same
                                                     (0.1); email regarding depositions, New York attorney general
                                                     response, proof of claim, stay scope, strategy, update, tasks,
                                                     hearing and objection dates (0.3).
Levine, Zachary             09/18/19           2.1   Correspond with members of the Davis Polk litigation team
                                                     concerning notice requirements and filing procedures (0.7);
                                                     correspondence with T. Graulich regarding same (0.3);
                                                     research regarding notice of Preliminary Injunction as well as
                                                     related procedural requirements (1.1).
Mazer, Deborah S.           09/18/19           8.5   Review motion for preliminary Injunction, Preliminary
                                                     Injunction Complaint, PJT declaration and AlixPartners
                                                     declaration in support of motion for a preliminary Injunction
                                                     (2.1); cite check brief in support for motion for preliminary
                                                     Injunction (3.9); prepare hearing transcript for B. Kaminetzky
                                                     (0.1); analyze cases for timing of automatic stay (0.4);
                                                     teleconference with J. Knudson regarding Debtors' insurance
                                                     policies (0.2); review Massachusetts response to suggestion
                                                     of bankruptcy (0.4); review as-filed preliminary Injunction
                                                     papers (1.4).
McCarthy, Gerard            09/18/19          16.3   Revise Preliminary Injunction Brief (4.2); revise Preliminary
                                                     Injunction Complaint (2.7); revise Preliminary Injunction
                                                     Motion, order (1.1); correspond with B. Kaminetzky and M.
                                                     Tobak regarding same (1.2); review declarations for
                                                     commencement of proceeding (1.8); review complaint exhibits
                                                     (2.0); prepare commencement of adversary proceeding with
                                                     D. Rubin and others (3.1); correspond with M. Tobak and G.
                                                     Cardillo regarding complaint (0.2).
Rubin, Dylan S.             09/18/19          13.1   Review and revise Injunction brief, complaint, motion and
                                                     ancillary papers (10.2); confer with B. Wasserman regarding
                                                     same (0.2); confer with Prime Clerk regarding service of
                                                     documents (1.2); confer with Managing Attorney's Office and
                                                     T. Horley regarding filing of Injunction papers (0.5); research
                                                     regarding automatic applicability of stay (0.7); confer with E.
                                                     Townes regarding filing and service (0.3).
Tobak, Marc J.              09/18/19          13.3   Attend conferences with M. Kesselman, S. Birnbaum, M.
                                                     Cheffo, H. Coleman and B. Kaminetzky regarding opioid
                                                     litigation status (1.6); conference with chambers and K.
                                                     Benedict regarding hearing date (0.4); revise procedures
                                                     filings (1.3); final revisions to proposed order (0.4); final review
                                                     of complaint (0.5); conference with PJT regarding declaration
                                                     (0.3); email with G. Cardillo regarding same (0.3); final
                                                     revisions to brief (1.6); correspondence with chambers
                                                     regarding filing (0.7); conference with K. Benedict regarding
                                                     adversary proceeding filing and procedures (0.9); attend
                                                     conferences with B Kaminetzky and G. McCarthy regarding
                                                     Preliminary Injunction Brief (1.2); revise draft motion (0.2);
                                                     conference with G. McCarthy, G. Cardillo regarding complaint
                                                     (0.3); correspondence with B. Kaminetzky, G. McCarthy, K.
                                                     Benedict, Z. Levine regarding procedures (0.4); correspond
                                                     with G. McCarthy, D. Rubin, G. Cardillo regarding service
                                                     (0.9); correspondence with K. Benedict regarding discovery
                                                     (0.2); correspondence with Teneo regarding filing (0.1);
                                                     correspondence with B. Kaminetzky regarding preliminary
                                                     Injunction (0.3); conferences with Dechert team regarding
                                                     Washington action (0.3); revise draft letter regarding
                                                     Washington action (0.3); correspondence with Dechert
                                                        9
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 23 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     regarding New York subpoena (0.7); correspondence with
                                                     Purdue regarding preliminary Injunction filing (0.4).
Townes, Esther C.           09/18/19          12.0   Review exhibits on pending actions (2.0); attend telephone
                                                     conferences with T. Horley regarding same (1.2); file
                                                     adversary proceeding with Managing Attorney's Office and T.
                                                     Horley (8.0); prepare documents for delivery to chambers
                                                     (0.8).
Wasserman,                  09/18/19           6.5   Revise preliminary Injunction papers (6.3); emails with D.
Benjamin D.                                          Rubin regarding the same (0.2).
Young, Ryan                 09/18/19           9.2   Prepare case files and document for Davis Polk team
                                                     regarding adversary proceeding and preliminary Injunction
                                                     filing (8.3); Compile multi-district litigation Daubert briefing as
                                                     per N. DiMarco (0.9).
Benedict, Kathryn S.        09/19/19           7.8   Prepare, review, and revise notices regarding discovery and
                                                     depositions (2.4); correspondence with D. Mazer regarding
                                                     notices for depositions (0.4); correspondence with E.
                                                     Vonnegut, M. Tobak, and Z. Levine regarding notice for
                                                     discovery protocol (0.8); correspondence with G. Cardillo and
                                                     administrative personnel regarding deposition preparations
                                                     and procedures (0.8); correspondence with M. Tobak, D.
                                                     Rubin, T. Horley, and Z. Levine about notices and notice
                                                     procedures (0.9); review notice procedures (0.8);
                                                     correspondence with M. Tobak regarding Preliminary
                                                     Injunction hearing and related motions (0.3); develop strategy
                                                     for responses to Preliminary Injunction Motion related to
                                                     estate claims (1.4).
Boehm, Korey                09/19/19           0.9   Correspond with D. Rubin and S. Carvajal regarding research
                                                     on adverse statements by opposing parties (0.1); research
                                                     adverse statements by opposing parties (0.8).
Cardillo, Garrett           09/19/19           6.2   Correspond with T. Horley regarding deposition preparation
                                                     (0.2); correspond with D. Rubin, G. McCarthy regarding
                                                     litigation next steps (0.6); correspond with B. Kaminetzky
                                                     regarding deposition preparation (0.2); email F. Bivens
                                                     regarding federal court subject matter jurisdiction (0.2); email
                                                     with K. Benedict regarding deposition preparation (0.1); draft
                                                     deposition outlines (2.4); analyze discovery documents (1.5);
                                                     revise work streams chart (1.0).
Carvajal, Shanaye           09/19/19           6.1   Research regarding adverse parties in adversary proceeding.
Clarens, Margarita          09/19/19           0.6   Review production pursuant to discovery request (0.4);
                                                     conference with E. Kim regarding same (0.1); review
                                                     communications regarding same (0.1).
Graulich, Timothy           09/19/19           1.8   Attend litigation meeting with B. Kaminetzky (1.3); review
                                                     emails on same (0.5).
Hinton, Carla Nadine        09/19/19           1.4   EDiscovery follow-up tasks to circulate finalized document set
                                                     for production per K. Benedict.
Horley, Tim                 09/19/19          11.1   Prepare document binders for hand delivery to Court (0.4);
                                                     correspondence with E. Townes regarding waiver of service
                                                     email to be sent to defendants' attorneys (0.2); confer with D.
                                                     Rubin regarding service review (0.4); review email addresses
                                                     of adversary proceeding defendants and their counsel and
                                                     prepare spreadsheet with relevant information to email waiver
                                                     of service request (1.8); conference with outside vendor to
                                                     prepare depositions for following week (0.4); review materials
                                                     from Prime Clerk related to email notification and service and
                                                     determine which defendants received email notifications (4.4);
                                                     prepare and file notices of deposition and production of
                                                       10
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 24 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     documents (2.1); prepare revisions to litigation workstreams
                                                     chart (0.9); conference with H. Baer of Prime Clerk regarding
                                                     review of email notifications (0.3).
Huebner, Marshall S.        09/19/19           5.6   Conference call with Department of Justice and U.S. Attorney
                                                     (0.8); discussions with Purdue regarding same and emails
                                                     with Purdue and P. Fitzgerald (0.4); conduct analysis
                                                     regarding TRO and Injunction (1.4); conduct analysis
                                                     regarding non-bankruptcy litigation and automatic stay to
                                                     termination request (1.4); review of pleadings filed by several
                                                     attorneys general regarding Section 362 stay (1.6).
Kaminetzky,                 09/19/19           9.7   Attend conference call with G. McCarthy and M. Tobak
Benjamin S.                                          preliminary Injunction, next steps and strategy (0.6); analysis
                                                     regarding expedited relief (0.6); call with D. Mazer regarding
                                                     settlement project (0.1); meeting with G. Cardillo regarding
                                                     deposition preparation (0.2); meeting with F. Bivens, T.
                                                     Graulich, J. McClammy, M. Tobak and others regarding
                                                     litigation strategy (1.3); analyze litigation and stay issues (2.5);
                                                     correspond with D. Mazer regarding settlement negotiation
                                                     documents (0.1); prepare analysis regarding removal issue
                                                     (0.2); correspondence with M. Tobak and G. McCarthy
                                                     regarding litigation update and strategy (0.5); email and
                                                     analysis regarding officer litigation update and strategy (0.3);
                                                     correspond with M. Huebner regarding litigation update and
                                                     advice (0.2); draft memorandum regarding litigation and stay
                                                     strategy (0.5); correspond with F. Hill and M. Tobak regarding
                                                     personal injury matter (0.3); review press reports (0.4); review
                                                     letter from A. Troop (0.1); email with M. Huebner regarding
                                                     same (0.4); email with Davis Polk team regarding meeting with
                                                     Purdue, scope issues, stay update, tasks and strategy (0.8);
                                                     correspondence with team regarding voluntary Injunction
                                                     (0.2); analyze common issues (0.4).
Levine, Zachary             09/19/19           1.5   Review transcript of First Day hearing (1.1); correspondence
                                                     with K. Benedict regarding notice issues (0.2); emails with
                                                     Davis Polk litigation team regarding expedited relief (0.2).
Mazer, Deborah S.           09/19/19           5.7   Draft notice of deposition (1.4); teleconference with Managing
                                                     Attorney's Office regarding notice of deposition (0.1);
                                                     correspond with B. Kaminetzky regarding settlement
                                                     negotiation materials (0.1); correspond with M. Huebner
                                                     regarding settlement presentation deck (0.9); draft settlement
                                                     presentation deck outline (3.2).
McCarthy, Gerard            09/19/19           6.1   Attend teleconference with B. Kaminetzky and M. Tobak
                                                     regarding strategy and next steps concerning motion for
                                                     preliminary Injunction (0.6); attend meeting with D. Rubin and
                                                     S. Stefanik regarding Injunction research (0.4); prepare for
                                                     Preliminary Injunction Motion (0.3); review and analyze
                                                     precedent oppositions to Preliminary Injunction Motions (2.4);
                                                     attend conference with D. Rubin and G. Cardillo regarding
                                                     injunctive relief (0.6); correspond with T. Horley and D. Rubin
                                                     regarding service (0.4); attend conference with B. Kaminetzky,
                                                     T. Graulich, F. Bivens, J. McClammy and others regarding
                                                     litigation strategy (1.3); prepare for same (0.1).
Rubin, Dylan S.             09/19/19          10.9   Attend conference with T. Horley regarding Notice of
                                                     Automatic Stay service and notice lists (0.4); draft email and
                                                     list for Notice of Automatic Stay service (0.3); attend
                                                     conference with G. McCarthy and G. Cardillo regarding
                                                     injunctive relief (0.6); research regarding forms of injunctive
                                                       11
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 25 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     relief and standards (4.0); confer with B. Wasserman and
                                                     others regarding injunctive relief (1.1); correspondence with G.
                                                     McCarthy regarding injunctive relief (0.6); confer with
                                                     PrimeClerk regarding service of summons and complaint
                                                     (0.7); correspondence with K. Boehm and S. Carvajal
                                                     regarding injunctive relief research (0.2).
Stefanik, Sean              09/19/19          11.4   Attend meetings with G. McCarthy, D. Rubin, and B.
                                                     Wasserman regarding Injunction issues (1.5); correspondence
                                                     with D. Rubin and B. Wasserman regarding same (0.5);
                                                     research and analyze case law regarding emergency relief
                                                     and Injunction issues (5.7); draft Injunction-related pleadings
                                                     (3.1); review transcript of First Day hearing (0.6).
Tobak, Marc J.              09/19/19           4.8   Correspondence with Dechert regarding removal issues (0.5);
                                                     revise discovery filings (0.4); conference with B. Kaminetzky,
                                                     G. McCarthy regarding Injunction strategy (0.5);
                                                     correspondence regarding service (0.2); conferences with K.
                                                     Benedict regarding discovery (0.7); correspondence and
                                                     conference with Spears & Imes regarding stay issues (0.4);
                                                     conference with D. Rubin and G. Cardillo regarding research
                                                     (0.3); attend conference with M. Huebner, B. Kaminetzky, G.
                                                     McCarthy and others regarding injunction strategy (0.4); plan
                                                     for discovery process (0.2); correspond with G. McCarthy
                                                     regarding preliminary Injunction next steps (0.9);
                                                     correspondence and conference with B. Kaminetzky regarding
                                                     preliminary Injunction litigation strategy (0.3).
Vonnegut, Eli J.            09/19/19           0.4   Emails regarding surety bond issue.
Wasserman,                  09/19/19           9.5   Confer with D. Rubin and others regarding injunctive relief
Benjamin D.                                          (1.1); research legal issues for memorandum of law in support
                                                     of potential motion (8.4).
Young, Ryan                 09/19/19           7.8   Prepare Daubert briefing binder as per N. DiMarco (1.9);
                                                     prepare binder of expert witness testimonies as per N.
                                                     DiMarco (2.1); prepare binders of discovery materials as per
                                                     G. Cardillo (3.8).
Benedict, Kathryn S.        09/20/19           5.7   Correspondence with M. Tobak, G. McCartney, G. Cardillo,
                                                     and D. Mazer regarding scope of automatic stay (0.2); review
                                                     materials regarding same (0.1); review New York attorney
                                                     general complaint to consider estate claims (0.2);
                                                     correspondence regarding Preliminary Injunction depository
                                                     with R. Young and S. Saporito (0.3); correspondence
                                                     regarding Preliminary Injunction depository with M. Tobak, K.
                                                     Boehm, and platform vendor (0.4); review and revise estate
                                                     claims riders (2.2); correspondence regarding Preliminary
                                                     Injunction depository with M. Tobak, K. Boehm, and platform
                                                     vendor (0.6); review and revise estate claims riders from E.
                                                     Townes (1.7); Correspondence with A. Pravda, D. Darcy, C.
                                                     Hinton, J. Chen, platform vendor, and various attorneys
                                                     general to coordinate access to Preliminary Injunction data
                                                     repository (2.7).
Boehm, Korey                09/20/19           6.0   Research and summarize adverse party statements (5.2);
                                                     correspond with computer support to troubleshoot Preliminary
                                                     Injunction data repository issues (0.8).
Cardillo, Garrett           09/20/19           7.9   Legal research and analysis on scope of automatic stay (3.7);
                                                     draft memorandum to team regarding same (3.3); correspond
                                                     with D. Rubin regarding preliminary Injunction litigation (0.2);
                                                     analyze discovery documents in preparation for depositions
                                                     (0.5); correspond with G. McCarthy regarding reply
                                                       12
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 26 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     preparation (0.2).
Chen, Johnny W.             09/20/19           1.0   Verify new discovery repository for initial approved parties and
                                                     follow-up with vendor regarding issues.
Hinton, Carla Nadine        09/20/19           4.6   EDiscovery follow-up tasks to ensure the circulation of
                                                     finalized document production set per K. Benedict.
Horley, Tim                 09/20/19           6.1   Review and update email notification list to take into account
                                                     missing email addresses (2.7); telephone conference with D.
                                                     Mazer regarding precedent asset sale (0.1); prepare email list
                                                     for sending notification and requests to waive service (1.2);
                                                     call with H. Baer at Prime Clerk regarding outstanding service
                                                     and email notification issues (0.4); email with D. Rubin on
                                                     outstanding notification and service issues (0.1); correspond
                                                     with G. McCarthy on outstanding notification and service
                                                     issues (0.1); prepare spreadsheet with information regarding
                                                     follow-up for counsel email addresses in for preliminary
                                                     Injunction defendants (1.0); prepare instructions and
                                                     correspondence with S. Gregory of Veritext to set up
                                                     depositions of witnesses (0.2); review declarations of
                                                     witnesses (0.3).
Huebner, Marshall S.        09/20/19           2.3   Calls and emails with various parties regarding continued
                                                     litigation by various states and proposed approach (1.9);
                                                     discussion with M. Kesselman regarding Department of
                                                     Justice issues and email with P. Fitzgerald regarding same
                                                     (0.4).
Kaminetzky,                 09/20/19           6.5   Email and analysis regarding automatic stay research and
Benjamin S.                                          strategy (0.5); review research (0.2); review draft term sheet
                                                     (0.1); email and analysis regarding state litigations update and
                                                     strategy (1.7); meeting with G. McCarthy regarding stay
                                                     research (0.2); calls and email with A. Troop regarding
                                                     background and preliminary Injunction (0.5); email and
                                                     analysis regarding waiver of service (0.1); meeting with G.
                                                     McCarthy and M. Tobak regarding update and strategy (0.2);
                                                     email and preparation for meeting with Purdue (0.4); email
                                                     with A. Lees regarding update (0.3); email and analysis
                                                     regarding settlement and stay (0.2); review draft declaration
                                                     (0.2); email and analysis regarding expedited relief (0.3);
                                                     conference call with M. Kesselman, L. Strange, M. While and
                                                     G. Joseph regarding settlement update and development
                                                     (0.3); call with M. Kesselman regarding update (0.1); email
                                                     with M. Tobak regarding reply planning (0.1); email regarding
                                                     data repository issues, protective order, insiders, Canada
                                                     update, settlement scope and tasks (1.1).
Mazer, Deborah S.           09/20/19           9.0   Review New York Attorney General response to defendants'
                                                     suggestion of bankruptcy (0.4); analyze insider issues (1.6);
                                                     draft settlement presentation deck (6.4); teleconference with
                                                     T. Horley regarding precedent sale (0.1); review Preliminary
                                                     Injunction materials (0.3); email K. Benedict, K. Boehm and
                                                     others regarding discovery issues (0.2).
McCarthy, Gerard            09/20/19           5.5   Teleconference with M. Tobak regarding preliminary Injunction
                                                     strategy (0.6); review materials from H. Coleman regarding
                                                     same (0.4); discussion with M. Tobak regarding service issues
                                                     (0.5); draft email to counsel regarding service (0.4); review
                                                     draft motion papers (0.8); confer with D. Rubin regarding
                                                     injunctive relief (0.4); review letter from counsel to certain
                                                     governmental entities (0.2); review and analyze case law
                                                     regarding preliminary injunction (0.7); conference with B.
                                                       13
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 27 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     Kaminetzky and M. Tobak regarding status and strategy (0.2);
                                                     conferences with M. Tobak regarding preparing reply (0.5);
                                                     discussion with G. Cardillo regarding discovery (0.2);
                                                     conference with T. Horley regarding notice issues (0.1); review
                                                     correspondence on discovery database access (0.3); meeting
                                                     with B. Kaminetzky regarding reply (0.2).
Rubin, Dylan S.             09/20/19           6.7   Research regarding injunctive relief (4.5); call with G. Cardillo
                                                     regarding same (0.2); confer with G. McCarthy regarding
                                                     same (0.4); correspond with B. Wasserman regarding
                                                     injunctive relief issues (0.3); provide notice to adversary
                                                     proceeding defendants (0.3); email with T. Horley regarding
                                                     notice lists (0.4); revise notice lists (0.6).
Stefanik, Sean              09/20/19           1.4   Review and analyze case law regarding injunction issues
                                                     (0.9); review draft pleadings (0.5).
Tobak, Marc J.              09/20/19           5.0   Correspondence with K. Benedict regarding discovery (0.4):
                                                     correspondence with Massachusetts Attorney General’s office
                                                     regarding discovery (0.8); conference with G. McCarthy
                                                     regarding preliminary Injunction record (0.6); conference with
                                                     G. McCarthy regarding service issues (0.5); correspondence
                                                     with Ad Hoc Committee counsel regarding document
                                                     depository (0.3); conference with B. Kaminetzky and G.
                                                     McCarthy regarding update and strategy (0.2); conference
                                                     with K. Benedict regarding deposition issues (0.6);
                                                     conferences with G. McCarthy regarding reply planning (0.5);
                                                     conference with B. Kaminetzky regarding same (0.1):
                                                     conference with K. Benedict regarding ad hoc group,
                                                     discovery (0.2); correspondence with ad hoc group regarding
                                                     discovery issues (0.5); consider reply issues (0.3).
Vonnegut, Eli J.            09/20/19           0.4   Work on surety bond automatic stay question.
Wasserman,                  09/20/19           0.3   Emails with D. Rubin discussing injunctive relief issues.
Benjamin D.
Young, Ryan                 09/20/19           4.2   Update table of contents for expert report portfolio as per N.
                                                     DiMarco.
Benedict, Kathryn S.        09/21/19           2.9   Correspondence regarding Preliminary Injunction depository
                                                     with K. Boehm, C. Hinton, platform vendor, certain attorney
                                                     general, and others (1.2); correspondence regarding
                                                     Preliminary Injunction depository with G. McCarthy, K. Boehm,
                                                     A. Pravda, D. Darcy, C. Hinton, J. Chen, and others (1.5);
                                                     correspondence regarding general discovery papers with B.
                                                     Wasserman (0.2).
Cardillo, Garrett           09/21/19           7.1   Draft and revise deposition preparation outlines for J.
                                                     DelConte and J. O'Connell depositions.
Chen, Johnny W.             09/21/19           5.3   Review and resolve discovery repository transfer issues with
                                                     vendor (1.7); assist K. Benedict with support for approved
                                                     parties for discovery repository (3.6).
Hinton, Carla Nadine        09/21/19           1.9   EDiscovery tasks regarding preparation of incoming document
                                                     sets for production, per K. Benedict.
Horley, Tim                 09/21/19           3.0   Review materials addressing current state of pending opioid
                                                     litigations (0.4); prepare Excel spreadsheet describing these
                                                     cases statuses (2.4); prepare email summary of findings for G.
                                                     McCarthy (0.2).
Huebner, Marshall S.        09/21/19           1.0   Emails to client group and co-counsel regarding Canadian
                                                     issues (0.4); multiple calls and emails regarding Injunction
                                                     and TRO with B. Kaminetzky (0.6).
Kaminetzky,                 09/21/19           0.5   Correspond with M. Huebner regarding Preliminary Injunction
Benjamin S.                                          Motion strategy.
                                                       14
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 28 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Mazer, Deborah S.           09/21/19           2.7   Draft settlement presentation deck.
McCarthy, Gerard            09/21/19           3.3   Analyze materials for preliminary Injunction reply (0.9);
                                                     correspondence with D. Rubin regarding same (0.4); review
                                                     and revise strategy presentation (1.2); review and analyze
                                                     litigation information from H. Coleman (0.3); correspondence
                                                     with B. Kaminetzky and M. Tobak regarding same (0.1);
                                                     prepare for J. O'Connell deposition (0.4).
Rubin, Dylan S.             09/21/19           1.6   Research regarding injunctive relief (0.6); draft modules
                                                     regarding Injunction papers (0.7); correspondence with G.
                                                     McCarthy regarding same (0.3).
Tobak, Marc J.              09/21/19           0.5   Correspondence with B. Kaminetzky and G. McCarthy
                                                     regarding preliminary Injunction strategy (0.3);
                                                     correspondence with Dechert regarding stay issues (0.2).
Wasserman,                  09/21/19           7.3   Draft memorandum of law in support of potential motion (7.0);
Benjamin D.                                          send the same to D. Rubin and S. Stefanik (0.1); emails with
                                                     K. Benedict regarding discovery issues (0.2).
Benedict, Kathryn S.        09/22/19           2.1   Correspondence with K. Boehm and vendor regarding access
                                                     to data repository (0.2); review and revise draft general
                                                     discovery papers from B. Wasserman (1.7); correspondence
                                                     with B. Wasserman regarding same (0.2).
Cardillo, Garrett           09/22/19           4.2   Draft outline for J. DelConte deposition preparation (3.0); call
                                                     with G. McCarthy regarding O'Connell deposition (0.2); call
                                                     with G. McCarthy regarding further revisions to preparation
                                                     materials (0.3); revise deposition outlines (0.5); email M.
                                                     Tobak regarding same (0.2).
Horley, Tim                 09/22/19           3.5   Review sovereign immunity memorandum (0.4); review and
                                                     analyze relevant case law (2.0); prepare written argument on
                                                     sovereign immunity (0.8); review updates from co-counsel at
                                                     Dechert related to pending litigations and make updates to
                                                     Davis Polk tracking chart (0.3).
Huebner, Marshall S.        09/22/19           1.6   Multiple calls with B. Kaminetzky and M. Kesselman regarding
                                                     litigation issues and Injunction hearing (1.5); call with D. Mazer
                                                     regarding settlement presentation (0.1).
Kaminetzky,                 09/22/19           2.4   Call and email with A. Preis regarding automatic stay scope
Benjamin S.                                          issue (0.3); email, analysis and research regarding same
                                                     (0.4); calls and email with M. Huebner regarding Preliminary
                                                     Injunction strategy and scheduling issues (0.1); conference
                                                     call with F. Bivens, J. McClammy, M. Tobak, T. Graulich, A.
                                                     Lutchen and G. McCarthy regarding litigation strategy meeting
                                                     (0.6); review and revise litigation deck (0.5); analysis
                                                     regarding expedited relief (0.3); review litigation status charts
                                                     (0.2).
Mazer, Deborah S.           09/22/19           2.7   Draft settlement presentation deck (2.6); teleconference with
                                                     M. Huebner regarding settlement presentation (0.1).
McCarthy, Gerard            09/22/19           8.4   Teleconference with B. Kaminetzky, J. McClammy, M. Tobak
                                                     and others regarding litigation strategy presentation (0.6);
                                                     prepare for J. O'Connell deposition (3.0); correspondence with
                                                     M. Tobak regarding Preliminary Injunction Reply (0.2); prepare
                                                     for J. DelConte deposition (3.0); teleconferences with G.
                                                     Cardillo regarding deposition preparation (0.5); review
                                                     analysis of third party discovery issues (0.3); review letter from
                                                     Tennessee counsel (0.1); review revisions to Rhode Island
                                                     response letter (0.3); diligence regarding Massachusetts
                                                     Attorney General requests (0.4).
Rubin, Dylan S.             09/22/19           1.1   Research regarding injunctive relief (0.8); emails with G.
                                                     McCarthy and M. Tobak regarding planning for Reply (0.3).
                                                       15
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 29 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Tobak, Marc J.              09/22/19           7.6   Consider Preliminary Injunction reply strategy and planning
                                                     (1.6); conference call with B. Kaminetzky, J. McClammy, F.
                                                     Bivens, T. Graulich, A. Lutchen, and G. McCarthy (0.6);
                                                     correspondence with G. McCarthy and D. Rubin regarding
                                                     same (0.4); correspondence regarding defendant informal
                                                     discovery (0.4); revise draft letter in state case (0.7);
                                                     correspondence with Dechert regarding same (0.3);
                                                     correspondence regarding injunction strategy (0.5);
                                                     correspondence with K. Benedict regarding deposition
                                                     logistics (0.3); call with B. Kaminetzky, F. Bivens, T. Graulich,
                                                     J. McClammy, G. McCarthy, A. Lutchen and J. Knudson
                                                     regarding litigation strategy meeting (0.7); call with J.
                                                     McClammy, J. Knudson regarding presentation for same (0.2);
                                                     review and revise draft strategy presentation (1.7); call with J.
                                                     Knudson regarding same (0.2).
Townes, Esther C.           09/22/19           2.4   Draft Preliminary Injunction reply brief.
Wasserman,                  09/22/19           4.2   Revise motions on discovery issues (1.8); draft discovery
Benjamin D.                                          strategy outline (2.2); emails with K. Benedict regarding
                                                     discovery papers (0.2).
Benedict, Kathryn S.        09/23/19          10.6   Correspondence with M. Tobak and K. Boehm regarding
                                                     Preliminary Injunction information requests (0.2); discussions
                                                     with G. McCarthy regarding status of litigations related to
                                                     preliminary injunction (0.7); review and revise general
                                                     discovery papers from B. Wasserman (7.6); correspondence
                                                     with Attorneys General and vendor regarding access to
                                                     preliminary injunction data repository (0.3); review and revise
                                                     organizational materials related to access to preliminary
                                                     injunction data repository (0.3); correspondence with J. Chen
                                                     regarding preparing of documents for production to preliminary
                                                     injunction data repository (0.3); review materials for production
                                                     (0.2); correspondence with G. Cardillo regarding materials for
                                                     production (0.1); call with G. Cardillo regarding same (0.1);
                                                     correspondence with J. Chen and vendor regarding uploading
                                                     materials to data repository (1.1); telephone conference with
                                                     M. Tobak regarding deposition logistics (0.3); correspondence
                                                     with G. Cardillo and T. Horley regarding same (0.1).
Boehm, Korey                09/23/19           1.2   Draft informal discovery request tracker (0.5); update informal
                                                     discovery request tracker and summarize (0.7).
Cardillo, Garrett           09/23/19           8.8   Analyze discovery materials in preparation for depositions of
                                                     J. O'Connell and J. DelConte (7.4); conference with B.
                                                     Kaminetzky and others regarding deposition preparation (0.3);
                                                     analyze and prepare schedule of trial dates (0.5); call with K.
                                                     Benedict regarding discovery (0.1); call with T. Horley
                                                     regarding same (0.2); confer with T. Horley regarding
                                                     deposition preparation (0.3).
Chen, Johnny W.             09/23/19           2.6   Review discovery repository tracking reports (0.4) and follow-
                                                     up correspondence with K. Benedict and A. Pravda (0.3);
                                                     prepare and finalize second document production per K.
                                                     Benedict (0.7); complete transfer of production to discovery
                                                     repository and resolve issues with K. Benedict and vendor
                                                     team (1.2).
Horley, Tim                 09/23/19           8.0   Review and analyze relevant case law on injunction related
                                                     issue (4.3); prepare written argument on this issue for
                                                     potential reply brief (1.6); conference with G. Cardillo and
                                                     others regarding deposition and deposition preparation (0.3);
                                                     call with G. Cardillo regarding discovery (0.2); coordinate with
                                                       16
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 30 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     Davis Polk in-house personnel to prepare deposition logistics
                                                     (0.4); conference with vendor to prepare deposition logistics
                                                     (0.2); review J. O'Connell deposition preparation outline and
                                                     related materials (0.8); confer with D. Rubin regarding
                                                     injunctive papers (0.2).
Huebner, Marshall S.        09/23/19           3.2   Review of Injunction case law and emails to Davis Polk team
                                                     regarding same (0.6); emails regarding Utah litigation position
                                                     and next steps (0.3); review of multiple relevant state court
                                                     pleadings regarding Injunction and related issues (0.7); call
                                                     with Skadden Arps regarding Department of Justice issues
                                                     (0.8); emails with Davis Polk regarding October 10 hearing
                                                     (0.2); call with E. Vonnegut regarding multiple matters for
                                                     second day hearing (0.6).
Kaminetzky,                 09/23/19           9.7   Calls and email with A. Troop regarding schedule (0.3); call
Benjamin S.                                          with J. Teitelman regarding background (0.2); review
                                                     responsive pleading (0.2); review press reports (0.2);
                                                     correspond with M. Tobak regarding discovery (0.1); call with
                                                     J. O'Conner regarding deposition (0.2); correspond with J.
                                                     McClammy regarding expert (0.1); prepare for meeting
                                                     regarding litigation (0.8); litigation strategy meeting with Davis
                                                     Polk team (2.1); analysis regarding follow-up items (0.4);
                                                     conference call with T. Graulich and Canada counsel
                                                     regarding strategy (0.6); review research regarding automatic
                                                     stay and discovery (0.4); review multiple states' stay pleadings
                                                     (0.6); review Utah discovery letter (0.1); email and analysis
                                                     regarding same (0.2); review 2019 filings (0.1); review
                                                     Department of Financial Services letter (0.1); email regarding
                                                     depositions, preliminary Injunction hearing, Canada strategy,
                                                     protective order, private claims, discovery requests,
                                                     depositions logistics, new lawsuits and updates (1.0);
                                                     correspond with G. Cardillo regarding deposition preparation
                                                     (0.3); prepare for deposition preparation (1.4); review and
                                                     analyze litigation activity level (0.3).
Mazer, Deborah S.           09/23/19           9.6   Meet with M. Clarens and N. Williams regarding information
                                                     for settlement presentation deck (1.2); attend teleconference
                                                     with G. Cardillo and others regarding Purdue meeting (0.1);
                                                     revise settlement presentation outline (1.3); prepare for
                                                     communications meeting (1.4); meet with M. Kesselman, F.
                                                     Bivens, and others regarding communications (1.1); attend
                                                     teleconference with A. Lutchen regarding communications
                                                     materials (0.2); meet with C. Fennelly to discuss settlement
                                                     materials (0.8); draft preliminary Injunction responsive papers
                                                     (2.9); meet with D. Rubin regarding same (0.3); review Bates
                                                     White deck (0.3).
McCarthy, Gerard            09/23/19           8.7   Review, revise litigation strategy presentation (0.7); prepare
                                                     for litigation strategy meeting (0.5); conference with M.
                                                     Kesselman, J. Adams, B. Kaminetzky, others regarding
                                                     litigation strategy (2.1); teleconference with M. Tobak
                                                     regarding litigation strategy (0.5); review non-disclosure
                                                     agreement (0.2); draft bullets regarding stay arguments (0.7);
                                                     correspond with M. Tobak regarding automatic stay bullet
                                                     points and reply work streams (0.2); analyze reply materials,
                                                     case law, arguments (2.8); discussion with K. Benedict
                                                     regarding discovery (0.5); confer with D. Rubin regarding reply
                                                     brief (0.2); call with Arkansas county clerk regarding service
                                                     (0.1); review spreadsheet concerning service (0.2).
                                                       17
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                   Main Document
                                                  Pg 31 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Rubin, Dylan S.             09/23/19           7.2   Confer with Prime Clerk regarding service and affidavit (0.2);
                                                     attend conference with G. McCarthy and others regarding
                                                     reply brief planning (0.2); correspond with D. Mazer regarding
                                                     reply brief (0.2); review and revise injunctive relief papers
                                                     (5.4); confer with T. Horley regarding Injunction research (0.2);
                                                     email with E. Townes regarding reply brief modules (0.9).
Stefanik, Sean              09/23/19           0.4   Review preliminary Injunction filings and documents.
Tobak, Marc J.              09/23/19           6.0   Revise deposition preparation materials (0.4); revise argument
                                                     summary for M. Kesselman (0.6); correspondence with
                                                     Massachusetts Attorney General office regarding preliminary
                                                     Injunction discovery (0.3); conference and correspondence
                                                     with Maryland Attorney General office regarding depositions
                                                     (0.5); call with Spears & Imes, G. McCarthy regarding related
                                                     parties (0.2); conference with G. McCarthy regarding same
                                                     (0.2); correspondence with Dechert regarding stay issues in
                                                     opioid litigation (0.5); conference with K. Benedict regarding
                                                     deposition and discovery issues (0.3); reply brief planning
                                                     (0.6); correspond with B. Kaminetzky regarding reply brief
                                                     work streams (0.2); conferences with G. McCarthy and others
                                                     regarding litigation strategy (1.8); preliminary Injunction
                                                     discovery and deposition planning (0.4).
Townes, Esther C.           09/23/19           5.9   Draft and revise work product related to estate claims (0.4);
                                                     draft Preliminary Injunction Reply Brief (4.6); confer with D.
                                                     Rubin regarding Reply brief modules (0.9).
Wasserman,                  09/23/19           5.4   Draft discovery strategy outline (2.9); email to K. Benedict
Benjamin D.                                          (0.1); research legal issues for K. Benedict (1.5); revise motion
                                                     papers accordingly (0.9).

Young, Ryan                 09/23/19           4.1   Reorganize binders with documents for depositions as per G.
                                                     Cardillo (1.4); prepare list of key docs for multi-district litigation
                                                     as per E. Kim (2.7).
Benedict, Kathryn S.        09/24/19           5.9   Review workstreams documents in anticipation of litigation
                                                     meeting regarding strategy and next steps (0.2); attend
                                                     litigation meeting regarding Preliminary Injunction next steps
                                                     with M. Tobak, G. McCarthy, and D. Rubin (1.0);
                                                     correspondence with M. Tobak regarding Preliminary
                                                     Injunction papers (0.1); correspondence with various
                                                     Attorneys General regarding access to data repository (0.4);
                                                     correspondence regarding Preliminary Injunction strategy with
                                                     M. Tobak, D. Rubin, and E. Townes (0.2); correspondence
                                                     regarding deposition scheduling with M. Tobak, G. McCarthy,
                                                     and T. Horley (0.4); telephone conference with G. Cardillo
                                                     regarding deposition documents (0.1); discussion with M.
                                                     Tobak regarding queries on protective order and Preliminary
                                                     Injunction discovery as well as potential estate claims issues
                                                     (0.8); review and revise work product regarding estate claims
                                                     (2.7).
Boehm, Korey                09/24/19           0.6   Update and circulate Preliminary Injunction Data Repository
                                                     Tracker (0.3); teleconference with G. Cardillo regarding
                                                     deposition preparations (0.2); update and circulate Informal
                                                     Discovery Request Tracker (0.1)
Cardillo, Garrett           09/24/19           9.3   Confer with and prepare J. O'Connell for deposition, and
                                                     preparation and follow-up regarding same (6.9); call with K.
                                                     Benedict regarding deposition documents (0.1); prepare for J.
                                                     DelConte deposition preparation session (0.8); attend confer
                                                     with G. McCarthy, D. Rubin and others regarding reply brief
                                                       18
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 32 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     strategy (1.0); call with K. Boehm regarding deposition
                                                     preparation (0.2).
Hinton, Carla Nadine        09/24/19           1.9   EDiscovery follow-up tasks regarding circulation of second
                                                     document set for production, per K. Benedict.
Horley, Tim                 09/24/19          10.1   Prepare for deposition session (0.3); assist in preparation of J.
                                                     McConnell deposition with B. Kaminetzky, G. Cardillo, J.
                                                     O'Connell, and T. Melvin (4.2); prepare revisions to litigation
                                                     workstreams chart (0.1); prepare questions for follow-up with
                                                     M. Huebner for B. Kaminetzky (0.1); review pending actions
                                                     tracking materials to determine scope of Creadore Law Firm's
                                                     representation (1.3); prepare for deposition phone line
                                                     monitoring system with A. Vaccaro (0.7); correspond with M.
                                                     Tobak, K. Benedict, and G. Cardillo regarding deposition
                                                     logistics planning (0.5); review Prime Clerk's draft affidavit of
                                                     service prior to filing to determine completeness (0.5);
                                                     coordinate with S. Gregory of Veritext regarding deposition
                                                     court reporter engagement (0.4); prepare briefing documents
                                                     for G. McCarthy (0.9); review and analyze proposed protective
                                                     order to determine approach to confidential documents in
                                                     advance of deposition (0.6); review J. DelConte deposition
                                                     preparation outline (0.5).
Huebner, Marshall S.        09/24/19           2.8   Emails and call with C. Duggan regarding Department of
                                                     Justice request (0.3); further discussion and emails with
                                                     Purdue and litigators regarding Injunction hearing, pleadings,
                                                     schedule, depositions and related matters (1.6); discussions
                                                     and emails regarding Department of Justice request (0.9).
Kaminetzky,                 09/24/19           9.7   Email and analysis regarding second day hearing and strategy
Benjamin S.                                          (0.2); prepare for deposition preparation (0.8); review tracking
                                                     materials (0.2); deposition preparation (3.6); attend
                                                     conference with M. Tobak regarding deposition issues (0.2);
                                                     conference call with joint defense group regarding update and
                                                     strategy (0.7); email and analysis regarding investigation (0.2);
                                                     call with M. Huebner regarding preliminary Injunction strategy
                                                     and update (0.3); review Ohio Attorney General and track one
                                                     materials (0.1); weekly litigation summary call (0.7); attend
                                                     conference with M. Tobak and G. McCarthy regarding
                                                     Preliminary Injunction Reply (0.3); email and analysis
                                                     regarding deposition request (0.5); call with G. Joseph
                                                     regarding same (0.2); review and edit stay analysis (0.2); calls
                                                     and emails with plaintiff groups regarding protective order and
                                                     discovery issues (0.3); review press reports (0.2); call with M.
                                                     Huebner regarding tasks (0.2); correspond with G. McCarthy
                                                     regarding stay outline (0.1); email regarding requests for
                                                     extension, strategy, Creditors' Committee, inquiries from
                                                     defendants, ad-hoc committee (0.7).
Lutchen, Alexa B.           09/24/19           3.3   Review materials related to communication strategy (0.8);
                                                     conference with F. Bivens and D. Mazer regarding same (0.6);
                                                     conference with B. Kaminetzky regarding preliminary
                                                     Injunction (0.2); review Preliminary Injunction Briefing (1.7).
Mazer, Deborah S.           09/24/19           8.1   Email F. Bivens and A. Lutchen regarding settlement materials
                                                     (1.1); meet with F. Bivens and A. Lutchen to discuss
                                                     communications related to the settlement structure (0.6); draft
                                                     responsive preliminary Injunction papers (5.0); attend weekly
                                                     team meeting (0.6); review daily press coverage to inform
                                                     settlement presentation materials (0.3); analyze abstention
                                                     issues (0.5).
                                                       19
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 33 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
McCarthy, Gerard            09/24/19           7.1   Attend conference with M. Tobak, K. Benedict, other
                                                     associates regarding litigation strategy, work streams (1.0);
                                                     attend conference with B. Kaminetzky, M. Tobak regarding
                                                     depositions, hearing (0.3); conference with restructuring,
                                                     litigation, intellectual property teams regarding strategy, work
                                                     streams (0.6); teleconferences with county clerks regarding
                                                     service (0.5); teleconferences with M. Tobak and others
                                                     regarding reply briefing (0.6); attend conference with D. Rubin,
                                                     G. Cardillo regarding reply brief, oral argument preparation
                                                     (1.0); analysis regarding reply brief (3.1).
Rubin, Dylan S.             09/24/19           6.8   Prepare for (0.2) and confer with G. McCarthy, M. Tobak and
                                                     K. Benedict regarding argument and reply planning (1.0);
                                                     confer with full team regarding case status (0.5); email with M.
                                                     Tobak regarding civil regulatory actions (0.2); correspond with
                                                     B. Wasserman regarding injunctive relief research (0.2);
                                                     emails with PrimeClerk regarding service and affidavit (0.2);
                                                     confer with G. McCarthy regarding service (0.2); draft, review
                                                     and revise draft reply modules (3.9); conference with E.
                                                     Townes regarding parties responses to Preliminary Injunction
                                                     (0.4).
Tobak, Marc J.              09/24/19           5.9   Attend conference with G. McCarthy, K. Benedict and D.
                                                     Rubin regarding litigation strategy, discovery, reply and
                                                     hearing planning (1.0); review and revise letter regarding state
                                                     court actions (0.5); correspondence with Dechert and B.
                                                     Kaminetzky regarding regulatory matters (0.6);
                                                     correspondence with B. Kaminetzky and G. McCarthy
                                                     regarding same (0.2); reply planning and strategy (1.1);
                                                     correspondence with NAS plaintiff (0.2); conference with K.
                                                     Benedict regarding discovery matters (0.8): conferences with
                                                     Massachusetts and Maryland Attorneys General offices
                                                     regarding depositions (0.2); correspondence regarding
                                                     protective order issues (0.2); conferences with G. McCarthy
                                                     regarding reply (0.6); conference with B. Kaminetzky and G.
                                                     McCarthy regarding Preliminary Injunction Reply (0.3);
                                                     conference with B. Kaminetzky regarding depositions (0.2).
Townes, Esther C.           09/24/19           6.9   Draft Preliminary Injunction reply brief (2.5); conference with
                                                     D. Rubin regarding related party responses to same (0.4);
                                                     draft related party response to Preliminary Injunction
                                                     opposition (1.6); draft and revise work product regarding
                                                     estate claims (2.4).
Wasserman,                  09/24/19           0.4   Emails with D. Rubin regarding legal research assignment
Benjamin D.                                          (0.2); start research assignment (0.2).

Young, Ryan                 09/24/19           1.3   Assist with document preparation for deposition preparation as
                                                     per G. Cardillo (1.3); update Preliminary Injunction repository
                                                     inbox spreadsheet with new requests for documents as per K.
                                                     Benedict (0.1).
Benedict, Kathryn S.        09/25/19          10.4   Review and revise work product from E. Townes regarding
                                                     estate claims (1.1); attend conference with M. Tobak, G.
                                                     McCarthy, A. Lutchen, and D. Rubin regarding Preliminary
                                                     Injunction reply and oral argument (1.0); correspondence with
                                                     B. Kaminetzky regarding Preliminary Injunction schedule (0.2);
                                                     prepare stipulation related to Preliminary Injunction schedule
                                                     (0.2); attend conference with G. McCarthy regarding oral
                                                     argument preparation (0.2); attend conference with litigation
                                                     team, including G. McCarthy, regarding Preliminary Injunction
                                                       20
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 34 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     reply work streams (0.5); correspondence with B. Kaminetzky
                                                     regarding notices of depositions (0.1); conference with B.
                                                     Kaminetzky, F. Bivens, J. McClammy, M. Tobak, G. McCarthy,
                                                     A. Lutchen, and E. Townes regarding claims process (1.4);
                                                     review materials related to Preliminary Injunction oral
                                                     argument (4.4); review protective order proposals as per M.
                                                     Tobak (0.5); attend telephone conference with M. Tobak,
                                                     Brown Rudnick and Kramer Levin regarding protective order
                                                     (0.3); telephone conference with M. Tobak regarding same
                                                     (0.3); correspondence with D. Darcy, T. Horley regarding
                                                     deposition coordination (0.2)
Boehm, Korey                09/25/19           3.1   Conference with team regarding Preliminary Injunction
                                                     workstreams (0.5); research issue regarding preliminary
                                                     Injunction (2.6).
Cardillo, Garrett           09/25/19          10.3   Confer with and prepare J. DelConte for deposition, follow-up
                                                     from deposition (6.5); call with B. Kaminetzky, J. O'Connell, M.
                                                     Huebner regarding deposition preparation (0.4); confer with
                                                     litigation team regarding reply brief (0.5); analyze discovery
                                                     documents in preparation for J. DelConte deposition (2.9).
Carvajal, Shanaye           09/25/19           4.7   Review Preliminary Injunction case materials in preparation for
                                                     oral argument (4.2); attend meeting regarding Preliminary
                                                     Injunction hearing preparation (0.5).
Hinton, Carla Nadine        09/25/19           1.0   EDiscovery follow-up tasks to circulate finalized document set
                                                     for production, per K. Benedict
Horley, Tim                 09/25/19          10.3   Review documents in advance of deposition preparation of J.
                                                     DelConte (0.4); attend deposition preparation of J. DelConte
                                                     (4.7); conference with S. Gregory regarding court reporter
                                                     arrangement and rates (0.4); arrange logistics of deposition
                                                     including visitor passes, security clearance, dial-in, room
                                                     reservation, and other technical matters in advance of
                                                     DelConte deposition (1.2); correspond with planned attendees
                                                     of depositions regarding dial-in and timing of depositions (0.3);
                                                     review proposed protective order and highlight relevant
                                                     language for G. Cardillo (0.2); attend call with J. O'Connell, M.
                                                     Huebner, B. Kaminetzky, and G. Cardillo regarding O'Connell
                                                     deposition (0.4); attend team meeting to discuss workstreams
                                                     in advance of Oct. 11 hearing date (0.5); review and analyze
                                                     recent filing in related litigation (1.0); prepare written summary
                                                     of recent filing in related litigation and circulate to team (0.8);
                                                     prepare list of deposition attendees (0.2); prepare documents
                                                     in advance of J. DelConte deposition (0.2)
Huebner, Marshall S.        09/25/19           4.1   Conference call with B. Kaminetzky regarding upcoming
                                                     depositions (0.4); multiple emails regarding Department of
                                                     Justice request (0.4); emails regarding requested depositions
                                                     of family member (0.2); emails regarding hearing issues (0.3);
                                                     emails regarding new decision relevant to Injunction (0.1);
                                                     multiple calls and conference calls regarding co-defendant
                                                     issues with multiple parties including litigation counsel, Purdue
                                                     and family counsel (2.7).
Kaminetzky,                 09/25/19          11.6   Prepare for deposition preparation (0.7); deposition
Benjamin S.                                          preparation (5.3); email and analysis regarding request for
                                                     additional discovery (0.4); call with M. Huebner, J. O'Connell,
                                                     G. Cardillo, T. Horley regarding deposition preparation (0.4);
                                                     conference call with M. Kesselman, S. Birnbaum, M. Huebner
                                                     regarding settlement, update and strategy (0.6); call with S.
                                                     Birnbaum regarding update (0.1); conference call with G.
                                                       21
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 35 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     McCarthy, M. Tobak, G. Joseph and A. Lees regarding
                                                     discovery request (0.3); meeting with G. McCarthy and M.
                                                     Tobak regarding strategy (0.2); meeting with F. Bivens, J.
                                                     McClammy, M. Tobak, G. McCarthy and A. Lutchen regarding
                                                     litigation strategy (0.7); review press reports (0.3); analysis
                                                     regarding mandamus action (0.2); review Halo demand letter
                                                     (0.1); email and analysis regarding Supreme Court amicus
                                                     and strategy (0.3); conference call with Tennessee and
                                                     Arkansas plaintiff group regarding preliminary Injunction (0.4);
                                                     meeting with G. McCarthy regarding call follow-up and
                                                     strategy (0.4); email regarding extension requests, plaintiff
                                                     inquiries, counterparty indemnity request, deposition logistics,
                                                     hearing timing, Creditors' Committee formation and tasks
                                                     (1.2).
Lutchen, Alexa B.           09/25/19           6.8   Teleconference with C. Robertson and D. Forester regarding
                                                     patent dispute (0.5); conference with F. Bivens regarding
                                                     same (0.2); teleconference with G. LaRosa and C. Robertson
                                                     regarding same (0.4); conference with M. Tobak, G.
                                                     McCarthy, K. Benedict and D. Rubin regarding Preliminary
                                                     Injunction Motion (1.0); conference with G. McCarthy, K.
                                                     Benedict and D. Rubin and team regarding oral argument
                                                     preparation work streams (0.5); review Preliminary Injunction
                                                     Brief and cases (2.1); review materials regarding
                                                     communication strategy (2.1).
Mazer, Deborah S.           09/25/19           7.4   Attend meeting with G. McCarthy and others to discuss
                                                     preliminary Injunction workstreams (0.5); draft preliminary
                                                     Injunction reply papers (5.2); email with T. Horley regarding
                                                     relevant ongoing litigation (0.1); review relevant ongoing
                                                     litigation papers (0.3); analyze settlement issues (1.3).
McCarthy, Gerard            09/25/19           8.6   Attend meeting with M. Tobak, D. Rubin, K. Benedict
                                                     regarding preliminary Injunction reply arguments, strategy,
                                                     oral argument preparation (1.0); attend conference with
                                                     broader litigation team regarding same (0.5); attend
                                                     teleconference with B. Kaminetzky, M. Tobak, G. Joseph and
                                                     A. Lees regarding Preliminary Injunction Motion (0.3);
                                                     teleconference with opposing counsel regarding Preliminary
                                                     Injunction Motion, discovery (0.4); conference with B.
                                                     Kaminetzky regarding strategy and follow-up to same (0.4);
                                                     conference with F. Bivens, J. McClammy, M. Tobak, others
                                                     regarding litigation strategy, claims process (0.1);
                                                     teleconference with West Virginia Secretary of State's office
                                                     regarding service (0.1); analyze, develop preliminary
                                                     Injunction reply arguments (4.5); conference with K. Benedict
                                                     regarding oral argument preparation (0.2); conference with B.
                                                     Kaminetzky and M. Tobak regarding strategy (0.2).
McMillian, Chautney         09/25/19           0.5   Attend Davis Polk team meeting to discuss case updates.
R.
Peck, Dan                   09/25/19           0.5   Attend conference with Davis Polk team regarding Preliminary
                                                     Injunction Motion.
Rubin, Dylan S.             09/25/19           8.8   Confer with senior litigation team regarding reply brief and
                                                     argument planning (1.0); confer with broader litigation team
                                                     regarding same (0.5); draft and revise reply brief modules
                                                     (5.2); confer with D. Mazer regarding public interest module
                                                     (0.2); correspond with K. Benedict and A. Lutchen regarding
                                                     precedent documents (0.2); prepare for and confer with S.
                                                     Stefanik and E. Townes regarding reply brief drafting (1.3);
                                                       22
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 36 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     correspond with G. McCarthy and M. Tobak regarding key
                                                     cases for reply (0.4).
Stefanik, Sean              09/25/19           2.4   Attend meeting with D. Rubin, and others regarding
                                                     preliminary Injunction reply brief (0.5); meeting with litigation
                                                     team regarding same (0.5); teleconference with A. Lutchen
                                                     regarding case tasks (0.2); review case law related to
                                                     Preliminary Injunction Motion (1.2).
Tobak, Marc J.              09/25/19           5.1   Attend conference with G. McCarthy, A. Lutchen, K. Benedict,
                                                     D. Rubin, G. Cardillo regarding reply brief, oral argument (1.0);
                                                     conference with Maryland Attorney General regarding
                                                     depositions (0.1); correspondence with Dechert regarding stay
                                                     issues (0.2); correspondence with Dechert regarding
                                                     regulatory subpoena issues (0.2); correspondence with E.
                                                     Vonnegut, Abbot counsel regarding depositions (0.2);
                                                     correspondence with counsel to Abbot regarding same (0.2);
                                                     correspondence with Massachusetts Attorney General office
                                                     regarding depositions (0.2); correspondence with Dechert
                                                     regarding suggestion of bankruptcy (0.2); conference with
                                                     Kramer Levin, Brown Rudnick, K. Benedict regarding
                                                     depositions (0.3); correspond with B. Kaminetzky and G.
                                                     McCarthy regarding strategy (0.4); conference with K.
                                                     Benedict regarding same (0.3); review Massachusetts
                                                     Attorney General changes to protective order (0.3);
                                                     conference with G. McCarthy regarding hearing planning (0.5);
                                                     conference with B. Kaminetzky, G. McCarthy regarding
                                                     hearing, reply (0.5); email with G. McCarthy regarding
                                                     depositions (0.2); reply planning (0.3).

Townes, Esther C.           09/25/19           5.3   Draft related party response to Preliminary Injunction rider
                                                     (4.2); attend conference with D. Rubin and S. Stefanik
                                                     regarding same (0.7); attend meeting with G. McCarthy and
                                                     team regarding same (0.4).
Wasserman,                  09/25/19           0.4   Attend meeting with G. McCarthy, G. Cardillo, and rest of
Benjamin D.                                          team regarding status update on preliminary injunction motion.


Young, Ryan                 09/25/19           1.1   Prepare portfolio of cases and rules cited in the Preliminary
                                                     Injunction Brief as per G. Cardillo.
Benedict, Kathryn S.        09/26/19          11.9   Review and revise work product from K. Boehm regarding
                                                     standard for appeal (0.6); correspondence with T. Horley
                                                     regarding depositions (0.6); correspondence with G. McCarthy
                                                     regarding preparation for oral argument (0.2); conference with
                                                     G. McCarthy regarding oral argument preparation (0.7);
                                                     conference with A. Lutchen regarding planning for Preliminary
                                                     Injunction oral argument (0.4); conference with A. Lutchen, C.
                                                     McMillian, D. Mazer, S. Carvajal, and K. Boehm regarding oral
                                                     argument (0.7); review and revise materials for oral argument
                                                     (2.8); correspondence with vendor regarding Preliminary
                                                     Injunction data repository (0.1); correspondence with M.
                                                     Huebner and D. Mazer regarding estate claims (0.3);
                                                     correspondence with C. Robertson, M. Tobak, and C.
                                                     McMillian regarding automatic stay (0.4); telephone
                                                     conference with M. Tobak regarding automatic stay (0.3);
                                                     conference with M. Tobak, G. McCarthy, A. Lutchen, G.
                                                     Cardillo, D. Rubin regarding Preliminary Injunction oral
                                                     argument (1.5); review and revise summary of recent decision
                                                       23
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 37 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     prepared by D. Mazer (0.9); correspondence with M. Huebner
                                                     regarding recent decision (0.1); correspondence with A.
                                                     Lutchen and D. Mazer regarding oral argument preparation for
                                                     M. Huebner (0.3); prepare materials for oral argument
                                                     preparation (2.7).
Boehm, Korey                09/26/19           4.2   Conference with K. Benedict and A. Lutchen regarding
                                                     preliminary Injunction research (0.7); research issues related
                                                     to preliminary Injunction (3.5).
Cardillo, Garrett           09/26/19          13.1   Attend deposition of J. DelConte and preparation and follow-
                                                     up in connection with same (8.5); call with T. Horley regarding
                                                     preparation of J. O'Connell deposition (0.2); attend meeting
                                                     with M. Tobak and litigation team regarding next steps (0.9);
                                                     analyze rough transcript of J. DelConte deposition (2.0); draft
                                                     client update regarding same (0.5); prepare for J. O'Connell
                                                     deposition (0.6); call with B. Kaminetzky, J. O'Connell, M.
                                                     Huebner regarding deposition (0.4).
Carvajal, Shanaye           09/26/19           3.4   Review Preliminary Injunction materials in preparation for
                                                     meeting with oral argument team (2.3); correspond with S.
                                                     Stefanik regarding public statements (0.4); attend meeting
                                                     with oral argument team to discuss preparation (0.7).
Hinton, Carla Nadine        09/26/19           1.2   EDiscovery follow-up tasks to circulate finalized document set
                                                     for production, per K. Benedict.
Horley, Tim                 09/26/19           8.5   Finalize document and logistical preparation for deposition of
                                                     J. DelConte (0.6); attend DelConte deposition, take notes,
                                                     prepare written updates for team, and monitor teleconference
                                                     bridge (5.9); review notes and prepare written summary of
                                                     deposition (1.6); review background information on defendants
                                                     named to Creditors' Committee and prepare updates for team
                                                     (0.4).
Huebner, Marshall S.        09/26/19           3.4   Call with counsel for co-defendant regarding potential
                                                     pathways (0.6); multiple emails regarding Department of
                                                     Justice issues and provisions of draft reports (0.4); emails and
                                                     conversations with various parties regarding depositions, New
                                                     York litigation, and preparation for October 10 and 11 hearings
                                                     (1.6); conversation with Mark Tobak and emails regarding
                                                     additional arguments for Injunction hearing (0.8)
Kaminetzky,                 09/26/19          10.9   Deposition preparation (0.8); attend deposition of J. DelConte
Benjamin S.                                          (6.0); post deposition analysis (0.5); conference call with J.
                                                     O’Connell and G. Cardillo regarding deposition preparation
                                                     (0.4); review, edit and revise deposition summery (0.2); call
                                                     with G. Cardillo regarding same (0.1); conference with M.
                                                     Tobak, G. McCarthy and J. DelConte (0.5); email and analysis
                                                     regarding Creditors' Committee formation and composition
                                                     (0.4); reviewed press reports (0.3); review New York lift stay
                                                     papers (0.1); email regarding recusal decision, motion to
                                                     sever, depositions, lift stay papers, strategy, tasks (0.6);
                                                     analysis regarding reply issues (1.0).
Lutchen, Alexa B.           09/26/19           7.9   Conference with K. Benedict regarding oral argument (0.4);
                                                     conference with K. Benedict, D. Mazer, S. Carvajal, K. Boehm
                                                     and C. McMillan regarding same (0.7); conference with M.
                                                     Tobak, G. McCarthy, K. Benedict, and D. Rubin regarding
                                                     same (1.5); teleconference with L. Buchwald and K. Benedict
                                                     regarding same (0.2); review of strategy deck (1.8);
                                                     conferences and communications with D. Mazer regarding
                                                     same (1.5); teleconference with F. Bivens and D. Mazer
                                                     regarding same (0.4); conference with M. Huebner, F. Bivens
                                                       24
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 38 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     and D. Mazer regarding same (0.8); revise strategy deck (0.6).
Mazer, Deborah S.           09/26/19          11.8   Meet with K. Benedict, A. Lutchen and others regarding
                                                     preliminary Injunction hearing (0.7); meet with M. Huebner, F.
                                                     Bivens, and A. Lutchen regarding settlement materials (0.9);
                                                     meet with F. Bivens and A. Lutchen regarding settlement
                                                     materials (1.1); revise settlement presentation (2.4); confer
                                                     with D. Rubin regarding public interest module (0.2); review
                                                     and summarize briefings in related case to inform litigation
                                                     strategy (3.7); analyze legal issues related to preliminary
                                                     Injunction in advance of hearing (2.8).
McCarthy, Gerard            09/26/19           9.8   Teleconference with M. Tobak regarding reply brief (0.5);
                                                     discussion with K. Benedict regarding oral argument
                                                     preparation (0.7); teleconference with M. Tobak regarding
                                                     Ohio amicus brief supreme court, progress of deposition (0.2);
                                                     review Ohio amicus brief (0.6); correspondence with J. Adams
                                                     regarding same; (0.1); correspondence with L. Cohan
                                                     regarding Kentucky action (0.1); teleconference with office of
                                                     West Virginia secretary of state regarding service (0.1);
                                                     conference with J. DelConte, B. Kaminetzky, others regarding
                                                     deposition (0.5); draft potential oral argument questions (2.2);
                                                     conference with M. Tobak, K. Benedict, A. Lutchen, others
                                                     regarding oral argument preparation (1.5); analyze potential
                                                     reply arguments (3.3).
McClammy, James I.          09/26/19           2.8   Review deposition transcript (1.6); review motion papers
                                                     regarding preparation for defense of deposition (1.2)
McMillian, Chautney         09/26/19           1.0   Attend meeting with Davis Polk oral argument team to discuss
R.                                                   preparation for oral argument (0.7); review draft papers
                                                     regarding contract termination (0.2); confer with litigation team
                                                     regarding same (0.1).
Rubin, Dylan S.             09/26/19           8.4   Confer with senior litigation team regarding oral argument
                                                     planning (1.5); review possible questions for argument (0.5);
                                                     correspondence with K. Benedict and Z. Levine regarding oral
                                                     argument logistics (0.3); draft and revise reply brief modules
                                                     (5.2); research regarding injunctive relief requirements (0.9).
Stefanik, Sean              09/26/19           4.2   Meeting with E. Townes regarding preliminary Injunction reply
                                                     brief (0.2); correspondence with S. Carvajal and E. Townes
                                                     regarding same (0.2); review case law and prior filings
                                                     regarding same (3.8)
Tobak, Marc J.              09/26/19           5.8   Conferences and correspondence with Ad Hoc Committee
                                                     regarding adversary proceeding (1.3); conference with G.
                                                     McCarthy, K. Benedict, A. Lutchen, G. Cardillo, D. Rubin
                                                     regarding reply, oral argument planning (1.5); conference with
                                                     B. Kaminetzky, G. McCarthy, J. DelConte regarding deposition
                                                     (0.5); review J. DelConte deposition transcript (0.6);
                                                     conference with M. Huebner regarding reply (0.1);
                                                     conferences with G. McCarthy regarding reply (0.6); reply
                                                     argument planning (0.6); conference with K. Benedict
                                                     regarding automatic stay (0.3); correspondence with Dechert
                                                     regarding opioid litigation stay issues (0.1); conference with B.
                                                     Kaminetzky regarding reply (0.1); conference with G.
                                                     McCarthy regarding deposition (0.1).
Townes, Esther C.           09/26/19           7.8   Draft Preliminary Injunction related party reply (5.8); attend
                                                     conference with S. Stefanik regarding same (0.3);
                                                     correspondence with M. Tobak and team regarding
                                                     Preliminary Injunction adversary defendants (0.2); review of
                                                     Exhibits A and B regarding same (0.5); correspondence with
                                                       25
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 39 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     T. Horley regarding Creditors' Committee appointments (0.2);
                                                     review relevant docket regarding retention application (0.6);
                                                     review summary email regarding same (0.2)
Young, Ryan                 09/26/19           1.6   Print and deliver copies of declaration in support for deposition
                                                     as per T. Horley (0.4); prepare portfolio of cases and
                                                     authorities cited in Preliminary Injunction Brief as per G.
                                                     Cardillo (0.3); retrieve cases and docket entry and prepare
                                                     portfolio as per D. Mazer (0.9).
Benedict, Kathryn S.        09/27/19          10.0   Review draft audited financial as per M. Huebner (0.8);
                                                     discussion of same with C. Robertson, M. Tobak, and G.
                                                     McCarthy (0.4); distribute login credentials for Preliminary
                                                     Injunction data repository to various requesting parties
                                                     (including various Attorneys General) (0.6); correspondence
                                                     with M. Tobak, G. McCarthy, and T. Horley regarding
                                                     depositions (0.4); conference with G. McCarthy regarding
                                                     depositions (0.2); correspondence with various Attorneys
                                                     General, M. Tobak, G. McCarthy, T. Horley, K. Boehm, R.
                                                     Young, and J. Chen regarding Preliminary Injunction
                                                     repository materials and access (1.2); update oral argument
                                                     materials as per M. Huebner (0.6); review deposition transcript
                                                     of J. DelConte (1.6); correspondence with A. Lutchen, C.
                                                     McMillian, S. Carvajal, D. Mazer, and K. Boehm regarding oral
                                                     argument preparation (0.4); review and revise oral argument
                                                     materials, in conjunction with A. Lutchen (2.1); confer with C.
                                                     McMillan regarding oral argument (0.2); call with G. Cardillo
                                                     regarding depositions (0.3); review recent objection papers
                                                     from Kentucky (0.7); discussion with G. McCarthy regarding
                                                     same (0.2); correspondence with J. McClammy and G.
                                                     McCarthy regarding same (0.3).
Boehm, Korey                09/27/19           3.8   Update research memorandum regarding preliminary
                                                     Injunction to incorporate comments of K. Benedict (0.6);
                                                     Research issues regarding preliminary Injunction and draft
                                                     summaries (3.2).
Cardillo, Garrett           09/27/19          12.6   Attend deposition of J. O'Connell and preparation, follow-up in
                                                     connection with same (9.2); emails with K. Benedict and G.
                                                     McCarthy regarding same (0.3); call with K. Benedict
                                                     regarding discovery issues (0.3); confer with M. Tobak
                                                     regarding confidentiality designations and other discovery
                                                     issues (0.2); correspond with B. Wasserman regarding legal
                                                     research on discovery issues (0.1); analyze J. O'Connell
                                                     rough transcript (2.0); draft Purdue update regarding J.
                                                     O'Connell deposition (0.4).
Chen, Johnny W.             09/27/19           0.7   Finalize production volume and complete transfer to discovery
                                                     repository for approved parties per K. Benedict.
Graulich, Timothy           09/27/19           0.7   Confidential call regarding litigation issues.
Hinton, Carla Nadine        09/27/19           1.2   EDiscovery follow-up tasks to circulate finalized document set
                                                     for production, per K. Benedict.
Horley, Tim                 09/27/19           5.1   Make final logistical and document preparations for J.
                                                     O'Connell deposition (0.7); attend J. O'Connell deposition,
                                                     take notes, monitor teleconference line, and handle logistical
                                                     arrangements (4.4).
Huebner, Marshall S.        09/27/19           1.5   Discussions and emails regarding depositions (0.6); emails
                                                     regarding Department of Justice issues and document
                                                     requests (0.5); confidential call regarding structure issues
                                                     (0.4).
Kaminetzky,                 09/27/19           9.4   Preparation for deposition (1.8); deposition (6.3); calls with M.
                                                       26
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                  Main Document
                                                  Pg 40 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Benjamin S.                                          Huebner regarding update and strategy (0.2); meeting with G.
                                                     McCarthy regarding Preliminary Injunction briefing and
                                                     strategy (0.2); call with K. Maclay regarding extension request
                                                     and background (0.3); email regarding data room access,
                                                     confidentiality, protective order, deposition transcript, litigation
                                                     and stay update, moot, settlement update, co-defendants and
                                                     Preliminary Injunction hearing (0.6).
Levine, Zachary             09/27/19           0.2   Emails with Davis Polk litigation team regarding suggestion of
                                                     bankruptcy issue.
Lutchen, Alexa B.           09/27/19           2.1   Revise strategy deck per M. Huebner (1.4); correspond with
                                                     D. Mazer regarding same (0.2); correspond with C. Robertson
                                                     regarding patent issues (0.4); teleconference with K. Benedict
                                                     regarding oral argument (0.1).
Mazer, Deborah S.           09/27/19           9.1   Analyze transcript and order related to investigations (1.7);
                                                     draft and revise settlement presentation (5.2); teleconference
                                                     with M. Huebner regarding same (0.1); correspondence and
                                                     call with A. Lutchen regarding strategy deck (0.2); draft
                                                     materials for oral argument for preliminary Injunction hearing
                                                     (1.9).
McCarthy, Gerard            09/27/19           7.3   Analyze reply, oral argument materials (3.8); revise litigation
                                                     summary (0.6); review summary of PJT Partners deposition
                                                     (0.3); correspondence with K. Benedict and G. Cardillo
                                                     regarding deposition follow-up (0.3); confer with D. Rubin
                                                     regarding Reply brief next steps (0.3); teleconference with
                                                     counsel to distributor in Kentucky state court action (0.1);
                                                     correspondence with Dechert regarding same (0.1); review
                                                     materials regarding same (0.7); draft summary of proposed
                                                     approach for J. McClammy (0.9); conference with K. Benedict
                                                     regarding depositions (0.2).
McClammy, James I.          09/27/19           6.2   Review deposition preparation materials (1.7); listen to and
                                                     defend J. O'Connell deposition (4.5).
McMillian, Chautney         09/27/19           2.0   Draft papers in preparation for oral arguments on the
R.                                                   preliminary Injunction (1.8); confer with K. Benedict regarding
                                                     same (0.2).
Rubin, Dylan S.             09/27/19           6.8   Confer with G. McCarthy regarding reply brief planning (0.3);
                                                     draft and revise reply brief modules (4.4); research regarding
                                                     injunctive relief standard and cases (1.3); correspond with B.
                                                     Wasserman regarding injunctive relief research (0.2); review
                                                     deposition transcripts (0.6).
Stefanik, Sean              09/27/19           4.1   Research regarding preliminary Injunction reply brief.
Tobak, Marc J.              09/27/19           2.2   Correspondence and conferences with B. Kaminetzky, G.
                                                     Cardillo and T. Horley regarding J. O’Connell deposition (0.6);
                                                     conference with G. Cardillo regarding deposition follow-up
                                                     (0.2); correspondence with Dechert regarding service issues
                                                     (0.2) reply planning (0.3); correspondence with K. Benedict,
                                                     Massachusetts Attorney General regarding protective order
                                                     issues (0.3); correspondence with Massachusetts Attorney
                                                     General regarding discovery issues (0.4); correspondence
                                                     with G. McCarthy regarding reply (0.1); correspondence with
                                                     B. Kaminetzky regarding same (0.1).
Townes, Esther C.           09/27/19           6.5   Review J. DelConte deposition summary and transcript (0.5);
                                                     attend O'Connell deposition regarding Preliminary Injunction
                                                     reply via telephone (1.5); draft related party reply (2.5);
                                                     analysis of case law regarding same (1.1); attend telephone
                                                     conference with G. Cardillo regarding Rule 9018 (0.2); review
                                                     case law regarding Rule 9018 (0.7)
                                                       27
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 41 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Wasserman,                  09/27/19           1.2   Email with D. Rubin regarding legal research assignment to
Benjamin D.                                          prepare for preliminary injunction reply (0.2); prepare research
                                                     materials (1.0).

Young, Ryan                 09/27/19           3.9   Update portfolio of cases for Preliminary Injunction as per D.
                                                     Mazer (0.7); prepare binder of select Rhodes investigation
                                                     documents as per E. Kim (0.7); update Preliminary Injunction
                                                     repository spreadsheet with new entries as per K. Benedict
                                                     (0.5); draft list of positive quotes from Attorney General's
                                                     supporting settlement as per D. Mazer (1.7); print and deliver
                                                     document to deposition as per G. Cardillo (0.3).
Benedict, Kathryn S.        09/28/19          12.7   Telephone conference with J. McClammy and G. McCarthy
                                                     regarding the papers from Kentucky (0.3); telephone
                                                     conference with B. Kaminetzky, M. Tobak, J. McClammy and
                                                     G. McCarthy regarding same (0.3); correspondence with
                                                     counsel at Dechert regarding same (0.2); conferences with G.
                                                     McCarthy regarding same (0.8); correspondence with A.
                                                     Lutchen regarding oral argument preparations (0.2);
                                                     correspondence with G. McCarthy and G. Cardillo regarding
                                                     deposition transcript (0.2); correspondence with various
                                                     attorneys general and other defendants in Preliminary
                                                     Injunction proceeding regarding new materials in data
                                                     repository (0.3); correspondence with J. Chen regarding new
                                                     materials for data repository (0.2); review and revise oral
                                                     argument materials (6.1); review O'Connell deposition
                                                     transcript (3.3); confer with D. Rubin regarding oral argument
                                                     (0.1); correspondence with K. Boehm regarding oral argument
                                                     preparation (0.7).
Boehm, Korey                09/28/19          11.6   Research issues relating to preliminary Injunction and draft
                                                     summaries in preparation for oral argument.
Cardillo, Garrett           09/28/19           2.2   Analyze deposition transcripts for confidentiality designations
                                                     (1.7); emails with E. Townes, K. Benedict, M. Tobak regarding
                                                     same (0.5).
Chen, Johnny W.             09/28/19           0.7   Prepare and finalize fourth document production per K.
                                                     Benedict.
Hinton, Carla Nadine        09/28/19           0.5   EDiscovery tasks to circulate finalized document for
                                                     production, per K. Benedict.
Huebner, Marshall S.        09/28/19           1.8   Review of full O'Connell deposition transcript and emails
                                                     regarding same and second day hearing.
Kaminetzky,                 09/28/19           1.1   Email and analysis regarding Kentucky action and strategy
Benjamin S.                                          (0.2); call with M. Huebner regarding update and strategy
                                                     (0.2); email and analysis regarding preliminary Injunction
                                                     strategy and tasks (0.4); conference call with G. McCarthy, M.
                                                     Tobak and J. McClammy regarding deposition follow-up,
                                                     update and tasks (0.3).
Lutchen, Alexa B.           09/28/19           1.2   Review materials for oral argument preparation (1.1);
                                                     correspondence with K. Benedict and D. Mazer regarding
                                                     same (0.1).
Mazer, Deborah S.           09/28/19           3.8   Draft materials for oral argument for preliminary Injunction
                                                     hearing.
McCarthy, Gerard            09/28/19           5.6   Teleconference with J. McClammy, K. Benedict regarding
                                                     Kentucky action (0.3); correspondence with Dechert team
                                                     regarding same (0.7); correspondence with Sackler family
                                                     counsel regarding same (0.2); review J. DelConte deposition
                                                     transcript (3.5); teleconference with B. Kaminetzky, J.
                                                     McClammy, M. Tobak, K. Benedict regarding Kentucky action,
                                                       28
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 42 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     preliminary Injunction work streams (0.3); prepare for
                                                     preliminary Injunction reply, oral argument (0.6).
McClammy, James I.          09/28/19           1.0   Emails regarding Kentucky litigation (0.4); telephone
                                                     conference with G. McCarthy and K. Benedict regarding
                                                     Kentucky litigation (0.3); telephone conference B. Kaminetzky
                                                     and others regarding Kentucky litigation issues (0.3).
Rubin, Dylan S.             09/28/19           5.2   Draft and revise reply brief modules (4.1); revise questions
                                                     and answers for oral argument (1.0); confer with K. Benedict
                                                     regarding same (0.1).
Stefanik, Sean              09/28/19           0.3   Correspondence with E. Townes regarding preliminary
                                                     Injunction reply brief.
Tobak, Marc J.              09/28/19           0.7   Conference with B. Kaminetzky, J. McClammy, G. McCarthy,
                                                     K. Benedict regarding Kentucky litigation (0.3);
                                                     correspondence regarding Reply brief (0.2); correspondence
                                                     with K. Benedict regarding document production (0.2).
Townes, Esther C.           09/28/19           6.7   Review case law regarding Section 107 and Rule 9018 (3.8);
                                                     apply redactions to J. DelConte deposition transcript (0.3);
                                                     analysis regarding related party reply (1.9); email with S.
                                                     Stefanik regarding same (0.1); review J. DelConte deposition
                                                     transcript (0.6).
Benedict, Kathryn S.        09/29/19          12.8   Review and revise confidentiality designations in deposition
                                                     transcripts (1.8); correspondence with M. Tobak, G. McCarthy,
                                                     G. Cardillo, and E. Townes regarding designations in
                                                     deposition transcripts (1.3); review and revise oral argument
                                                     materials (4.9); correspondence with E. Vonnegut and others
                                                     regarding potential breach of automatic stay (0.4); telephone
                                                     conference with M. Tobak regarding potential breach of
                                                     automatic stay (0.2); correspondence with M. Tobak regarding
                                                     protective order (0.1); review and revise letter regarding
                                                     potential breach of automatic stay (1.8); confer with C.
                                                     McMillian regarding potential breach of automatic stay (0.3);
                                                     correspondence with G. Cardillo and AlixPartners regarding
                                                     materials for data repository (0.4); correspondence with G.
                                                     McCarthy and others regarding new state action (0.6);
                                                     correspondence with K. Boehm and Z. Levine regarding day-
                                                     before preparations and arrangements for oral argument (0.4);
                                                     correspondence with C. Hinton and J. Chen team regarding
                                                     Preliminary Injunction data repository (0.6).
Boehm, Korey                09/29/19          10.6   Research issues regarding preliminary Injunction (8.0); and
                                                     prepare summaries for oral argument (2.6).
Cardillo, Garrett           09/29/19           7.6   Analyze deposition transcripts for confidentiality designations
                                                     (4.1); correspondence with K. Benedict regarding same and
                                                     next steps (0.4); telephone call with M. Huebner, B.
                                                     Kaminetzky, E. Vonnegut, G. McCarthy, M. Tobak, J.
                                                     McClammy, and T. Graulich regarding case next steps (0.8);
                                                     emails with PJT team, E. Townes, and K. Benedict regarding
                                                     deposition designations (0.6); draft tough questions and
                                                     answers for preliminary Injunction hearing (1.5); confer with D.
                                                     Rubin regarding Reply brief (0.2).
Chen, Johnny W.             09/29/19           2.5   Prepare preliminary version of fifth document production per
                                                     K. Benedict (1.2); support and follow-up with K. Benedict
                                                     regarding revisions to document production and confidentiality
                                                     designations (1.3).
Graulich, Timothy           09/29/19           1.0   Call with litigation team regarding status and next steps (0.8);
                                                     prepare for same (0.2).
Hinton, Carla Nadine        09/29/19           0.7   EDiscovery tasks to circulate finalized documents for
                                                       29
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 43 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     production, per K. Benedict.
Huebner, Marshall S.        09/29/19           4.8   Complete review of 400-page deposition transcript and
                                                     objection to wages motion (2.3); outline responsive points
                                                     (0.7); calls and conference calls with Davis Polk team and
                                                     clients regarding developing strategy and calendar for both
                                                     contested hearings (1.8).
Kaminetzky,                 09/29/19           3.9   Review and analysis of deposition testimony (1.5); conference
Benjamin S.                                          call with M. Huebner, E. Vonnegut, T. Graulich, M. Tobak, G.
                                                     Cardillo and G. McCarthy regarding update, strategy and
                                                     tasks (0.8); correspondence with F. Bivens regarding update
                                                     and litigation strategy and tasks (0.4); call with M. Huebner
                                                     regarding update (0.1); email regarding additional document
                                                     requests, confidentiality designations, second day hearing,
                                                     supplemental testimony, depositions follow-up items,
                                                     extensions, new Kentucky action, hearing logistics, settlement
                                                     meeting, press update, tasks and strategy (1.1).
Mazer, Deborah S.           09/29/19           1.6   Draft materials for oral argument for preliminary Injunction
                                                     hearing.
McCarthy, Gerard            09/29/19           9.3   Teleconference with M. Huebner, B. Kaminetzky, J.
                                                     McClammy, M. Tobak, G. Cardillo and others regarding
                                                     strategy, preliminary Injunction preparation (0.8); prepare for
                                                     same (0.2); review J. DelConte deposition transcript (1.5);
                                                     review J. O'Connell deposition transcript (2.7); draft
                                                     preliminary Injunction reply brief (2.9); perform research
                                                     regarding same (0.8); teleconference with M. Tobak regarding
                                                     status of work streams (0.4).
McClammy, James I.          09/29/19           2.7   Review stay, TRO filings from Kentucky (0.7); telephone
                                                     conference with Purdue and Sackler family counsel regarding
                                                     Kentucky action (0.5); emails internally regarding Kentucky
                                                     action (0.2); review documents for production (0.3); telephone
                                                     conference with M. Huebner, B. Kaminetzky and others
                                                     regarding status, next steps (0.8); prepare for same (0.2).
McMillian, Chautney         09/29/19           1.2   Draft letter related to contract termination (1.0); confer with K.
R.                                                   Benedict regarding same (0.2).
Rubin, Dylan S.             09/29/19           2.2   Draft and revise reply brief modules (1.9); confer with G.
                                                     Cardillo regarding same (0.3).
Stefanik, Sean              09/29/19           5.9   Revise draft of reply brief (5.7); correspondence with T. Horley
                                                     regarding same (0.2).
Tobak, Marc J.              09/29/19           3.0   Review supplemental production (0.3); call with M. Huebner,
                                                     B. Kaminetzky, T. Graulich, E. Vonnegut, J. McClammy, G.
                                                     McCarthy, G. Cardillo regarding preliminary Injunction
                                                     litigation, second day hearing (0.8); correspondence with B.
                                                     Kaminetzky, G. McCarthy regarding Preliminary Injunction
                                                     reply planning (0.2); conference with Dechert, J. McClammy,
                                                     Debevoise, JHA, Milbank regarding Kentucky action (0.7);
                                                     correspondence with B. Kaminetzky regarding same (0.2);
                                                     conference with K. Benedict and G. Cardillo regarding
                                                     discovery (0.2); correspondence with K. Benedict regarding
                                                     protective order; conference with K. Benedict regarding
                                                     potential automatic stay breach (0.2); conference with G.
                                                     McCarthy regarding reply (0.4).
Townes, Esther C.           09/29/19           7.0   Review J. DelConte deposition transcript (1.3); review and
                                                     redact O'Connell declaration (3.2); review case law regarding
                                                     related party Injunction (2.0); draft reply regarding same (0.5).
Vonnegut, Eli J.            09/29/19           0.8   Call with Davis Polk team regarding planning for Preliminary
                                                     Injunction.
                                                       30
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 44 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Benedict, Kathryn S.        09/30/19          10.3   Review and revise oral argument materials (6.3);
                                                     correspondence with A. Lutchen, G. Cardillo, S. Stefanik, C.
                                                     McMillian, K. Boehm, E. Townes, D. Mazer, and S. Carvajal
                                                     regarding oral argument preparation (0.6); correspondence
                                                     with J. Chen, C. Hinton, and various attorneys general
                                                     regarding access to Preliminary Injunction data repository
                                                     (0.6); correspondence with G. McCarthy regarding Preliminary
                                                     Injunction work streams (0.7); correspondence with R. Aleali
                                                     regarding designations of transcripts (0.4); telephone
                                                     conference with Chambers regarding preliminary Injunction
                                                     (0.1); telephone conference with G. Cardillo and PJT
                                                     regarding Preliminary Injunction work streams (0.4);
                                                     conference with G. Cardillo regarding oral argument (0.3);
                                                     correspondence with J. McClammy, G. McCarthy, G. Cardillo,
                                                     and E. Townes regarding designations of transcripts (0.8);
                                                     review materials for uploading to Preliminary Injunction data
                                                     repository (0.1).
Boehm, Korey                09/30/19           8.8   Research issues relating to preliminary Injunction and draft
                                                     summaries in preparation for oral argument.
Cardillo, Garrett           09/30/19           9.6   Draft oral argument preparation materials (2.3); call with K.
                                                     Boehm regarding deposition errata (0.1); call with S. Carvajal
                                                     regarding deposition errata (0.1); call with S. Stefanik
                                                     regarding draft reply brief sections (0.3); email with PJT
                                                     Partners regarding depositions (0.1); call with J. Turner (PJT)
                                                     regarding preliminary Injunction hearing, other matters (0.6);
                                                     revise reply brief in support of preliminary Injunction motion
                                                     (5.8); conference with K. Benedict regarding oral argument
                                                     (0.3).
Chen, Johnny W.             09/30/19           3.2   Prepare and finalize revised fifth document production and
                                                     complete transfer to discovery repository per K. Benedict
                                                     (1.5); complete secure transfer of AlixPartner decks to Bates
                                                     White experts per N. Williams (0.3); perform searches for
                                                     documents in Department of Justice and Investigations
                                                     database and prepare PDF files of results for review per N.
                                                     Williams (1.4).
Hinton, Carla Nadine        09/30/19           2.4   EDiscovery tasks to circulate finalized documents for
                                                     production, per K. Benedict (1.5); eDiscovery communications
                                                     regarding documents to circulate via Clientshare, per N.
                                                     Williams (0.9).
Lutchen, Alexa B.           09/30/19           0.5   Review communications related to automatic stay application
                                                     (0.3); draft email to F. Bivens regarding same (0.2).
Mazer, Deborah S.           09/30/19           9.7   Draft materials for preliminary Injunction hearing.
McCarthy, Gerard            09/30/19           8.8   Teleconference with C. Landau counsel regarding Preliminary
                                                     Injunction Motion (0.5); correspondence with B. Kaminetzky,
                                                     M. Tobak and others regarding same (0.1); teleconference
                                                     with C. Duggan regarding J. DelConte deposition designations
                                                     (0.1); correspondence with M. Kesselman regarding
                                                     Preliminary Injunction Motion (0.1); correspondence with H.
                                                     Coleman regarding preliminary Injunction declaration (0.1);
                                                     correspondence with opposing counsel (S. Masson) regarding
                                                     protective order (0.1); review, comment on demand letter
                                                     response (0.3); correspondence with E. Vonnegut and C.
                                                     Robertson regarding J. Lowne questions (0.1);
                                                     correspondence with K. Benedict regarding deposition
                                                     designations (0.3); correspondence with Dechert regarding
                                                     Tucson action (0.1); analyze and draft reply arguments (7.0).
                                                       31
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 45 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours    Narrative
McClammy, James I.          09/30/19            1.8   Emails regarding confidentiality issues (0.2); review deposition
                                                      transcripts and designations (1.4); review comment regarding
                                                      stay violation letter (0.2).
McMillian, Chautney         09/30/19            5.9   Draft papers in preparation for oral arguments on the
R.                                                    preliminary Injunction (5.6); correspond with K. Benedict
                                                      regarding same (0.3).
Robertson,                  09/30/19            0.4   Review emails relating litigation matter.
Christopher
Stefanik, Sean              09/30/19            3.1   Review portions of reply brief (0.3); research case law related
                                                      to preliminary Injunction (1.7); prepare preliminary Injunction
                                                      oral argument materials (0.8) call with G. Cardillo regarding
                                                      reply brief (0.3).
Townes, Esther C.           09/30/19            9.6   Draft related party reply (1.0); correspond with S. Stefanik and
                                                      team regarding same (0.2); draft list of questions for oral
                                                      argument regarding same (1.5); review case law regarding
                                                      same (5.8); telephone conference with S. DiMola regarding
                                                      notice of designation (0.2); email correspondence with K.
                                                      Benedict regarding same (0.3); email correspondence with
                                                      Veritext regarding same (0.3); review case law regarding core
                                                      principles of bankruptcy (0.3).
Wasserman,                  09/30/19            2.5   Legal research for D. Rubin for preliminary injunction reply.
Benjamin D.
Young, Ryan                 09/30/19            6.6   Update case files with sorted TPP, Notice of Automatic Stay,
                                                      and hospital complaints from exhibit C.
Total PURD105 Automatic                     1,364.2
Stay/Preliminary
Injunction/Litigation/DOJ

PURD110 Bar Date/Estimation/Claims Allowance Issues
DiMarco, Nicholas    09/16/19            2.4 Conference with B. Workman regarding memorandum (0.2);
                                               revise citations in memorandum for A. Lutchen (1.2);
                                               substantively review and revise memorandum for A. Lutchen
                                               (1.0).
Knudson, Jacquelyn   09/16/19            7.4 Conference with J. McClammy and E. Townes regarding bar
Swanner                                        date motion and claims resolution process (0.4); email
                                               correspondence with J. McClammy, B. Kaminetzky, T.
                                               Graulich, E. Vonnegut, F. Bivens, M. Tobak, G. McCarthy, and
                                               A. Lutchen regarding same (0.3); review revisions from H.
                                               Freiwald and B. Wolff to supplemental notice plan declaration
                                               (1.6); email correspondence with H. Freiwald, B. Wolff, C.
                                               Ricarte, J. McClammy, and E. Townes regarding same (0.5);
                                               email correspondence with J. McClammy, E. Townes, Prime
                                               Clerk, and J. Finegan regarding same (0.4); email
                                               correspondence with C. MacDonald, J. McClammy, E.
                                               Townes, C. Ricarte, and Prime Clerk regarding notice service
                                               information (0.7); email correspondence with J. Jimenez and
                                               C. Ricarte regarding notice service information (0.2); review
                                               complaints to prepare claims chart for claims resolution
                                               process (2.1); prepare claims chart for claims resolution
                                               process discussion (1.2).
Lutchen, Alexa B.    09/16/19            5.2 Draft and revise memorandum regarding claims analysis (4.8);
                                               correspond with claims team regarding same (0.3); call with D.
                                               Peck regarding same (0.1).
McClammy, James I.   09/16/19            1.3 Review bar date motion drafts (0.4); conference with E.
                                               Townes and J. Knudson regarding same (0.4); conference
                                                        32
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 46 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     with J. Knudson and E. Townes regarding bar date motion and
                                                     claims resolution process (0.5).
Peck, Dan                   09/16/19           4.4   Analyze legal landscape for claims objections process (3.0);
                                                     review memorandum regarding same (0.8); correspondence
                                                     with A. Lutchen regarding same (0.5); telephone conference
                                                     with A. Lutchen regarding same (0.1).
Stefanik, Sean              09/16/19           6.3   Review and revise memoranda regarding claims allowance
                                                     issues (4.5); review case law regarding same (1.4);
                                                     correspondence with A. Lutchen, B. Workman, and D. Peck
                                                     regarding same (0.4).
Townes, Esther C.           09/16/19           1.0   Attend conference with J. McClammy and J. Knudson
                                                     regarding bar date notice papers and claims (0.4); review of
                                                     pending actions list regarding same (0.2); review complaints
                                                     for chart on nature of claims (0.2); attend conference with J.
                                                     Knudson regarding same (0.2).
Workman, Brett J.           09/16/19           0.6   Review memorandum regarding legal precedent (0.4);
                                                     conference with N. DiMarco regarding same (0.2).
DiMarco, Nicholas           09/17/19           0.6   Conduct research for A. Lutchen regarding potential claims.
Knudson, Jacquelyn          09/17/19           9.2   Review complaints to update claims resolution process chart
Swanner                                              (3.1); update claims resolution process chart (2.7); email
                                                     correspondence with H. Freiwald, B. Wolff, C. Ricarte, J.
                                                     McClammy, and E. Townes regarding supplemental notice
                                                     plan declaration (0.4); email correspondence with Prime Clerk,
                                                     J. McClammy, and E. Townes regarding same (0.1); email
                                                     correspondence with C. MacDonald, C. Ricarte, J. Jimenez, J.
                                                     McClammy, E. Townes, and Prime Clerk regarding notice
                                                     (0.2); update bar date motion based on supplemental notice
                                                     plan revisions (0.6); conference with E. Townes regarding
                                                     claims resolution procedures chart (0.5); review channeling
                                                     Injunction legal memorandum (1.6).
Lutchen, Alexa B.           09/17/19           0.7   Review research regarding potential claims (0.5); email
                                                     communications with S. Stefanik and N. DiMarco regarding
                                                     same (0.2).
Stefanik, Sean              09/17/19           4.8   Case law research regarding claims allowance issues (2.8);
                                                     review and revise memorandum regarding same (1.6);
                                                     correspondence with A. Lutchen and others regarding same
                                                     (0.4).
Townes, Esther C.           09/17/19           2.1   Gather representative complaints for nature of claims chart
                                                     (0.8); attend conference with J. Knudson regarding same
                                                     (0.5); analyze claims resolution memorandum (0.8).
Workman, Brett J.           09/17/19           0.4   Review email correspondence from Davis Polk team regarding
                                                     case developments.
Bivens, Frances E.          09/18/19           2.5   Review and comment on memorandum regarding litigation
                                                     issues (2.0); confer with A. Lutchen regarding claims litigation
                                                     strategy (0.5).
DiMarco, Nicholas           09/18/19           6.0   Conduct potential claims research regarding potential claims
                                                     for A. Lutchen (3.0); review and compile materials for F.
                                                     Bivens (0.3); review and compile expert reports and related
                                                     materials for A. Lutchen (2.7).
Knudson, Jacquelyn          09/18/19          11.7   Review complaints for claims chart (2.2); update and revise
Swanner                                              claims chart (3.2); research on channeling Injunction
                                                     requirements (2.1); telephone conference with J. McClammy
                                                     and creditor constituents (0.3); conference with J. McClammy
                                                     regarding claims chart and channeling Injunction research
                                                     (0.3); conference with E. Townes regarding claims chart and
                                                     call with J. McClammy and creditor constituents (0.3);
                                                       33
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 47 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     correspondence with C. Robertson regarding insurance (0.4);
                                                     correspondence with Z. Levine regarding same (0.3); review
                                                     insurance motion (1.1); email correspondence with
                                                     AlixPartners, J. McClammy, and E. Townes regarding
                                                     insurance (0.7); email correspondence with J. McClammy and
                                                     E. Townes regarding same (0.8).
Lutchen, Alexa B.           09/18/19           4.9   Review multi-district litigation filings (3.1); communications
                                                     with N. DiMarco regarding Daubert filings (0.3); conference
                                                     with F. Bivens regarding claims process (0.5).
McClammy, James I.          09/18/19           2.6   Telephone conference D. Creador, J. Knudson and others
                                                     regarding Notice of Automatic Stay claims (0.3); review
                                                     precedent plan, claim memorandums regarding resolution
                                                     strategy (2.3).
Peck, Dan                   09/18/19           1.4   Analyze legal landscape for claims objections process.
Townes, Esther C.           09/18/19           1.8   Analyze memorandum on claims resolution process (0.8);
                                                     analyze nature of claims in pending actions (0.7); conference
                                                     with E. Townes regarding claims chart and channeling
                                                     injunction research (0.3).
Workman, Brett J.           09/18/19           0.2   Email correspondence with Davis Polk team regarding
                                                     Daubert motions.
Bivens, Frances E.          09/19/19           2.0   Conference with T. McClammy, T. Graulich, G. McCarthy and
                                                     J. Knudson regarding Claims Resolution Process.
DiMarco, Nicholas           09/19/19           5.2   Review and compile expert materials for A. Lutchen, F. Bivens
                                                     (1.6); call with B. Workman regarding expert materials (0.1);
                                                     conduct research regarding potential claims for A. Lutchen
                                                     (2.9); summarize research findings potential claims (0.6).
Knudson, Jacquelyn          09/19/19           9.0   Review claims chart for claims resolution process meeting
Swanner                                              (1.7); email correspondence with J. McClammy regarding
                                                     claims meeting (0.3); conference with J. McClammy, B.
                                                     Kaminetzky, F. Bivens, T. Graulich, G. McCarthy, A. Lutchen,
                                                     and E. Townes regarding claims allowance (1.4); review
                                                     insurance policies (2.9); email correspondence with
                                                     AlixPartners, J. McClammy, and E. Townes regarding same
                                                     (0.4); email correspondence with S. Weiner, J. McClammy,
                                                     and E. Townes regarding supplemental notice plan (0.9);
                                                     review prior chapter 11 plans (1.4).
Lutchen, Alexa B.           09/19/19           4.6   Conference with B. Kaminetzky, F. Bivens, J. McClammy, T.
                                                     Graulich, G. McCarthy, and J. Knudson regarding litigation
                                                     strategy (1.4); review of multi-district litigation filings (0.9);
                                                     review of strategy outline (2.0); communications with N.
                                                     DiMarco regarding Daubert motions (0.1); review same (0.2).
McClammy, James I.          09/19/19           3.6   Outline regarding claims resolution issues and strategy (2.2);
                                                     conference B. Kaminetzky, F. Bivens and others regarding
                                                     claims resolution issues (1.4).
Townes, Esther C.           09/19/19           1.4   Attend conference with B. Kaminetzky, J. McClammy, and
                                                     team regarding claims resolution process.
Workman, Brett J.           09/19/19           0.6   Email correspondence with Davis Polk team regarding
                                                     Daubert motions (0.5); telephone conference with N. DiMarco
                                                     regarding review and compilation of expert reports (0.1).
Bivens, Frances E.          09/20/19           2.0   Work with J. McClammy and A. Lutchen on presentation to
                                                     Purdue on litigation strategy.
DiMarco, Nicholas           09/20/19           3.2   Review and compile expert materials for A. Lutchen and F.
                                                     Bivens (0.3); conduct research for A. Lutchen (2.9).
Knudson, Jacquelyn          09/20/19           8.2   Revise proof of claim forms (1.1); email correspondence with
Swanner                                              Prime Clerk, J. McClammy, and E. Townes regarding same
                                                     (0.2); telephone correspondence with D. Consla regarding
                                                       34
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 48 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     schedules and bar date (0.1); email correspondence with B.
                                                     Kaminetzky, F. Bivens, J. McClammy, M. Tobak, G. McCarthy,
                                                     and A. Lutchen regarding strategy deck (0.4); revise
                                                     memorandum of law in support of bar date motion (1.1);
                                                     review insurance policies (3.2); summarize and analyze
                                                     insurance policies (2.1).
Lutchen, Alexa B.           09/20/19           2.1   Review new tort litigation decisions (0.5); communications with
                                                     N. DiMarco regarding same (0.1); update claims strategy
                                                     (1.1); review multi-district litigation filings (0.4).
McClammy, James I.          09/20/19           4.4   Telephone conference T. Graulich and N. Kajon regarding
                                                     Third Party Payor claims (0.4); telephone conference T.
                                                     Graulich, B. Weintraub regarding drug manufacturer claims
                                                     (0.5); review materials, memorandas, and research regarding
                                                     claims issues (3.5).
Stefanik, Sean              09/20/19           1.0   Review opioid litigation case law.
Tobak, Marc J.              09/20/19           1.2   Review research memorandum regarding estate claims issues
                                                     (0.8); correspondence with E. Vonnegut and K. Boehm
                                                     regarding same (0.4).
Workman, Brett J.           09/20/19           0.8   Review Massachusetts motion to dismiss opinion (0.5); review
                                                     email correspondence with Davis Polk team regarding
                                                     litigation strategy (0.2); review email correspondence with
                                                     Davis Polk team regarding Massachusetts motion to dismiss
                                                     (0.1).
Knudson, Jacquelyn          09/21/19           1.7   Review revised strategy deck (1.1); email correspondence
Swanner                                              with J. McClammy, G. McCarthy, and A. Lutchen regarding
                                                     revised strategy deck (0.6).
Lutchen, Alexa B.           09/21/19           0.4   Review claims strategy presentation (0.3); correspondence
                                                     with J. Knudson regarding same (0.1).
McClammy, James I.          09/21/19           5.8   Draft deck regarding claims resolution strategy considerations
                                                     (4.6); review claims memorandums (1.2).
Bivens, Frances E.          09/22/19           3.0   Review draft deck on litigation issues (0.7); call with Davis
                                                     Polk litigation team to prepare for Purdue meeting (0.8);
                                                     prepare for meeting (1.5).
Graulich, Timothy           09/22/19           1.3   Call with litigation team regarding claims and estimation
                                                     meeting (0.8); prepare for same (0.5).
Knudson, Jacquelyn          09/22/19           6.6   Review and revise litigation strategy presentation (5.2);
Swanner                                              telephone conference regarding litigation strategy presentation
                                                     with J. McClammy, B. Kaminetzky, F. Bivens, T. Graulich, M.
                                                     Tobak, G. McCarthy, and A. Lutchen (0.8); correspond with J.
                                                     McClammy and M. Tobak regarding same (0.3); telephone
                                                     conference with M. Tobak regarding revisions to litigation
                                                     strategy deck (0.3).
Lutchen, Alexa B.           09/22/19           1.5   Teleconference with B. Kaminetzky, T. Graulich, F. Bivens, J.
                                                     McClammy, M. Tobak, G. McCarthy and J. Knudson regarding
                                                     case strategy (0.8); review of multi-district litigation Daubert
                                                     filings (0.7).
McClammy, James I.          09/22/19           4.8   Review and revise claims strategy deck (1.3); telephone
                                                     conference with F. Bevins, B. Kaminetzky and others
                                                     regarding claims strategy issues (0.8); review research
                                                     regarding claims issues (2.7).
Bivens, Frances E.          09/23/19           4.5   Prepare for all team meeting (1.2); attend Davis Polk team
                                                     meeting regarding litigation strategy (2.5); discussion of work
                                                     plan for litigation with A. Lutchen and D. Mazer (0.8).
Graulich, Timothy           09/23/19           3.6   Meeting with M. Kesselman regarding communication and
                                                     claims process.
Knudson, Jacquelyn          09/23/19           8.0   Conference with J. McClammy regarding strategy deck (0.2);
                                                       35
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 49 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Swanner                                              revise strategy deck (4.5); conference with M. Kesselman, J.
                                                     Adams, B. Kaminetzky, T. Graulich, F. Bivens, J. McClammy,
                                                     M. Tobak, G. McCarthy, and A. Lutchen regarding strategy
                                                     (2.5); conference with E. Townes regarding bar date next
                                                     steps (0.4); telephone conference with M. Tobak regarding
                                                     strategy (0.1); email correspondence with J. McClammy, F.
                                                     Bivens, B. Kaminetzky, T. Graulich, M. Tobak, G. McCarthy,
                                                     and A. Lutchen regarding strategy next steps (0.3).
Lutchen, Alexa B.           09/23/19           5.0   Attend team meeting with F. Bivens, B. Kaminetzky, J.
                                                     McClammy, T. Graulich, M. Tobak, G. McCarthy and J.
                                                     Knudson regarding case strategy (2.5); attend conference with
                                                     Purdue with F. Bivens and D. Mazer regarding
                                                     communications strategy (0.8); teleconference with D. Mazer
                                                     regarding same (0.2); review multi-district litigation Daubert
                                                     filings (1.4); draft email to F. Bivens regarding same (0.1).
McClammy, James I.          09/23/19           5.9   Prepare for claims review meeting (0.2); meeting with M.
                                                     Kasselman, F. Bivens, B. Kaminetzky and others regarding
                                                     claims issues (2.5); review and revise draft motion papers
                                                     (3.0); conference with J. Knudson regarding strategy deck
                                                     (0.2).
Townes, Esther C.           09/23/19           0.7   Attend conference with J. Knudson regarding claims resolution
                                                     process (0.4); correspondence with J. McClammy and J.
                                                     Knudson regarding same (0.2); correspondence with Prime
                                                     Clerk regarding notice of adjournments and Rule 2019
                                                     statements (0.1).
Bivens, Frances E.          09/24/19           3.0   Call with J. McClammy regarding litigation plan (0.5); email
                                                     and discussion with A. Lutchen regarding patent cases (0.5);
                                                     develop litigation plan (1.1); meet with team regarding legal
                                                     research projects (0.9).
DiMarco, Nicholas           09/24/19           0.9   Attend team meeting with A. Lutchen and F. Bivens, to
                                                     discuss upcoming research project regarding potential claims.
Lutchen, Alexa B.           09/24/19           3.2   Teleconference with J. McClammy regarding claims process
                                                     (0.3); conference with F. Bivens regarding same (0.2);
                                                     conference with F. Bivens, S. Stefanik, D. Peck, N. DiMarco
                                                     and B. Workman regarding same (0.9); review complaints
                                                     regarding potential claimants (1.8).
McClammy, James I.          09/24/19           2.8   Review analysis of valuation issues (1.0); review Insys plan,
                                                     motions (0.2); review claims issues research (1.2).
Peck, Dan                   09/24/19           0.8   Join conference regarding claims estimation process.
Stefanik, Sean              09/24/19           1.0   Attend meeting with F. Bivens, A. Lutchen and others
                                                     regarding research projects (0.9); prepare for same (0.1).
Townes, Esther C.           09/24/19           0.5   Review potential claimant numbers in bar date memorandum
                                                     of law (0.3); correspondence with Prime Clerk regarding
                                                     creditor matrix for bar date notice (0.2).
Vonnegut, Eli J.            09/24/19           0.3   Work on claims reconciliation issues.
Workman, Brett J.           09/24/19           1.2   Conference with A. Lutchen, N. DiMarco, S. Stefanik, F.
                                                     Bivens, and D. Peck regarding litigation strategy (0.9); review
                                                     email correspondence from Davis Polk team regarding
                                                     proceeding updates (0.3).
Bivens, Frances E.          09/25/19           4.0   Review email and other materials (including prior caselaw)
                                                     regarding third party payor claims (2.0); attend meeting with
                                                     Davis Polk team regarding claims strategy (1.0); email with
                                                     Davis Polk team regarding patent issue (1.0).
DiMarco, Nicholas           09/25/19           2.5   Conference with A. Lutchen regarding new assignment (0.2);
                                                     review potential claims in subset of complaints for A. Lutchen
                                                     (1.1); prepare chart of potential claims (1.2).
                                                       36
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 50 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Lutchen, Alexa B.           09/25/19           2.5   Attend conference with B. Kaminetzky, J. McClammy, F.
                                                     Bivens, M. Tobak, G. McCarthy, K. Benedict and E. Townes
                                                     regarding case strategy (1.0); conference with M. Tobak, G.
                                                     McCarthy and K. Benedict regarding same (0.3);
                                                     correspondence with N. DiMarco regarding claims research
                                                     (0.2); teleconference with B. Workman regarding claims
                                                     research (0.2); research potential claims (0.8).
McClammy, James I.          09/25/19           1.4   Emails with Davis Polk team regarding creditor claim
                                                     information (0.6); attend conference with B. Kaminetzky, F.
                                                     Bivens, A. Lutchen and others regarding claims resolution
                                                     issues (0.8).
Tobak, Marc J.              09/25/19           1.0   Conference with B. Kaminetzky, F. Bivens, J. McClammy, G.
                                                     McCarthy, K. Benedict and A. Lutchen regarding claims
                                                     objection issues.
Townes, Esther C.           09/25/19           1.3   Meet with B. Kaminetzkty, J. McClammy and team regarding
                                                     claims resolution strategy (1.0); correspondence with J.
                                                     Knudson regarding same (0.1); correspondence with J.
                                                     McClammy and team regarding amended creditor matrix order
                                                     (0.1); review hearing transcript regarding same (0.1).
Workman, Brett J.           09/25/19           0.6   Telephone conference with A. Lutchen regarding personal
                                                     injury claims (0.2); review email correspondence from Davis
                                                     Polk team regarding proceeding updates (0.4).
Bivens, Frances E.          09/26/19           5.5   Call with A. Lutchen and D. Mazer regarding sell deck (1.0);
                                                     call with M. Huebner regarding same (0.5); call with Dechert
                                                     and Purdue regarding litigation updates and impact on
                                                     bankruptcy (1.0); internal calls and emails regarding same
                                                     (1.0); review materials related to litigation strategy (2.0).
D'Angelo, Nicholas          09/26/19           3.9   Meet with A. Lutchen to discuss scope of case (0.5); review
                                                     claims in subset of complaints (2.8); conduct research
                                                     regarding potential claims for A. Lutchen (0.6).
DiMarco, Nicholas           09/26/19           0.2   Conference with B. Workman regarding assignment.
Knudson, Jacquelyn          09/26/19           0.4   Review and respond to correspondence with J. McClammy, C.
Swanner                                              Holeman, and E. Townes regarding insurance and debtor
                                                     constituencies
Lutchen, Alexa B.           09/26/19           1.7   Strategy call with Purdue and Dechert with F. Bivens and J.
                                                     McClammy (0.8); conference with N. D'Angelo regarding case
                                                     strategy (0.5); review potential claims (0.4).
McClammy, James I.          09/26/19           3.6   Review research, precedent regarding claims estimation
                                                     issues (3.4); emails regarding non-governmental claims (0.2).
Townes, Esther C.           09/26/19           0.3   Correspondence with Prime Clerk regarding contact
                                                     information for bar date notice (0.1); review email regarding
                                                     indemnification potential claimants (0.2).
Workman, Brett J.           09/26/19           7.0   Review email correspondence from Davis Polk team regarding
                                                     proceeding updates (0.5); review case law regarding litigation
                                                     defense strategy (6.3); confer with N. DiMarco regarding
                                                     assignments (0.2).
Bivens, Frances E.          09/27/19           2.0   Call with J. McClammy, others and Dechert regarding litigation
                                                     strategy for bankruptcy claims (0.9); email and discussions
                                                     with team following up on points from the call (1.1).


D'Angelo, Nicholas          09/27/19           2.8   Conference with N. DiMarco regarding research into claims
                                                     (0.3); conduct research regarding potential claims for A.
                                                     Lutchen (2.5).
DiMarco, Nicholas           09/27/19           2.1   Correspond with A. Lutchen regarding research into claims
                                                     (0.2); conduct research into claims subset of complaints for A.
                                                       37
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 51 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours    Narrative
                                                      Lutchen (1.6); conference with N. D'Angelo regarding new
                                                      assignment (0.3).
Lutchen, Alexa B.           09/27/19            5.0   Review case law regarding potential litigation strategy (3.9);
                                                      attend telephone conference with A. Lutchen regarding
                                                      litigation strategy case law (0.3); review email correspondence
                                                      from Davis Polk team regarding proceeding updates (0.5);
                                                      email correspondence with A Lutchen regarding litigation
                                                      strategy (0.2).
McClammy, James I.          09/27/19            3.6   Review comment regarding bar date motion papers (0.8);
                                                      telephone conference with Davis Polk, Dechert teams
                                                      regarding claims resolution issues (0.9); review research
                                                      regarding potential claims, class claims (1.9).
Peck, Dan                   09/27/19            3.2   Analyze legal landscape regarding claims estimation
                                                      procedure (2.9); telephone conference with A. Lutchen
                                                      regarding same (0.3).
Townes, Esther C.           09/27/19            1.8   Attend telephone conference with F. Bivens, J. McClammy, A.
                                                      Lutchen and Dechert regarding claims resolution (0.9); email
                                                      correspondence with A. Lutchen regarding same (0.2); email
                                                      correspondence with legal assistant regarding private litigant
                                                      complaints (0.2); review state court complaints (0.4); email
                                                      correspondence with J. McClammy regarding bar date motion
                                                      (0.1); update bar date motion regarding potential claimants
                                                      numbers (0.2).
Workman, Brett J.           09/27/19            4.9   Review case law regarding potential litigation strategy (3.9);
                                                      attend telephone conference with A. Lutchen regarding
                                                      litigation strategy case law (0.3); review email correspondence
                                                      from Davis Polk team regarding proceeding updates (0.5);
                                                      email correspondence with A Lutchen regarding litigation
                                                      strategy (0.2).
Bivens, Frances E.          09/28/19            2.0   Review and consider revisions to advocacy deck in support of
                                                      the bankruptcy plan.
McClammy, James I.          09/28/19            2.5   Review non-governmental claims, analysis.
Bivens, Frances E.          09/29/19            0.5   Call with B. Kaminetzky regarding Preliminary Injunction
                                                      planning.
DiMarco, Nicholas           09/29/19            1.5   Conduct research into potential claims in subset of complaints
                                                      for A. Lutchen.
Graulich, Timothy           09/29/19            0.5   Call with J. McClammy regarding claim issues.
Lutchen, Alexa B.           09/29/19            0.5   Research regarding potential claims.
D'Angelo, Nicholas          09/30/19            3.3   Conduct claims research regarding potential claims for A.
                                                      Lutchen (1.6); draft memorandum compiling research (1.7).
DiMarco, Nicholas           09/30/19            1.7   Conduct research into potential claims in subset of complaints
                                                      for A. Lutchen.
Lutchen, Alexa B.           09/30/19            1.7   Review research regarding potential claims.
McClammy, James I.          09/30/19            1.6   Research regarding non-government claims issues.
Peck, Dan                   09/30/19            2.2   Analyse legal landscape regarding claims estimation
                                                      procedure.
Townes, Esther C.           09/30/19            0.2   Email correspondence with R. Young regarding complaints for
                                                      claims resolution process (0.1); telephone conference with R.
                                                      Young regarding same (0.1).
Total PURD110 Bar                             272.8
Date/Estimation/Claims
Allowance Issues

PURD115 Corporate Governance, Board Matters and Communications
Diggs, Elizabeth R. 09/16/19            2.5 Conference with D. Zhang regarding governance documents
                                                        38
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 52 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     (0.3); meet with A. Lele and D. Zhang regarding same (0.7);
                                                     emails with D. Zhang and A. Lee regarding same (0.7); emails
                                                     with E. Vonnegut regarding employee/officer lists (0.4); email
                                                     with E. Vonnegut, D. Zhang and A. Lele regarding Purdue
                                                     Pharma Inc. officer lists (0.4).
Huebner, Marshall S.        09/16/19           3.6   Dozens of calls and emails with clients and Teneo regarding
                                                     print and television coverage and proposed responses to
                                                     same (2.8); calls with multiple board members regarding
                                                     hearing and verification (0.8).
Lele, Ajay B.               09/16/19           2.5   Review emails from R. Aleali regarding bankruptcy filing
                                                     matters (0.7); revise tasks checklist (0.5); conference with D.
                                                     Zhang and E. Diggs regarding governance documents (0.7);
                                                     drafts comments on hearing preparation materials for Z.
                                                     Levine (0.3); emails to E. Vonnegut regarding employee and
                                                     officer questions (0.3).
Diggs, Elizabeth R.         09/17/19           5.7   Call with D. Zhang regarding governance documents and
                                                     related issues (0.8); email with D. Zhang regarding same
                                                     (1.2); review and revise governance documents, including
                                                     Purdue Pharma Inc. and subsidiary Board resolutions and
                                                     consents (3.6).
Huebner, Marshall S.        09/17/19           2.2   Communications with Board and clients regarding all aspects
                                                     of hearing and court rulings (1.3); emails and calls regarding
                                                     multiple media inquiries regarding First Day hearing and
                                                     scope of orders entered. (0.9).
Lele, Ajay B.               09/17/19           0.5   Conference with D. Bauer and D. Forester regarding patent
                                                     issues (0.3); emails to D. Bauer and D. Forester regarding
                                                     same (0.2).
Consla, Dylan A.            09/18/19           0.4   Correspond with R. Posner and rest of Teneo team regarding
                                                     wages order issues.
Diggs, Elizabeth R.         09/18/19           1.3   Review and revise governance documents, including Purdue
                                                     Pharma Inc. and subsidiary Board resolutions and consents.
Huebner, Marshall S.        09/18/19           4.5   Calls with multiple Board members regarding governance
                                                     issues, First Day hearing and next steps (1.3); multiple
                                                     discussions and emails with W. Taylor and A. Lele and
                                                     document review regarding governance structure (2.4); calls
                                                     and emails regarding governance issues and pitch deck
                                                     construction (0.8).
Lele, Ajay B.               09/18/19           4.5   Emails to D. Bauer regarding subsidiary patent assignment
                                                     agreement (0.2); call with M. Huebner and W. Taylor
                                                     regarding governance matters (0.4); calls with M. Huebner
                                                     regarding governance update (0.3); draft initial draft of side
                                                     letter (3.6).
Taylor, William L.          09/18/19           0.7   Telephone call with M. Huebner and A. Lele regarding voting
                                                     issues (0.4); consider issues relating to Suave (0.3).
Diggs, Elizabeth R.         09/19/19           2.1   Revise and review governance documents (0.6); emails with
                                                     D. Zhang regarding same (1.5).
Huebner, Marshall S.        09/19/19           5.1   Prepare for and meet with A side trustees and protectors (3.1);
                                                     calls with Sackler family counsel regarding multiple questions
                                                     and issues (0.9); discussions with multiple Board members
                                                     and management regarding governance and chapter 11
                                                     matters and inquiries (1.1).
Lele, Ajay B.               09/19/19           5.2   Review mergers and acquisitions checklist (0.3); draft
                                                     revisions to side letter regarding governance (4.1);
                                                     correspondence with E. Diggs and W. Taylor regarding
                                                     governance (0.2); conference call with D. Bauer regarding
                                                     development agreement (0.2); review development agreement
                                                       39
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 53 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     (0.4).
Taylor, William L.          09/19/19           2.7   Review and revise corporate governance (2.5); discussions
                                                     with A. Lele regarding same (0.2).
Diggs, Elizabeth R.         09/20/19           0.3   Research corporate governance question under New York
                                                     Law.
Huebner, Marshall S.        09/20/19           0.8   Multiple discussions with clients and Davis Polk team
                                                     regarding wide array of employee matters, including retention
                                                     issues, benefits, final order issues.
Huebner, Marshall S.        09/20/19           0.6   Calls with Sackler family counsel regarding
                                                     mischaracterization of deal and media issues (0.3); emails
                                                     regarding Special Committee meeting and agenda items (0.3).
Lele, Ajay B.               09/20/19           0.5   Review revised confidential term sheet.
Taylor, William L.          09/20/19           0.3   Analyze director selection issue.
Diggs, Elizabeth R.         09/21/19           3.5   Call with A. Lele regarding insurance resolutions (0.3); emails
                                                     with R. Aleali regarding same (0.5); review and revise same
                                                     (2.7).
Huebner, Marshall S.        09/21/19           0.3   Emails with client group regarding media errors and
                                                     communications strategy.
Lele, Ajay B.               09/21/19           2.0   Review insurance resolutions (1.7); conference with E. Diggs
                                                     regarding revisions to resolutions (0.3).
Consla, Dylan A.            09/22/19           1.8   Comment on Teneo and vendors Q&A documents.
Diggs, Elizabeth R.         09/22/19           4.6   Emails with A. Lele and R. Aleali regarding insurance
                                                     resolutions (1.4); review and revise same (3.2).
Huebner, Marshall S.        09/22/19           1.2   Discussions with R. Silbert and D. Mazer regarding (0.4);
                                                     extensive work on communications themes and materials
                                                     (0.8).
Lele, Ajay B.               09/22/19           0.8   Draft additional revisions to insurance resolutions.
Diggs, Elizabeth R.         09/23/19           8.7   Emails with A. Lele and R. Aleali regarding insurance
                                                     resolutions (1.1); review and revise same (2.2); meet with D.
                                                     Zhang regarding organization and review of governance
                                                     documents (0.7); review and revise same (4.7).
Huebner, Marshall S.        09/23/19           2.2   Emails with clients and media regarding media issues (0.2);
                                                     review of communications materials (0.4); review of committee
                                                     charters regarding governance and discussion with M.
                                                     Kesselman regarding same (0.8); call with The New York
                                                     Times as per Purdue (0.8).
Lele, Ajay B.               09/23/19           2.5   Attend conference call with W. Taylor and M. DiVincenzo
                                                     regarding Delaware law issues (0.2); email to E. Vonnegut
                                                     and S. Brecher regarding C. Landau agreement (0.8); review
                                                     emails regarding benefits (0.2); attend call with R. Aleali and
                                                     S. Brecher regarding L. Landau agreement (0.3); review
                                                     February and April Board of Directors resolutions (0.4); review
                                                     revised insurance agreements (0.6).
Taylor, William L.          09/23/19           0.7   Analysis of director selection issue (0.4); review of and
                                                     comment on consent (0.3).
Diggs, Elizabeth R.         09/24/19          10.1   Emails with A. Lele, D. Zhang, W. Taylor and R. Aleali
                                                     regarding debt resolutions and secretary’s certificate (1.9);
                                                     conference with A. Lele regarding insurance approval (0.4);
                                                     conference with A. Lele regarding insurance resolutions (0.3);
                                                     review and revise same (5.9); review and revise governance
                                                     documents (1.0); emails with A. Lele, R. Aleali, K. McCarthy,
                                                     R. Stoll and M. Florence regarding contractual counterparty
                                                     agreements (0.6).

Huebner, Marshall S.        09/24/19           1.9   Discussions with three Board members regarding multiple
                                                     governance and related matters (1.1); further emails regarding
                                                       40
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 54 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     communications issues (0.8).
Lele, Ajay B.               09/24/19           4.2   Emails to S. Brecher regarding C. Landau employment
                                                     agreement (0.3); conference with E. Diggs regarding
                                                     insurance approvals (0.4); attend conference with E. Diggs
                                                     regarding resolutions (0.3); correspondence with E. Diggs
                                                     regarding contractual counterparty agreements (0.2); weekly
                                                     Davis Polk internal update call (0.5); revise letter of credit
                                                     resolutions (2.5).
Robertson,                  09/24/19           1.1   Attend board committee meeting telephonically (0.6); call with
Christopher                                          public relations firm regarding communications issues and
                                                     planning (0.5).
Taylor, William L.          09/24/19           0.6   Comment on insurance resolutions.
Vonnegut, Eli J.            09/24/19           0.3   Emails with Davis Polk team regarding governance questions.
Diggs, Elizabeth R.         09/25/19           9.9   Attend call with A. Lele, R. Aleali, K. McCarthy, R. Stoll and M.
                                                     Florence regarding contractual counterparty agreements (0.5);
                                                     review same (1.2); emails with A. Lele and R. Aleali regarding
                                                     same (1.6); draft and revise Board consent regarding
                                                     insurance matters (4.3); emails with B. Taylor, A. Lele and R.
                                                     Aleali regarding same (2.3).


Huebner, Marshall S.        09/25/19           0.4   Emails regarding various new media reports and errors (0.4).
Lele, Ajay B.               09/25/19           1.7   Attend with R. Aleali, E. Diggs and M. Florence regarding
                                                     vendor agreements (0.2); review vendor agreements (0.5);
                                                     review agreement terms (0.3); revise letter of credit
                                                     resolutions (0.7).
Taylor, William L.          09/25/19           1.3   Review and revise multiple drafts of insurance related
                                                     resolutions.
Vonnegut, Eli J.            09/25/19           1.5   Prepare for Creditors' Committee formation meeting.
Chao, Daniel                09/26/19           1.0   Prepare public relations firm vendor and master employee
                                                     FAQs.
Consla, Dylan A.            09/26/19           1.0   Revise draft communications materials from public relations
                                                     firm.
Diggs, Elizabeth R.         09/26/19           4.7   Attend call with A. Lele and R. Aleali regarding insurance
                                                     resolutions (0.3); revise and review same (2.9); revise and
                                                     review governance documents (1.5).
Huebner, Marshall S.        09/26/19           4.5   Extensive work on communications presentation with
                                                     questions and answers (2.1); meet with Davis Polk team and
                                                     emails regarding same (0.9); call with J. Lowne regarding
                                                     financial issues (0.5); calls with J. Lowne and M. Kesselman
                                                     regarding multiple issues including potential contract counter-
                                                     party action (0.6); report to M. Kesselman on Ad Hoc
                                                     Committee meeting (0.4).
Lele, Ajay B.               09/26/19           3.1   Attend meeting with R. Aleali and E. Diggs regarding
                                                     insurance resolutions (0.3); review 2004 indemnity resolutions
                                                     per request from M. Huebner (0.8); review confidential term
                                                     sheet revisions (0.2); review letter of credit resolutions (1.8).
Taylor, William L.          09/26/19           0.4   Correspondence with M. Huebner regarding director
                                                     appointment (0.2); email correspondence with R. Aleali
                                                     regarding resolutions (0.2).
Vonnegut, Eli J.            09/26/19           0.2   Draft list of upcoming Special Committee considerations.
Diggs, Elizabeth R.         09/27/19           1.3   Emails with D. Lojac regarding governance matter (0.5); revise
                                                     mergers and acquisitions workstream chart and related
                                                     correspondence (0.8).
Huebner, Marshall S.        09/27/19           3.4   Extensive work in communications modules including 2 full
                                                     turns and discussions with Davis Polk team and emails
                                                       41
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 55 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours    Narrative
                                                      regarding same (1.8); Board call and individual calls with
                                                      multiple Board members (1.6).
Lele, Ajay B.               09/27/19            0.7   Review governance side letter (0.3); attend call with E. Diggs
                                                      and R. Aleali regarding insurance resolutions (0.3); review
                                                      checklist (0.1).
Robertson,                  09/27/19            2.2   Attend telephonic Board meeting (1.3); call with M. Clarens
Christopher                                           regarding process for Special Committee indemnification
                                                      approval (0.2); follow-up call regarding same (0.1); prepare
                                                      Board approval calendar (0.6).
Taylor, William L.          09/27/19            0.2   Analysis regarding director selection issue.
Huebner, Marshall S.        09/29/19            1.8   Call with Board members regarding various topics (0.3); call
                                                      with M. Kesselman regarding governance matters and Wall
                                                      Street Journal leak (0.9); correspondence with Davis Polk
                                                      team regarding leak and response (0.6).
Robertson,                  09/29/19            1.2   Prepare calendar of upcoming Board decision matters.
Christopher
Diggs, Elizabeth R.         09/30/19            4.1   Draft and revise Compensation and Talent Committee consent
                                                      (2.5); meet with D. Lojac regarding background on the matter
                                                      (1.6).
Lele, Ajay B.               09/30/19            1.7   Attend conference with E. Diggs regarding request from H. Ku
                                                      at AlixPartners (0.3); review emails from E. Vonnegut
                                                      regarding Special Committee (0.2); attend conference with E.
                                                      Vonnegut regarding same (0.1); emails to C. Robertson
                                                      regarding Board approvals (0.5); revisions to compensation
                                                      committee resolutions (0.6).
Lojac, Dylan H.             09/30/19            5.1   Meet with E. Diggs to discuss background of governance
                                                      issues(1.7); draft 401(k) Amendment and Restatement
                                                      Resolutions ahead of 10/3 Board meeting (1.6); add exhibits
                                                      to filing set, conform dates in index to document dates (1.8).
Robertson,                  09/30/19            1.2   Revise Board action calendar (0.9); conference with A. Lele
Christopher                                           regarding AlixPartners request (0.3).
Taylor, William L.          09/30/19            0.6   Email correspondence with A. Lele and C. Robertson
                                                      regarding voting requirements (0.2); review and comment on
                                                      proposal regarding independent directors (0.2); correspond
                                                      with A. Lele and E. Vonnegut regarding same (0.2).
Vonnegut, Eli J.            09/30/19            0.9   Work on upcoming Special Committee analyses and decision
                                                      points (0.7); emails with A. Lele regarding same (0.2).
Total PURD115 Corporate                       146.6
Governance, Board Matters and
Communications

PURD120 Creditor/UCC/AHC Issues
Huebner, Marshall S. 09/16/19                   2.1   Several calls with counsel to objecting states (0.9); multiple
                                                      calls and emails with professionals for Ad Hoc Committee
                                                      regarding hearing and questions on motions (1.2).
Graulich, Timothy           09/17/19            0.7   Call with K. Eckstein and M. Huebner regarding term sheet
                                                      and Ad Hoc Committee formation.
Huebner, Marshall S.        09/17/19            1.0   Call with Ad Hoc Committee professionals regarding next
                                                      steps on wide variety of topics (0.7); prepare for same (0.3).
Graulich, Timothy           09/18/19            1.0   Participate in team meeting regarding next steps for projects
                                                      (1.0); call with D. Molton regarding committee issues (0.3).
Huebner, Marshall S.        09/18/19            2.3   Multiple calls with plaintiffs and Ad Hoc Committee counsel,
                                                      including two calls with New York Attorney General and call
                                                      with S. Gilbert regarding multiple matters including automatic
                                                      stay and information sharing.
                                                        42
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 56 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Robertson,                  09/18/19           0.5   Meet with M. Huebner, T. Graulich, E. Vonnegut, D. Consla,
Christopher                                          and Z. Levine regarding issues relating to Ad Hoc Committee
                                                     and Creditors' Committee.
Graulich, Timothy           09/19/19           6.7   Review revised term sheet (6.3); revise and circulate term
                                                     sheet (0.4).
Huebner, Marshall S.        09/19/19           1.8   Review and respond to multiple emails from new shareholders
                                                     including request for information (0.3); work with counsel for
                                                     both supporting and opposing creditors including calls and
                                                     emails (0.4); discussions and draft response to letters (0.8);
                                                     discussions and emails regarding U.S. Trustee and creditor
                                                     matrix motion (0.3).
Levine, Zachary             09/19/19           2.8   Emails with AlixPartners regarding material contract summary
                                                     (0.2); correspondence with D. Mazer regarding settlement
                                                     deck (0.1); research regarding Ad Hoc Committee issues
                                                     (1.1); review emails regarding creditor matrix issue (0.2); draft
                                                     outline regarding Ad Hoc Committee issues (1.2).
Graulich, Timothy           09/20/19          13.1   Review and revise summary term sheet (6.6); call with M.
                                                     Kesselman regarding same (0.3); review and revise revised
                                                     term sheet (5.8); call with counsel for co-defendant (0.5); call
                                                     with counsel for third party payors (0.5).
Huebner, Marshall S.        09/20/19           1.6   Multiple emails regarding term sheet and Ad Hoc Committee
                                                     and Creditors' Committee issues (0.5); communications with
                                                     various creditor groups, Davis Polk and individual creditors
                                                     regarding proofs of claim, discovery, preliminary Injunction
                                                     (0.8); calls and emails regarding advisor retention by Ad Hoc
                                                     Committee (0.3).
Levine, Zachary             09/20/19           6.6   Revise settlement term sheet (1.4); review precedent non-
                                                     disclosure agreements (1.2); draft non-disclosure agreement
                                                     (2.8); revise non-disclosure agreement based on comments
                                                     from C. Robertson (0.6); emails with PJT regarding settlement
                                                     issues (0.3); email with D. Mazer regarding settlement issue
                                                     (0.1); review M. Kesselman comments to settlement term
                                                     sheet (0.2).
Robertson,                  09/20/19           1.5   Prepare form of non-disclosure agreement for Ad Hoc
Christopher                                          Committee.
Vonnegut, Eli J.            09/20/19           1.1   Work on settlement term sheet.
Benedict, Kathryn S.        09/21/19           0.6   Correspondence with T. Graulich, E. Vonnegut, J. McClammy,
                                                     G. McCarthy, and others regarding Ad Hoc Committee
                                                     diligence questions.
Graulich, Timothy           09/21/19           4.5   Revise and circulate term sheet (1.4); emails regarding same
                                                     (0.3); emails regarding information requests; review and revise
                                                     non-disclosure agreement (2.8).
Huebner, Marshall S.        09/21/19           0.4   Emails with Ad Hoc Committee and Sackler family counsel
                                                     regarding term sheet.
Levine, Zachary             09/21/19           0.4   Emails with Davis Polk team regarding non-disclosure
                                                     agreement with Davis Polk restructuring and litigation teams.
Vonnegut, Eli J.            09/21/19           0.3   Emails regarding creditor diligence.
Graulich, Timothy           09/22/19           3.3   Review and revise term sheet (2.9); discussions with M.
                                                     Huebner regarding committee issues (0.4).
Huebner, Marshall S.        09/22/19           1.8   Review of new draft of term sheet and multiple emails and
                                                     calls with Davis Polk team and family lawyers regarding same
                                                     (1.0); emails with several groups and counsel for creditors and
                                                     discussions with T. Graulich regarding same and protective
                                                     order for information sharing (0.8).
Levine, Zachary             09/22/19           1.2   Revise settlement term sheet based on comments from M.
                                                     Huebner.
                                                       43
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 57 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Vonnegut, Eli J.            09/22/19           1.7   Call with potential Creditors' Committee counsel (1.0);
                                                     coordinate Ad Hoc Committee diligence and non-disclosure
                                                     agreement issues regarding same (0.7).
Benedict, Kathryn S.        09/23/19           1.0   Correspondence with B. Kaminetzky and M. Tobak regarding
                                                     Ad Hoc Committee diligence questions (0.2); telephone
                                                     conference with J. McClammy, E. Vonnegut, T. Graulich, and
                                                     others regarding Ad Hoc Committee diligence protections
                                                     (0.5); review draft Ad Hoc Committee non-disclosure
                                                     agreement as per correspondence (0.3).
Consla, Dylan A.            09/23/19           0.4   Correspond with M. Geraci regarding Creditors' Committee
                                                     formation meeting security issues (0.4).
Graulich, Timothy           09/23/19           7.7   Call with counsel for hospitals (0.5); call with E. Vonnegut and
                                                     others regarding non-disclosure agreements (0.5); revise and
                                                     circulate term sheet to Ad Hoc Committee (6.1); call with S.
                                                     Gilbert regarding same (0.3); call with M. Cyganowski
                                                     regarding same (0.3).
Huebner, Marshall S.        09/23/19           1.5   Emails regarding micro termsheet with ad hoc committee and
                                                     Davis Polk (0.4); multiple night calls and emails regarding FTI
                                                     retention by ad hoc committee (1.1).
Levine, Zachary             09/23/19           7.5   Prepare blacklines of term sheet, as well as email regarding
                                                     same (0.2); revise non-disclosure agreement (0.6); further
                                                     revisions to non-disclosure agreement based on comments
                                                     from C. Robertson and E. Vonnegut (1.3); call with J.
                                                     DelConte and E. Vonnegut regarding Creditor issues (0.2);
                                                     telephone conference with AlixPartners regarding diligence
                                                     requests (0.2); telephone conference with Davis Polk tax team
                                                     regarding settlement issues (0.2); review precedents
                                                     regarding motion to assume Ad Hoc Committee agreement
                                                     (0.9); draft motion to assume Ad Hoc Committee agreement
                                                     (3.9).
Robertson,                  09/23/19           2.6   Call with J. DelConte and Z. Levine regarding creditor issues
Christopher                                          (0.2); call with R. Aleali regarding commercial counterparty
                                                     (0.1); calls and emails with K. McCarthy regarding critical
                                                     vendor issues (0.7); call with T. Graulich, E. Vonnegut, J.
                                                     McClammy, D. Consla, K. Benedict and Z. Levine regarding
                                                     creditor non-disclosure agreement (0.5); review and revise
                                                     non-disclosure agreement (0.7); call with counsel to
                                                     commercial counterparty (0.4).
Vonnegut, Eli J.            09/23/19           4.4   Coordinate with Ad Hoc Committee/ Creditors' Committee
                                                     regarding diligence process (2.9); discuss settlement
                                                     implementation issues with Davis Polk team (0.5); call with
                                                     McKesson regarding customer programs (0.3); prepare for
                                                     same (0.7).
Benedict, Kathryn S.        09/24/19           0.1   Correspondence from Z. Levine regarding draft Ad Hoc
                                                     Committee non-disclosure agreement.
Graulich, Timothy           09/24/19           3.9   Call with S. Gilbert regarding non-disclosure agreement (0.9);
                                                     call with M. Huebner regarding Creditors' Committee formation
                                                     (0.3); call with J. DelConte regarding Creditors' Committee
                                                     formation (0.2); call with Dechert regarding third-party claims
                                                     (0.5); review caselaw (2.0).
Huebner, Marshall S.        09/24/19           1.7   Discussions and emails with U.S. Trustee and Davis Polk
                                                     regarding committee formation issues (0.7); many emails with
                                                     Ad Hoc Committee counsel and other creditor representatives
                                                     regarding incoming questions and related matters (1.0).
Levine, Zachary             09/24/19           8.3   Revise Ad Hoc Committee non-disclosure agreement (0.9);
                                                     discuss same with C. Robertson (0.2); further revise Ad Hoc
                                                       44
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 58 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     Committee non-disclosure agreement (0.4); send non-
                                                     disclosure agreement to Ad Hoc Committee (0.2); review
                                                     documents added to diligence data room (1.5); follow-up with
                                                     C. Robertson (0.1); draft motion to assume consenting creditor
                                                     claimant fee letter (5.0).
Robertson,                  09/24/19           1.4   Revise Ad Hoc Committee non-disclosure agreement (0.6);
Christopher                                          discuss same with Z. Levine (0.2); correspond regarding same
                                                     with E. Vonnegut (0.2); follow-up discussions with Z. Levine
                                                     (0.1); email to P. Schwartzberg regarding Creditors'
                                                     Committee formation (0.2); email to M. Huebner regarding
                                                     same (0.1).
Vonnegut, Eli J.            09/24/19           1.6   Work on Ad Hoc Committee non-disclosure agreement and
                                                     diligence (0.8); discuss settlement structure with Davis Polk
                                                     team (0.5); coordinate diligence with K. Laurel (0.3).
Consla, Dylan A.            09/25/19           0.4   Meet with E. Vonnegut, M. Pera and Z. Levine regarding
                                                     diligence materials and Unsecured Creditors' Committee
                                                     formation.

Huebner, Marshall S.        09/25/19           0.5   Multiple emails regarding Ad Hoc Committee requests and
                                                     financial advisor (0.3); discussions and emails regarding
                                                     presentation at Creditors' Committee formation meeting (0.2).
Levine, Zachary             09/25/19           8.0   Conference with D. Consla and M. Pera regarding diligence
                                                     issues (0.4); review diligence list and materials uploaded to
                                                     dataroom (1.4); emails regarding non-disclosure agreement
                                                     with E. Vonnegut (0.3); revise motion to assume consenting
                                                     claimant committee fee letter (5.9).
McClammy, James I.          09/25/19           0.7   Correspondence with T. Graulich regarding Creditors'
                                                     Committee issues (0.3); emails regarding committee issues
                                                     (0.4).
Pera, Michael               09/25/19           3.1   Attend meeting with D. Consla and Z. Levine regarding
                                                     diligence issues (0.4); review diligence request list and data
                                                     room files (1.2); correspondence with D. Consla regarding
                                                     same (0.3); emails with AlixPartners regarding diligence (0.2);
                                                     further review of data room files (0.3); meeting with D. Consla
                                                     and Z. Levine and others regarding diligence and next steps
                                                     (0.4); follow-up correspondence with Davis Polk team
                                                     regarding same (0.3).
Robertson,                  09/25/19           0.4   Discuss Creditors' Committee formation meeting with R.
Christopher                                          Aleali.
Chao, Daniel                09/26/19           1.0   Prepare materials for Creditors' Committee formation meeting.
Consla, Dylan A.            09/26/19           4.7   Attend Creditors' Committee formation meeting (3.9);
                                                     correspondence with M. Huebner, E. Vonnegut and M.
                                                     Kesselman regarding Creditors' Committee issues (0.8).
Graulich, Timothy           09/26/19           1.5   Call with M. Huebner, K. Eckstein and S. Gilbert regarding
                                                     term sheet issues.
Huebner, Marshall S.        09/26/19           3.3   Emails with and meet with Ad Hoc Committee counsel (1.2);
                                                     multiple emails with same regarding diligence and upcoming
                                                     hearings (0.4); partially attend Creditors' Committee formation
                                                     meeting (1.5); meet with the U.S. Trustee regarding same
                                                     (0.2).
Levine, Zachary             09/26/19           5.1   Draft motion to assume fee letter of Ad Hoc Committee of
                                                     supporting claimants (3.9); emails with AlixPartners regarding
                                                     diligence issues (0.7); review emails regarding Creditors'
                                                     Committee formation (0.3); emails regarding form 309F (0.2).
Pera, Michael               09/26/19           0.9   Review data room uploads (0.6); emails with AlixPartners
                                                     regarding same (0.1); correspondence with Davis Polk team
                                                       45
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 59 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     regarding Creditors' Committee appointment (0.2).
Tobak, Marc J.              09/26/19           0.3   Correspondence regarding Creditors' Committee.
Vonnegut, Eli J.            09/26/19           4.4   Attend Creditors' Committee formation meeting (3.9); prepare
                                                     for Creditors' Committee formation meeting (0.5).
Consla, Dylan A.            09/27/19           1.2   Review diligence requests.
Huebner, Marshall S.        09/27/19           2.0   Join meeting with new Creditors' Committee Counsel (1.0);
                                                     emails regarding same and information requests (0.6); emails
                                                     with Ad Hoc Committee regarding term sheet and related
                                                     matters (0.4).
Levine, Zachary             09/27/19           7.6   Revise motion to assume fee letter of Ad Hoc Committee of
                                                     supporting claimants based on comments from T. Graulich
                                                     (4.3); research regarding restructuring support agreement
                                                     issues (1.4); review diligence materials in data room (0.8);
                                                     emails regarding 309F notice with C. Robertson (0.1);
                                                     telephone conference with litigation parties regarding
                                                     settlement issues (0.3); prepare summary of telephone
                                                     conference with litigation parties (0.7).
Pera, Michael               09/27/19           1.7   Review documents uploaded to data room (1.6); email to E.
                                                     Vonnegut regarding same (0.1).
Vonnegut, Eli J.            09/27/19           1.7   Meeting with Creditors' Committee counsel regarding
                                                     diligence, coordinate document gathering for same (1.5);
                                                     emails with Davis Polk team regarding disclosure of litigation
                                                     history (0.2).
Huebner, Marshall S.        09/28/19           0.8   Emails with and regarding Creditors' Committee and Ad Hoc
                                                     Committee regarding orientation and term sheet.
Levine, Zachary             09/28/19           0.2   Emails with T. Graulich regarding settlement term sheet (0.1);
                                                     send diligence materials to E. Vonnegut (0.1).
Vonnegut, Eli J.            09/28/19           0.3   Join meeting with new Creditors' Committee Counsel (1.0);
                                                     emails regarding same and information requests (0.6); emails
                                                     with Ad Hoc Committee regarding term sheet and related
                                                     matters (0.4).
Consla, Dylan A.            09/29/19           1.9   Prepare response to diligence request from Akin (1.9).
Graulich, Timothy           09/29/19           1.6   Review and provide comments to settlement support
                                                     document.
Huebner, Marshall S.        09/29/19           3.1   Call with lawyers for Creditors' Committee regarding multiple
                                                     topics and report to Purdue regarding same (1.8); review and
                                                     markup of Ad Hoc Committee term sheet markup and multiple
                                                     calls and emails regarding same (1.3).
Levine, Zachary             09/29/19           2.1   Review Ad Hoc Committee comments to settlement term
                                                     sheet (0.4); revise settlement term sheet based on comments
                                                     from M. Huebner (1.5); email with T. Graulich regarding
                                                     settlement term sheet revisions (0.2).
Pera, Michael               09/29/19           0.3   Emails with Davis Polk team regarding Creditors' Committee
                                                     diligence requests.
Robertson,                  09/29/19           0.3   Coordinate Creditors' Committee diligence deliverables.
Christopher
Vonnegut, Eli J.            09/29/19           2.0   Call with Akin Gump and follow-up from same.
Consla, Dylan A.            09/30/19           1.0   Call with AlixPartners regarding diligence requests on first day
                                                     issues (1.0).
Graulich, Timothy           09/30/19           9.4   Review revised term sheet (2.4); revise and circulate term
                                                     sheet (1.4); correspond with M. Huebner regarding same
                                                     (0.9); discussion with Sackler family counsel regarding mark
                                                     up (3.0); review related to jurisdiction issues (1.7).
Pera, Michael               09/30/19           3.2   Review documents uploaded to data room (1.5);
                                                     correspondence with E. Vonnegut regarding same (0.1);
                                                     emails with AlixPartners regarding same (0.3); call with C.
                                                       46
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 60 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours    Narrative
                                                      Duggan and others regarding creditor diligence issues (0.7);
                                                      call with AlixPartners regarding same (0.6).
Robertson,                  09/30/19            1.0   Call with AlixPartners, E. Vonnegut, D. Consla and M. Pera
Christopher                                           regarding diligence production (0.7); follow-up meeting with
                                                      Davis Polk team regarding same (0.3).
Vonnegut, Eli J.            09/30/19            3.4   Coordinate Ad Hoc Committee and Creditors' Committee
                                                      diligence (2.7); call with C. Duggan and others regarding
                                                      information sharing with creditors (0.7).
Total PURD120 Creditor/UCC/AHC                178.2
Issues

PURD125 Cross-Border/International Issues
Graulich, Timothy  09/16/19               3.4         Call with Canadian counsel regarding CCAA proceeding (0.2);
                                                      review motion to appoint a foreign representative (0.5);
                                                      prepare for hearing (2.7).
Robertson,                  09/16/19            0.1   Email to Stikeman regarding CCAA submissions.
Christopher
Shimamura,                  09/16/19            0.3   Email correspondence with Stikeman regarding petitions for
Alexander K.B.                                        Candian ancillary proceeding.
Giddens, Magali             09/17/19            0.2   Correspondence with A. Shimamura regarding obtaining
                                                      certified copies of petitions for Canadian counsel (0.1); review
                                                      SDNY Bankruptcy court website regarding same (0.1).
Robertson,                  09/17/19            0.5   Call with Stikeman and T. Grauilch regarding CCAA process
Christopher                                           and next steps.
Shimamura,                  09/17/19            0.2   Email correspondence with Stikeman regarding petitions and
Alexander K.B.                                        foreign representative order for Canadian ancillary
                                                      proceeding.
Giddens, Magali             09/18/19            1.6   Conference with C. Robertson regarding certifying foreign
                                                      representative order when entered (0.1); coordinate electronic
                                                      copies and hard copies of certified petitions (0.5); conferences
                                                      with C. Robertson regarding same and regarding foreign
                                                      representative order (0.2); correspondences with A.
                                                      Shimamura regarding status of certified petitions (0.1); call
                                                      with court clerk regarding document certification procedure
                                                      (0.1); calls and correspondence with managing attorney’s
                                                      office regarding same (0.2); prepare detailed email and list of
                                                      all petitions (0.2); further communications with managing
                                                      attorney's office regarding same (0.2).
Robertson,                  09/18/19            2.5   Review CCAA submissions (1.6); emails with Stikeman
Christopher                                           regarding same (0.4); arrange for delivery of certified
                                                      documents for Canadian proceeding hearing (0.5).
Shimamura,                  09/18/19            0.6   Email correspondence with Stikeman regarding petitions and
Alexander K.B.                                        foreign representative order for Canadian ancillary
                                                      proceeding.
Graulich, Timothy           09/19/19            0.7   Call with Stikeman regarding Injunction (0.5); review CCAA
                                                      order (0.2).
Jackson Jr., Ahmad          09/19/19            0.4   Request certified copy of same from court clerk (0.3); retrieve
                                                      foreign representative order for M. Giddens (0.1).
Robertson,                  09/19/19            2.5   Meet with Stikeman team prior to Canadian proceeding
Christopher                                           hearing (1.0); attend Canadian proceeding hearing regarding
                                                      recognition of chapter 11 proceeding in Canada (1.5).
Graulich, Timothy           09/20/19            0.4   Review Canadian motion.
Robertson,                  09/20/19            0.1   Call with Stikeman regarding CCAA proceeding.
Christopher
Graulich, Timothy           09/23/19            0.7   Call with BLG regarding Purdue Canada.
                                                        47
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 61 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Robertson,                  09/24/19           0.7   Call with Canadian counsel and counsel to British Columbia
Christopher                                          regarding Canadian litigation issues (0.6); email to Stikeman
                                                     regarding same (0.1).
Robertson,                  09/25/19           0.5   Call with counsel to British Columbia and Canadian co-
Christopher                                          counsel regarding motion to add co-defendants and related
                                                     issues.
Consla, Dylan A.            09/27/19           0.8   Correspond regarding utilities order issues with E. Vonnegut
                                                     and AlixPartners (0.3); correspond with E. Vonnegut and
                                                     certain university counsel regarding grant issue (0.5).
Robertson,             09/30/19                0.3   Review and comment on form of agreed order.
Christopher
Total PURD125 Cross-                          16.5
Border/International Issues

PURD130 Equityholder/IAC Issues
Duggan, Charles S.  09/16/19                   0.7   Conference with M. Clarens regarding information requests
                                                     from Dechert regarding discovery information sought by
                                                     Rhode Island as to shareholders.
Huebner, Marshall S.        09/23/19           1.2   Calls with Sackler family counsel regarding various matters
                                                     (0.8); emails regarding transfer valuation issues and
                                                     calculations (0.4).
Huebner, Marshall S.        09/25/19           0.9   Conference call with family lawyers regarding multiple issues.
Huebner, Marshall S.        09/26/19           0.9   Discussion with Sackler family counsel regarding term sheet
                                                     issues raised by Ad Hoc Committee and related matters.
Huebner, Marshall S.        09/29/19           0.4   Discussion with Sackler family counsel and T. Graulich
                                                     regarding various topics.
Vonnegut, Eli J.     09/30/19                  0.3   Discuss interaction with Sackler family with R. Aleali.
Total PURD130 Equityholder/IAC                 4.4
Issues

PURD135 Customer/Vendor/Lease/Contract Issues
Huebner, Marshall S. 09/17/19            0.9 Multiple emails with clients and other advisors regarding
                                              termination and related threats from various counterparties.
Huebner, Marshall S. 09/18/19            0.6 Help company address many emergency contract issues and
                                              incoming counterparty requests and demands.
Vonnegut, Eli J.     09/18/19            1.1 Advise Purdue team regarding critical vendor issues.
Vonnegut, Eli J.     09/19/19            0.3 Emails regarding indemnification claims (0.2); coordinate
                                              lease review (0.1).
Consla, Dylan A.     09/20/19            0.8 Review proposed lease of office space in North Carolina (0.6);
                                              correspond with K. McCarthy regarding call on same (0.2).
Robertson,           09/20/19            0.3 Review emails regarding development agreement approval
Christopher                                   (0.2); email to AlixPartners regarding contracts review (0.1).
Shimamura,           09/22/19            1.1 Email correspondence with D. Consla regarding final orders
Alexander K.B.                                for Second Day hearing (0.1); email correspondence with
                                              Brown Rudnick and Kramer Levin regarding same (0.1);
                                              review final orders for Second Day hearing (0.9).
Levine, Zachary      09/23/19            0.6 Review reclamation notice from vendor (0.3); emails with
                                              AlixPartners regarding reclamation notice (0.3).
Robertson,           09/23/19            0.1 Emails with M. Hartley regarding vendor issues.
Christopher
Chao, Daniel         09/24/19            2.1 Research regarding bankruptcy lease provisions.
Huebner, Marshall S. 09/24/19            0.3 Discussion with J. Lowne regarding real property lease.
Robertson,           09/24/19            1.0 Email to T. Cobb regarding vendor letter (0.1); email to E.
Christopher                                   Vonnegut regarding vendor letter (0.2); review precedent
                                              materials relating to insurance order (0.7).
                                                       48
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 62 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Levine, Zachary             09/25/19           0.4   Review letter from supply agreement counterparty regarding
                                                     indemnification issues (0.2); correspondence with C.
                                                     Roberston regarding letter from contract counterparty (0.1);
                                                     send letter regarding indemnification to litigation team for
                                                     review (0.1).
Pera, Michael               09/25/19           3.0   Correspondence with C. Robertson regarding vendor
                                                     agreement issues (0.2); review precedent vendor agreements
                                                     (0.7); review and revise vendor agreement (2.1).
Robertson,                  09/25/19           0.7   Call with K. McCarthy regarding vendor letters (0.3); call with
Christopher                                          R. Aleali regarding product development termsheet (0.1); call
                                                     with M. Hartley regarding vendor issue (0.1); emails with M.
                                                     Hartley regarding royalty agreement question (0.2).
Taylor, William L.          09/25/19           0.6   Review vendor agreements (0.3); conference call with R.
                                                     Aleali and others regarding same (0.3).
Vonnegut, Eli J.            09/25/19           0.4   Emails and calls regarding insurance renewal issues.
Pera, Michael               09/26/19           1.5   Discuss vendor agreements with C. Robertson (0.4); review
                                                     and revise same (0.4); email to E. Vonnegut regarding same
                                                     (0.1); further revisions to vendor agreement (0.4); email to E.
                                                     Vonnegut regarding same (0.2).
Robertson,                  09/26/19           2.5   Review development agreement term sheet (0.2); email to E.
Christopher                                          Vonnegut regarding vendor agreement question (0.1); emails
                                                     and calls with K. McCarthy regarding vendor agreements
                                                     (1.4); discuss vendor agreement issues with M. Pera (0.4);
                                                     emails with K. Benedict regarding vendor termination notice
                                                     (0.4).
Tobak, Marc J.              09/26/19           0.4   Correspondence with C. Robertson and K. Benedict regarding
                                                     contractual termination.
Vonnegut, Eli J.            09/26/19           0.6   Call with American Express regarding purchase card (0.2);
                                                     discuss same with Davis Polk team (0.1); emails regarding
                                                     critical vendor letters (0.1); UBS call and emails regarding
                                                     UBS account (0.2).
Pera, Michael               09/27/19           1.8   Meeting with C. Robertson regarding American Express issue
                                                     (0.3); email AlixPartners regarding same (0.1); review first day
                                                     orders in connection with same (0.5); precedent research in
                                                     connection with same (0.9).
Robertson,                  09/27/19           0.8   Discuss corporate card issue with M. Pera (0.3); email to E.
Christopher                                          Vonnegut regarding termination notice (0.2); email to K.
                                                     McCarthy regarding vendor agreement (0.3).
Vonnegut, Eli J.            09/27/19           0.4   Review and comment on potential contract dispute (0.2);
                                                     discuss insurance issues with Davis Polk team (0.2).
Vonnegut, Eli J.            09/28/19           0.2   Emails regarding potential contract dispute.
Vonnegut, Eli J.            09/29/19           0.3   Emails regarding potential contract dispute.
Benedict, Kathryn S.        09/30/19           1.0   Correspondence with J. McClammy and E. Vonnegut
                                                     regarding draft automatic stay letter (0.3); revise draft
                                                     automatic stay letter (0.6); correspondence with R. Aleali
                                                     regarding draft automatic stay letter (0.1)
Pera, Michael               09/30/19           1.4   Email AlixPartners regarding American Express issue (0.1);
                                                     revise wages order in connection with same (0.8); review
                                                     precedents in connection with same (0.3); email C. Robertson
                                                     regarding same (0.1); emails with counsel to vendor regarding
                                                     vendor agreement (0.1).
Robertson,                  09/30/19           2.9   Call with R. Aleali regarding distribution agreements (0.1);
Christopher                                          email to K. McCarthy regarding vendor agreements and
                                                     related issues (0.4); follow-up call with R. Aleali regarding
                                                     distribution agreements (0.1); email to K. McCarthy regarding
                                                     vendor letter issue (0.8); call with R. Aleali regarding customer
                                                       49
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 63 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     programs issue (0.3); review and comment on vendor
                                                     agreement draft (1.2).
Vonnegut, Eli J.            09/30/19           0.9   Emails regarding customer programs with Purdue team (0.5);
                                                     emails and calls regarding potential contract dispute (0.3);
                                                     emails regarding thermo scientific issues (0.1).
Total PURD135                                 29.0
Customer/Vendor/Lease/Contract
Issues

PURD140 Employee/Pension Issues
Brecher, Stephen I. 09/16/19                   2.5   Correspondence with D. Consla regarding retention program
                                                     information (0.4); call with R. Aleali regarding pension FAQs
                                                     (0.1); update Pension FAQs (1.2); conference with J. Crandall
                                                     regarding PBGC notice question (0.1); review regarding
                                                     PBGC notice question (0.3); review revised Willis Towers
                                                     report (0.2); correspondence with E. Vonnegut regarding
                                                     employing entities (0.2).
Crandall, Jeffrey P.        09/16/19           0.5   Review PBGC issues (0.2); review Human Resources updates
                                                     (0.2); attend conference with S. Brecher regarding PBGC
                                                     notice question (0.1).
Brecher, Stephen I.         09/17/19           4.3   Review documents regarding pre-filing severance obligations
                                                     (1.0); calls with R. Aleali regarding same (0.8); conference
                                                     with E. Vonnegut regarding treatment of pre-filing severance
                                                     (0.7); correspondence and calls with K. Laurel regarding same
                                                     (0.7); draft notice regarding suspension of severance (0.8);
                                                     draft talking points regarding same (0.3).
Consla, Dylan A.            09/17/19           0.4   Correspondence with C. DeStefano regarding authority for
                                                     employee payments under First Day orders.
Vonnegut, Eli J.            09/17/19           2.3   Advise Purdue legal and Human Resources regarding
                                                     employee benefit issues (1.6); conference with S. Brecher
                                                     regarding prepetition severance (0.7).
Brecher, Stephen I.         09/18/19           5.3   Correspondence regarding vacation payments (0.1); call with
                                                     Purdue Human Resources regarding compensation issues
                                                     (0.7); calls with R. Aleali regarding compensation issues (0.5);
                                                     draft notice regarding severance suspension (1.8); call with
                                                     Davis Polk team regarding severance suspension notice (0.6);
                                                     call with Willis Towers (0.4); review revised pension FAQs
                                                     (0.2); correspondence regarding continuation of employee
                                                     programs (0.2); draft talking points for severance suspension
                                                     (0.8).
Consla, Dylan A.            09/18/19           3.2   Call with K. Laurel and other clients regarding wages order
                                                     provisions (0.7); correspond with M. Clarens regarding Special
                                                     Committee approval of advancement of expenses (0.6); call
                                                     with S. Hinden and rest of Willis Towers Watson team (0.5);
                                                     compile and send background material regarding employee
                                                     compensation to S. Hinden and rest of Willis Towers Watson
                                                     team (1.0); correspond with S. Hinden and rest of Willis
                                                     Towers Watson team regarding declaration regarding
                                                     employee compensation (0.4).
Robertson,                  09/18/19           0.5   Discuss wages motion issues with Purdue and E. Vonnegut,
Christopher                                          S. Brecher and D. Consla.
Vonnegut, Eli J.            09/18/19           3.9   Call with Willis Towers Watson, C. Robertson and others
                                                     regarding wages (0.5); advise Purdue team regarding wages
                                                     questions (3.4).
Brecher, Stephen I.         09/19/19           1.6   Correspondence and calls with K. Laurel regarding
                                                       50
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 64 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     compensation issues (0.8); review severance agreement
                                                     regarding payment for transition services (0.3); call with R.
                                                     Aleali regarding compensation issues (0.5).
Consla, Dylan A.            09/19/19           2.0   Prepare summary of authority to continue certain programs
                                                     under interim wages order (1.5); correspond with M. Huebner
                                                     regarding authority to continue certain programs under interim
                                                     wages order (0.5).
Crandall, Jeffrey P.        09/19/19           0.3   Review pension and bonus plan issues.
Vonnegut, Eli J.            09/19/19           0.7   Emails with Davis Polk team regarding wage issues.
Brecher, Stephen I.         09/20/19           2.6   Call with J. Lowne regarding compensation issues (0.8);
                                                     conference with E. Vonnegut regarding severance issues
                                                     (0.2); correspondence with Davis Polk team regarding bonus
                                                     plans (0.5); calls and correspondence with Davis Polk
                                                     regarding travel reimbursement (0.6); call with R. Aleali
                                                     regarding compensation issues (0.5).
Robertson,                  09/20/19           0.3   Email to R. Posner regarding wages relief.
Christopher
Vonnegut, Eli J.            09/20/19           3.2   Prepare for final wages hearing (1.0); advise clients regarding
                                                     questions on wages order (2.0); conference with S. Brecher
                                                     regarding severance issues (0.2).
Brecher, Stephen I.         09/21/19           0.6   Correspondence with J. Lowne regarding CEO compensation.
Consla, Dylan A.            09/21/19           0.2   Correspond with D. Chao regarding preparations for
                                                     declarations in support of final wages order.
Crandall, Jeffrey P.        09/21/19           0.2   Review perk issues.
Huebner, Marshall S.        09/21/19           0.2   Emails and discussion with J. Lowne regarding various
                                                     employee issues.
Brecher, Stephen I.         09/22/19           0.2   Conference with R. Aleali regarding PBGC premium.
Crandall, Jeffrey P.        09/22/19           0.2   Review perk issues.
Huebner, Marshall S.        09/22/19           1.3   Review documents and emails regarding employee issues
                                                     (0.8); discussion with E. Vonnegut regarding multiple
                                                     employee issues and final hearing on wages motion (0.5).
Vonnegut, Eli J.            09/22/19           0.9   Call with M. Huebner regarding Second Day wages issues
                                                     (0.5); gather wages issues data (0.4).
Brecher, Stephen I.         09/23/19           4.0   Call with J. Lowne regarding CEO compensation (1.0); calls
                                                     with R. Aleali regarding executive compensation matters (0.6);
                                                     review Rollinson Separation Agreement (0.2); review Pension
                                                     FAQs (0.1); review audit letters (0.2); call with Davis Polk
                                                     team regarding Long-Term plan (1.0); call with R. Aleali and A.
                                                     Lele regarding board approval matters (0.5); conference with
                                                     J. Crandall regarding CEO compensation (0.4).
Chao, Daniel                09/23/19           0.2   Correspond with M. Pera regarding update on wages-related
                                                     workstream (0.2).
Consla, Dylan A.            09/23/19           1.7   Call with K. McCarthy regarding proposed lease of facility
                                                     (0.2); meet with E. Vonnegut and Z. Levine regarding
                                                     employee compensation issues (0.3); meet with Z. Levine and
                                                     M. Pera regarding employee compensation issues (0.3);
                                                     correspond with M. Pera regarding employee compensation
                                                     issues (0.4); email K. Laurel regarding employee
                                                     compensation issues (0.2); send conformed proposed final
                                                     wages order to E. Vonnegut (0.3).
Crandall, Jeffrey P.        09/23/19           1.1   Review executive payment issues (0.5); meet with S. Brecher
                                                     regarding CEO compensation (0.4); review plan audit issues
                                                     (0.2).
Huebner, Marshall S.        09/23/19           1.5   Emails regarding pension and 401k plan audit (0.1); emails
                                                     and discussions regarding bonuses and New York
                                                     Department of Financial Services issues and review of letter to
                                                       51
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 65 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     Judge Drain (1.4).
Levine, Zachary             09/23/19           0.5   Conference with D. Consla regarding wages issues (0.3);
                                                     conference with E. Vonnegut and D. Consla regarding
                                                     compensation issues (0.2).
Pera, Michael               09/23/19           8.6   Meeting with D. Consla regarding wages motion and related
                                                     issues (0.5); meeting with E. Vonnegut, D. Consla and D.
                                                     Chao regarding wages motion (0.4); meeting with D. Consla,
                                                     Z. Levine and D. Chao regarding same (0.2); review diligence
                                                     materials related to wages motion (4.3); summarize same
                                                     (2.7); correspondence with Davis Polk team regarding same
                                                     (0.8); email to AlixPartners regarding same (0.3).
Robertson,                  09/23/19           0.4   Call with M. Clarens regarding indemnification issues.
Christopher
Vonnegut, Eli J.            09/23/19           3.2   Advise company on wages motion issues (2.90); conference
                                                     with D. Consla regarding employee compensation (0.3).
Brecher, Stephen I.         09/24/19           3.4   Discussion with M. Huebner regarding CEO compensation
                                                     (0.3); call with Davis Polk team regarding employee payments
                                                     (0.4); conference with E. Vonnegut regarding employee
                                                     payments (0.3); calls with R. Aleali regarding compensation
                                                     issues (0.9); status meeting (0.6); conference with M. Huebner
                                                     regarding CEO compensation and employee payments (0.2);
                                                     call with Purdue regarding post-termination service payments
                                                     (0.7).
Consla, Dylan A.            09/24/19           1.6   Correspond with M. Pera regarding employee compensation
                                                     issues (0.3); discuss with E. Vonnegut and C. Robertson
                                                     regarding workstreams (0.3); call with K. Laurel regarding
                                                     incentive compensation programs (1.0).
Crandall, Jeffrey P.        09/24/19           0.3   Review plan audit executive expense issues.
Huebner, Marshall S.        09/24/19           1.1   Review of new docket entry from former employee (0.2) and
                                                     discussions and emails with Davis Polk team regarding fact
                                                     pattern (0.5); discussion with S. Brecher regarding CEO
                                                     compensation (0.3) and emails regarding employment issues
                                                     (0.1).
Pera, Michael               09/24/19           3.5   Revise and draft supplemental wages declaration (1.7);
                                                     precedent research in connection with same (0.3);
                                                     correspondence with Davis Polk team regarding same (0.4);
                                                     call with Purdue, AlixPartners and Davis Polk team regarding
                                                     employee programs (1.0); emails with AlixPartners regarding
                                                     same (0.1).
Vonnegut, Eli J.            09/24/19           1.6   Work on benefits questions from Purdue (0.6); discuss wages
                                                     Second Day Hearing with M. Huebner (0.3); work on wages
                                                     Second Day Hearing preparation (0.7).
Brecher, Stephen I.         09/25/19           4.0   Review separation agreement terms (0.2); call with J. Lowne
                                                     regarding CEO compensation (0.6); conference with J.
                                                     Crandall regarding Plan audits (0.4); call with Purdue
                                                     regarding Department of Labor audits (0.6); draft summary of
                                                     call with J. Lowne (0.8); correspondence regarding CEO
                                                     compensation (0.8); conference with J. Crandall and E. Turay
                                                     regarding 5500 filings (0.5); call with R. Aleali regarding 5500
                                                     filings (0.1).
Consla, Dylan A.            09/25/19           0.8   Correspond with U.S. Trustee's office regarding Creditors'
                                                     Committee formation venue (0.5); correspond with M. Geraci
                                                     regarding same (0.3).
Crandall, Jeffrey P.        09/25/19           2.2   Review Department of Labor plan audit issues, request (0.5);
                                                     calls with Purdue, S. Brecher (0.6); review 5500, tax issues
                                                     (0.7); meet with S. Brecher and E. Turay regarding IRS filings
                                                       52
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 66 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     (0. ).
Huebner, Marshall S.        09/25/19           0.5   Discussions regarding Second Day Hearing and resolution of
                                                     employee issue.
Turay, Edna                 09/25/19           0.3   Join meeting with S. Brecher and J. Crandall to discuss IRS
                                                     research assignment.
Vonnegut, Eli J.            09/25/19           1.0   Prepare for Second Day Hearing wages evidentiary
                                                     submissions (0.7); calls regarding payment issue (0.3).
Brecher, Stephen I.         09/26/19           0.8   Comments to Employee Q&As.
Consla, Dylan A.            09/26/19           0.8   Review email from C. DeStefano regarding incentive
                                                     programs (0.5); correspond with M. Pera regarding incentive
                                                     programs (0.3).
Crandall, Jeffrey P.        09/26/19           0.3   Review tax and IRS issues.
Pera, Michael               09/26/19           1.7   Review description of Purdue employee programs (0.4); email
                                                     D. Consla regarding same (0.2); review precedent
                                                     declarations (0.4); further review of employee program
                                                     description (0.4); email E. Vonnegut regarding same (0.3).
Turay, Edna                 09/26/19           4.3   Research on IRS deadline extension, penalties for late
                                                     submission, and submission without the independent qualified
                                                     public accountant's report (3.3); draft summary of findings for
                                                     J. Crandall and S. Brecher (1.0).
Vonnegut, Eli J.            09/26/19           0.5   Prepare for wages Second Day Hearing.
Brecher, Stephen I.         09/27/19           2.8   Research IRS issue (0.2); review documents regarding
                                                     incentive scorecard revision (0.2); call with R. Aleali regarding
                                                     scorecard (0.2); review summary regarding CEO taxes (0.2);
                                                     conference with J. Crandall, D. Consla and W. Curran
                                                     regarding CEO taxes (0.4); call with R. Aleali regarding IRS
                                                     filings (0.5); correspondence with J. Lowne regarding CEO
                                                     taxes (0.8); correspondence with J. DelConte regarding
                                                     Canada compensation reimbursement (0.2).
Chao, Daniel                09/27/19           0.5   Review U.S. Trustee objection to wages motion.
Consla, Dylan A.            09/27/19           1.6   Call regarding employee issues with S. Brecher and others
                                                     (0.4); review objection to wages motion from U.S. Trustee
                                                     (1.2).
Crandall, Jeffrey P.        09/27/19           1.4   Review pension issues (0.2); review IRS form issues (0.8);
                                                     meet with S. Brecher, D. Consla and W. Curran (0.4).
Curran, William A.          09/27/19           2.8   Analysis regarding compensation reporting (1.0); conference
                                                     with J. Crandall and others regarding same (0.4); analysis
                                                     regarding fringe benefits (1.0); correspondence with C.
                                                     Duggan regarding same (0.4).
Pera, Michael               09/27/19           1.1   Emails with E. Vonnegut regarding supplemental declaration
                                                     (0.2); call with D. Consla regarding same (0.2); emails with
                                                     AlixPartners regarding same (0.2); review U.S. Trustee
                                                     objection to wages motion (0.5).
Robertson,                  09/27/19           0.4   Review wages objection.
Christopher
Turay, Edna                 09/27/19           0.3   Phone call with S. Brecher and R. Aleali from Purdue Pharma
                                                     to discuss submission of IRS form.
Vonnegut, Eli J.            09/27/19           1.2   Emails regarding wages issues (0.3); work on supplementary
                                                     declaration for wages (0.3); work on wages Second Day
                                                     preparation (0.5); conference with S. Brecher regarding
                                                     incentive scorecard (0.1).
Pera, Michael               09/28/19           2.8   Review U.S. Trustee objection to wages motion (1.1);
                                                     research in connection with same (0.6); email to AlixPartners
                                                     regarding same (0.3); review wages diligence materials (0.8).
Brecher, Stephen I.         09/29/19           0.7   Call with J. Lowne regarding CEO taxes (0.5);
                                                     correspondence with J. Crandall regarding CEO taxes (0.2).
                                                       53
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 67 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Consla, Dylan A.            09/29/19           1.9   Correspond with S. Brecher regarding wages order issue
                                                     (0.4); review Willis Towers Watson materials (1.5).
Crandall, Jeffrey P.        09/29/19           0.4   Review tax and repayment issues.
McClammy, James I.          09/29/19           1.0   Review wages objections and First Day Hearing transcript
                                                     (0.9); conference with E. Townes regarding wages motion
                                                     (0.1).
Pera, Michael               09/29/19          11.8   Draft and revise supplemental declaration regarding wages
                                                     motion (8.7); research in connection with same (1.9); review
                                                     U.S. Trustee objection to same (0.7); emails with Davis Polk
                                                     team regarding same (0.3); review Willis Towers Watson
                                                     materials (0.2).
Vonnegut, Eli J.            09/29/19           3.2   Correspondence regarding wages Second Day Hearing with
                                                     Davis Polk team (0.3); review and analyze U.S. Trustee
                                                     objection to wages motion (1.7); review and comment on Willis
                                                     Towers materials on wages programs (0.8); emails regarding
                                                     news reports with respect to U.S. Trustee wages objections
                                                     (0.4).
Chao, Daniel                09/30/19           3.7   Prepare response to U.S. Trustee objection to wages motion.
Consla, Dylan A.            09/30/19           5.3   Review materials from Willis Towers Watson regarding
                                                     compensation issues (0.3); call with Willis Towers Watson
                                                     regarding compensation issues (1.0); meet with C. Robertson
                                                     and M. Pera regarding compensation issues (0.4); review and
                                                     comment on supplemental J. Lowne declaration (3.6).
Hwang, Eric                 09/30/19           6.7   Meet with M. Pera regarding wage motion (0.6); review
                                                     objection to wage motion and research precedent regarding
                                                     compensation plans (3.5); review supplemental declaration of
                                                     J. Lowne (0.3); prepare draft of reply brief for wage motion
                                                     (2.3).
McClammy, James I.          09/30/19           1.8   Review wages motion, objections and transcript (1.6);
                                                     telephone conference with E. Vonnegut regarding hearing and
                                                     response preparations (0.2).
Pera, Michael               09/30/19           9.6   Draft and revise supplemental declaration (3.6); call with Willis
                                                     Towers Watson regarding incentive plans (0.6); follow-up
                                                     correspondence with Davis Polk team regarding same (0.4);
                                                     meeting with E. Hwang regarding wages motion and related
                                                     issues (0.6); calls with D. Chao regarding research in
                                                     connection with reply in support of wages motion (0.6);
                                                     precedent research in connection with same (1.4); review and
                                                     revise supplemental declaration (0.3); email E. Vonnegut
                                                     regarding same (0.1); research in connection with reply (1.2);
                                                     prepare outline in connection with same (0.2); correspondence
                                                     with D. Consla and other team members regarding same
                                                     (0.6).
Robertson,                  09/30/19           1.3   Call with Willis Towers regarding wages motion (0.7); follow-
Christopher                                          up meeting with D. Consla, and M. Pera regarding wages
                                                     reply (0.4); follow-up emails with E. Vonnegut regarding
                                                     wages reply (0.2).
Townes, Esther C.           09/30/19           1.4   Attend telephone conference with J. McClammy regarding
                                                     wages motion (0.1); review docket for filings regarding same
                                                     (0.2); review J. Lowne declaration regarding same (0.1);
                                                     review wages motions (0.6); review U.S. Trustee objection
                                                     regarding same (0.4).
Vonnegut, Eli J.            09/30/19           3.5   Review and markup supplemental wages declaration (1.2);
                                                     work with Willis Towers on analysis and declaration regarding
                                                     wages (1.0); work on Second Day hearing wages issues (1.1);
                                                     confer with J. McClammy regarding Second Day Hearing and
                                                       54
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 68 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours    Narrative
                                                      wages motion reply (0.2).
Total PURD140                                 154.5
Employee/Pension Issues

PURD145 General Case Administration
Benedict, Kathryn S. 09/16/19                   9.5   Review and revise outlines for First Day hearing (5.8);
                                                      correspond with D. Mazer, Z. Levine, and others regarding
                                                      outlines for First Day hearing (0.8); teleconference with D.
                                                      Mazer regarding First Day hearing preparation (0.5);
                                                      correspond with B. Kaminetzky and E. Vonnegut regarding
                                                      First Day cross examination (0.6); prepare materials for First
                                                      Day cross examination of J. Lowne (1.8).
Cardillo, Garrett           09/16/19            0.3   Call with D. Mazer regarding First Day hearing.

Chao, Daniel                09/16/19            5.6   Prepare First Day talking points for First Day hearing (3.2);
                                                      prepare backup information for wages talking points motion
                                                      (1.3); research case management motion precedent (1.1).
Consla, Dylan A.            09/16/19           12.1   Correspond with C. Robertson regarding First Day preparation
                                                      workstreams (0.2); meet with S. Szanzer regarding Unsecured
                                                      Creditors' Committee formation meeting logistics (0.2);
                                                      correspond with A. Shimamura regarding same (0.2); revise
                                                      backup material on wages motion (3.4); call with U.S. Trustee
                                                      regarding First Day motions (1.0); draft revised proposed
                                                      critical vendors order (0.4); draft revised proposed customer
                                                      programs order (0.4); review data on compensation programs
                                                      (1.5); revise proposed cash management order (0.3); revise
                                                      utilities motion talking points (1.5); revise sureties motion
                                                      talking points (1.6); practice for First Day presentations (0.4);
                                                      review proposed First Day orders (1.0).
Giddens, Magali             09/16/19            8.4   File First Day motions (1.3); file joint administration motion in
                                                      each Debtor case (1.7); coordinate with litigation paralegals
                                                      regarding binders to Court and U.S. Trustee's office (2.6);
                                                      correspond with Z. Levine, C. Robertson and Managing
                                                      Attorney's office regarding filing agenda and notice of
                                                      commencement (0.3); coordinate standing order for transcripts
                                                      with Veritext transcription agency (0.1); coordinate providing
                                                      E. Vonnegut and C. Robertson with First Day hearing binder
                                                      (0.2); retrieve and send scanned versions of original director
                                                      signatures and correspondence with D. Zhang regarding same
                                                      (0.2); various correspondence and calls with chambers and
                                                      clerk's office regarding whether Court Call with handle
                                                      telephonic appearances for First Day hearing (0.3); arrange
                                                      listen only line with Court Call (0.1); coordinate paralegal
                                                      coverage with J. Hagen regarding First Day hearing (0.2);
                                                      correspond with designated paralegals regarding same (0.1);
                                                      review certain First Day Motions (1.2).
Hendin, Alexander J.        09/16/19            0.2   Review emails from M. Huebner and A. Shimamura regarding
                                                      bankruptcy filing.
Huebner, Marshall S.        09/16/19            8.7   Review of dozens of documents to prepare for First Day
                                                      presentation and multiple revisions to opening speech (6.3);
                                                      multiple emails with litigation counsel to confirm propriety of
                                                      various topics for First Day hearing (0.4); work on background
                                                      binders of materials and review of documents for hearing
                                                      (1.5); multiple calls and discussions with M. Kesselman
                                                      regarding various issues (0.5).
                                                        55
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 69 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Kaletka, Erich J            09/16/19           7.1   Prepare for First Day hearing, per D. Mazer (0.9); prepare
                                                     materials for First Day hearing, per K. Benedict (3.9); call with
                                                     D. Mazer regarding hearing preparation (0.3); prepare table of
                                                     authorities per E. Townes (1.2); prepare exhibits for filing per
                                                     E. Townes (0.8).
Kaminetzky,                 09/16/19           4.8   Correspond with M. Huebner, E. Vonnegut, J. Lowne and M.
Benjamin S.                                          Kesselman regarding First Day motions and strategy (0.7);
                                                     prepare for contested hearing and testimony (3.5); correspond
                                                     with K. Benedict regarding witness preparation (0.6).
Levine, Zachary             09/16/19          13.8   Revise First Day hearing agenda (0.5); revise notice of
                                                     commencement (0.6); revise electronic device order (0.4);
                                                     arrange for filing of agenda and notice of commencement
                                                     (0.3); prepare various hearing preparation-related materials
                                                     (3.3); teleconference with D. Mazer regarding First Day
                                                     hearing logistics (0.3); coordinate regarding conference space
                                                     for use in connection with First Day hearing (0.9); emails
                                                     concerning conflicts (0.3); arrange for dial-in for hearing (0.3);
                                                     arrange for printing of various materials in connection with
                                                     hearing (1.9); arrange for delivery of materials to White Plains
                                                     (0.7); prepare additional hearing preparation materials (2.7);
                                                     research regarding wages motion and related issues (1.6).
Mazer, Deborah S.           09/16/19          14.7   Correspond with M. Clarens regarding First Day speech (0.2);
                                                     teleconference with E. Kaletka regarding First Day hearing
                                                     preparation (0.3); correspond with D. Rubin regarding First
                                                     Day hearing (0.1); teleconference with G. Cardillo regarding
                                                     hearing preparation (0.3); correspond with G. McCarthy
                                                     regarding First Day hearing preparation (0.1); teleconference
                                                     with K. Benedict regarding hearing preparation (0.5);
                                                     teleconference with Z. Levine regarding hearing logistics (0.3);
                                                     draft materials for First Day hearing (10.3); draft First Day
                                                     Speech and prepare for hearing with M. Huebner (2.6).
McClammy, James I.          09/16/19           2.4   Emails with Davis Polk team regarding surety bond issue.
Robertson,                  09/16/19          13.6   Review notice of commencement (0.2); review First Day
Christopher                                          hearing agenda (0.2); coordinate filing of notice of
                                                     commencement and First Day hearing agenda (0.5);
                                                     coordinate logistics for First Day hearing (0.6); emails with
                                                     Prime Clerk regarding notice issues (0.3); prepare for First
                                                     Day presentations (11.8).
Shimamura,                  09/16/19           5.4   Prepare talking points for First Day hearing.
Alexander K.B.
Smyth, Paul                 09/16/19           1.5   Delivery submission binders to U.S. Trustee.

Vonnegut, Eli J.            09/16/19          16.5   Prepare for First Day hearing.
Benedict, Kathryn S.        09/17/19           4.4   Discuss and analyze First Day hearing with clients after
                                                     hearing (0.8); attend First Day hearing (3.6).
Chao, Daniel                09/17/19           5.5   Telephonically attend parts of First Day hearing (3.4); prepare
                                                     proposed First Day orders for entry (2.1).
Consla, Dylan A.            09/17/19           9.9   Meet with Davis Polk restructuring and litigation teams as final
                                                     preparations for First Day hearing (1.8); partially attend First
                                                     Day hearing (3.0); revise First Day orders per relief granted at
                                                     First Day hearing in coordination with C. Robertson and Z.
                                                     Levine (3.9); review and comment on summary of First Day
                                                     hearing for clients (0.4); correspondence with J. Lowne
                                                     regarding authority under First Day orders for vendor payment
                                                     (0.8).
DiMola, Stephen V.          09/17/19           0.5   Prepare to submit Purdue bankruptcy case.
                                                       56
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 70 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Giddens, Magali             09/17/19           7.4   Prepare for First Day hearing (2.2) and attend First Day
                                                     hearing (4.0); correspond with E. Vonnegut and call with court
                                                     clerk regarding clerk's entry of motion to extend time to file
                                                     schedules in associated debtor cases (0.2); electronically file
                                                     same in remaining 22 cases (0.9); review research article
                                                     regarding First Day hearing (0.1).
Hendin, Alexander J.        09/17/19           2.5   Telephonically attend parts of First Day hearing (2.4);
                                                     correspondence with A. Shimamura regarding filings (0.1).
Huebner, Marshall S.        09/17/19           9.5   Final preparation for First Day hearing including reviewing all
                                                     background materials and revising speech (3.3); attend First
                                                     Day hearing, and preparation meetings (4.2); review and reply
                                                     to multiple urgent emails and calls regarding entry into
                                                     Chapter 11 issues and crises (0.6); call and discussions with
                                                     M. Kesselman regarding various questions (1.4).
Knudson, Jacquelyn          09/17/19           0.9   Partially attend First Date hearing via teleconference.
Swanner
Lele, Ajay B.               09/17/19           1.0   First Day hearing coverage for mergers and acquisitions team.
Levine, Zachary             09/17/19           9.6   Review docket with respect to material filings (0.3); review
                                                     press release (0.2); emails with M. Huebner concerning
                                                     creditor list (0.1); print and compile materials in advance of
                                                     hearing (0.9); attend First Day hearing (3.5); revise suggestion
                                                     of bankruptcy form (0.5); prepare summary of First Day
                                                     hearing (3.3); review and comment on updated proposed First
                                                     Day orders (0.8).
Lutchen, Alexa B.           09/17/19           1.9   Attend First Day hearing via teleconference.
Mazer, Deborah S.           09/17/19           6.2   Prepare for First Day hearing (1.4); attend First Day hearing in
                                                     person (3.8); summarize notes on same (1.0).
McClammy, James I.          09/17/19           5.5   Prepare for First Day hearing (2.0); attend same (3.5).
Milstein, Adi               09/17/19           4.0   Arrive early, prepare for, and attend First Day hearing.
Reck, Nick                  09/17/19           4.3   Attend First Day hearing telephonically (2.0); review First Day
                                                     filings (1.1); review recent press filings related to Purdue
                                                     bankruptcy (1.2).
Robertson,                  09/17/19          11.8   Prepare for First Day hearing presentation (2.8); attend First
Christopher                                          Day hearing in person (4.0); revise forms of orders and
                                                     coordinate granting of First Day relief (5.0).
Rudewicz, Daniel            09/17/19           6.4   Research wages precedent for talking points (0.8); correspond
                                                     with E. Vonnegut regarding same (0.1); prepare for First Day
                                                     hearing (2.8); partially attend same telephonically (2.7).
Shimamura,                  09/17/19           5.1   Prepare materials for potential issues at First Day hearing
Alexander K.B.                                       (1.6); attend First Day hearing via teleconference (3.4).
Taylor, William L.          09/17/19           0.7   Prepare for First Day hearing.
Tobak, Marc J.              09/17/19           4.1   Prepare for First Day hearing (0.5); attend First Day hearing
                                                     (3.6).
Vonnegut, Eli J.            09/17/19           8.4   Prepare for First Day hearing (4.4); attend same (4.0).
Young, Ryan                 09/17/19           5.8   Prepare for First Day hearing as per M. Giddens.
Chao, Daniel                09/18/19           3.5   Prepare case calendar (2.0); prepare draft of notice of utilities
                                                     supplement (0.9); review First Day Orders as entered (0.6).
Consla, Dylan A.            09/18/19           5.0   Correspond with G. Cardillo regarding indemnity payment
                                                     issues (0.2); meet with C. Robertson regarding upcoming
                                                     workstreams (0.4); meet with M. Huebner, E. Vonnegut, and
                                                     others regarding upcoming deadlines and workstreams (0.8);
                                                     correspond with M. Hartley regarding utilities motion
                                                     supplement (0.6); coordinate with D. Chao regarding
                                                     preparation of utilities motion supplemental notice (0.3);
                                                     review First Day Orders entered on docket (0.8); review and
                                                     revise utilities order supplemental notice (0.7); review dockets
                                                       57
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 71 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     (0.6); circulate First Day Orders to M. Kesselman and other
                                                     clients (0.3); circulate Second Day agenda to co-advisors
                                                     (0.3).
Giddens, Magali             09/18/19           2.3   Attend workstreams meeting with restructuring team (0.8);
                                                     calls and correspondence with Veritext regarding status of
                                                     First Day hearing transcript (0.2); correspondence with E.
                                                     Vonnegut, D. Consla and B. Kamenitsky regarding same (0.2);
                                                     review First Day Orders (1.1).
Huebner, Marshall S.        09/18/19           2.4   Calls with Sackler family counsel regarding various issues
                                                     (0.7); team meeting regarding hearing calendar, workstream
                                                     lists and related matters (0.8); several calls with M. Kesselman
                                                     to coordinate on multiple issues (0.9).
Jackson Jr., Ahmad          09/18/19           2.1   Search for and print the copies of Purdue petitions to be
                                                     certified at court (1.0); get 24 Purdue Petitions certified at
                                                     Court (1.1).
Levine, Zachary             09/18/19           4.8   Attend workstreams meeting with Davis Polk restructuring
                                                     team (0.5); conference with C. Robertson regarding
                                                     workstreams (0.3); emails concerning workstreams chart and
                                                     case calendar with D. Chao and A. Shimamura (0.9);
                                                     coordination regarding case calendar with D. Chao (0.2); draft
                                                     email concerning committee formation meeting (0.7); draft
                                                     notice of Second Day Hearing (1.3); coordinate regarding filing
                                                     of notice of Second Day Hearing (0.9).
Robertson,                  09/18/19           2.6   Email to chambers regarding forms of order (0.3); coordinate
Christopher                                          Second Day Hearing time (0.3); discuss workstreams with Z.
                                                     Levine (0.3); follow-up email regarding forms of orders (0.1);
                                                     email to D. Consla and Z. Levine regarding docket monitoring
                                                     (0.1); emails with Prime Clerk regarding erroneous docket
                                                     entries (0.1); emails with E. Vonnegut regarding First Day
                                                     Orders (0.2); discuss ongoing workstreams and next steps
                                                     with D. Consla (0.4); call with Prime Clerk regarding noticing
                                                     issues (0.2); emails with D. Consla regarding Willis Towers
                                                     report (0.4); emails with D. Consla regarding communications-
                                                     related workstreams (0.5).
Shimamura,                  09/18/19           0.9   Review new docket filings and route to the Davis Polk team
Alexander K.B.                                       (0.5); email correspondence to T. Horley regarding
                                                     workstreams chart (0.1); email correspondence to D. Forester
                                                     regarding same (0.1); email correspondence to S. Brecher
                                                     regarding same (0.1); email correspondence to D. Zhang
                                                     regarding same (0.1).
Smyth, Paul                 09/18/19          12.5   Prepare all documents, including the complaint and
                                                     associated exhibits, for filing in adversary proceeding against
                                                     multiple defendants.
Strauss, Steven             09/18/19           0.9   Review First Day Orders and filings.
Vonnegut, Eli J.            09/18/19           1.7   Davis Polk team meeting on next steps (0.7); coordinate forms
                                                     of order for First Day relief (0.8); review draft hearing notice
                                                     (0.1).
Wolfgang, Katelyn           09/18/19           3.4   Review wages motion, interim order, related portion of First
Trionfetti                                           Day hearing transcript, and relevant case law.
Benedict, Kathryn S.        09/19/19           0.3   Revise case management materials.
Chao, Daniel                09/19/19           1.5   Review administrative orders filed by court (0.4); research
                                                     regarding automatic stay applications to surety bonds (1.1).
Consla, Dylan A.            09/19/19           3.8   Review First Day hearing transcript (1.5); call with U.S.
                                                     Trustee regarding creditor matrix order (0.2); draft proposed
                                                     revisions to creditor matrix order (0.5); draft email to U.S.
                                                     Trustee regarding same (0.3); correspond with M. Huebner
                                                       58
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 72 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     and E. Vonnegut regarding email to U.S. Trustee (0.4); call
                                                     with J. Lowne regarding Creditors' Committee formation
                                                     meeting (0.4); call with E. Vonnegut and C. Robertson
                                                     regarding workstreams (0.5).
Giddens, Magali             09/19/19           2.8   Work on order, filing, review and other case management
                                                     items.
Levine, Zachary             09/19/19           4.0   Emails regarding section 341 notice (0.2); prepare case
                                                     calendar (3.8).
Robertson,                  09/19/19           0.5   Call with E. Vonnegut and D. Consla regarding workstreams
Christopher                                          arising out of First Day hearing and related matters.
Shimamura,                  09/19/19           1.7   Email correspondence with Z. Levine regarding final orders for
Alexander K.B.                                       Second Day hearing (0.2); prepare final orders for Second
                                                     Day hearing (0.3); email correspondence with T. Horley
                                                     regarding workstreams chart (0.1); email correspondence with
                                                     D. Zhang regarding same (0.1); email correspondence with D.
                                                     Forester regarding same (0.1); email correspondence with S.
                                                     Brecher regarding same (0.1); prepare workstreams chart
                                                     (0.8).
Vonnegut, Eli J.            09/19/19           1.5   Emails and calls regarding finalizing schedules order
                                                     regarding individual personal information suppression (1.0);
                                                     teleconference regarding workstreams with C. Robertson and
                                                     D. Consla (0.5).
Chao, Daniel                09/20/19           2.2   Review administrative orders filed (1.2); prepare summary of
                                                     employee benefits programs and wages (1.0).
Consla, Dylan A.            09/20/19           4.5   Correspond with C. Robertson regarding U.S. Trustee
                                                     questions (0.8); review draft counterparty term sheet (1.0); call
                                                     with M. Gracci regarding Creditors' Committee formation
                                                     meeting security issues (0.4); correspond with Davis Polk
                                                     events team and M. Gracci regarding Creditors' Committee
                                                     formation meeting security issues (0.8); correspond with J.
                                                     DelConte regarding preparation of schedules (0.6);
                                                     correspond with D. Chao regarding ordinary course
                                                     professionals motion preparation (0.6); correspond with U.S.
                                                     Trustee regarding Creditors' Committee formation meeting
                                                     security issues (0.3).
Giddens, Magali             09/20/19           1.6   Work on case administration issues.
Huebner, Marshall S.        09/20/19           0.4   Calls with E. Vonnegut and emails with U.S. Trustee regarding
                                                     various interim order issues.
Levine, Zachary             09/20/19           1.3   Revise case calendar (0.3); revise settlement section of
                                                     workstreams chart (0.2); review email correspondence from
                                                     Davis Polk restructuring team regarding workstreams (0.8).
Robertson,                  09/20/19           4.0   Emails with chambers and U.S. Trustee regarding First Day
Christopher                                          orders (1.4); correspond regarding ongoing workstreams with
                                                     Davis Polk restructuring team (0.3); review diligence regarding
                                                     investment accounts and coordinate follow-up information
                                                     requests from clients (1.2); call with R. Aleali and D. Consla
                                                     regarding ordinary course professionals motion (0.4); review
                                                     and update case calendar (0.5); email to E. Vonnegut
                                                     regarding company credit card agreement (0.2).
Shimamura,                  09/20/19           4.3   Email correspondence with C. Robertson regarding
Alexander K.B.                                       workstreams chart (0.2); email correspondence with E.
                                                     Vonnegut regarding same (0.2); prepare workstreams chart
                                                     (0.8); email correspondence with C. Robertson regarding First
                                                     and Second Day status chart (0.2); email correspondence with
                                                     D. Consla regarding same (0.1); email correspondence with Z.
                                                     Levine regarding same (0.1); prepare First and Second Day
                                                       59
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 73 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     status chart (1.1); email correspondence with Z. Levine
                                                     regarding final orders for Second Day hearing (0.1); email
                                                     correspondence with D. Consla regarding same (0.1); prepare
                                                     final orders for Second Day hearing (1.4).
Vonnegut, Eli J.            09/20/19           0.9   Work on Davis Polk staffing and workstream coordination
                                                     (0.6) emails regarding harm reduction agreement (0.2); emails
                                                     regarding sublease question (0.1).
Young, Ryan                 09/20/19           0.7   Download and save files for project as per E. Kim.
Consla, Dylan A.            09/21/19           2.7   Review and revise proposed final First Day orders (1.8);
                                                     review workstreams chart (0.2); correspond with M. Huebner
                                                     regarding schedules issue (0.2); coordinate preparation of
                                                     draft notice of presentment by A. Shimamura (0.5).
Levine, Zachary             09/21/19           0.2   Emails with D. Consla and Brown Rudnick regarding final First
                                                     Day Orders.
Vonnegut, Eli J.            09/21/19           0.1   Emails with counterparty regarding insurance order.
Huebner, Marshall S.        09/22/19           0.4   Discussion with M. Kesselman regarding various topics and
                                                     upcoming events.
Vonnegut, Eli J.            09/22/19           0.3   Workstream review and coordination.
Benedict, Kathryn S.        09/23/19           0.2   Review and revise case organizational materials.
Chao, Daniel                09/23/19           5.3   Review notices of appearances and Rule 2019 statements
                                                     (1.1); correspond with E. Vonnegut, M. Pera, D. Consla, Z.
                                                     Levine regarding preparation for Second Day hearing (0.9);
                                                     prepare supplemental declaration for wages motion (3.2).
Consla, Dylan A.            09/23/19           1.8   Review Rule 2019 statements on docket (0.6); review general
                                                     liability insurance proposal (1.2).

Fennelly, Colin             09/23/19           2.1   Prepare PDF portfolio, table of contents, and binders of the
                                                     settlement communications background materials.
Huebner, Marshall S.        09/23/19           2.0   Emails with party in interest regarding formation meeting (0.1);
                                                     review and reply to multiple miscellaneous emails (0.7); calls
                                                     with M. Kesselman regarding multiple pending matters (1.2).
Robertson,                  09/23/19           3.4   Call with R. Aleali regarding insurance issues (0.2); call with
Christopher                                          C. Ricarte, A. Kramer and S. Pudell regarding insurance
                                                     question (0.8); call with F. Swibel regarding product liability
                                                     policy (0.3); review insurance proposal and related materials
                                                     (0.7); correspond with E. Vonnegut regarding insurance-
                                                     related issues (0.5); coordinate entry of revised order (0.1);
                                                     coordinate diligence regarding investment accounts (0.6);
                                                     correspond with D. Consla regarding process and next steps
                                                     on various workstreams (0.2).
Shimamura,                  09/23/19           1.8   Review and route new docket filings (0.6); prepare
Alexander K.B.                                       workstreams chart (0.6); email correspondence with E.
                                                     Vonnegut regarding reviewing and routing new docket filings
                                                     (0.2); email correspondence with M. Pera regarding
                                                     workstreams chart (0.2).
Tobak, Marc J.              09/23/19           3.0   Conference with M. Kesselman and Davis Polk team
                                                     regarding case strategy (2.1); prepare for same (0.2);
                                                     correspond with J. Knudson regarding revisions to
                                                     presentation for same (0.2); outline case strategy issues (0.5).
Vonnegut, Eli J.            09/23/19           1.3   Emails and calls regarding insurance issues (0.4); emails
                                                     regarding upcoming hearings and workstreams with Davis
                                                     Polk team (0.9).
Benedict, Kathryn S.        09/24/19           1.0   Review and revise case organizational materials (0.1); review
                                                     workstreams materials ahead of full team organizational
                                                     meeting (0.2); attend organizational team meeting with Davis
                                                     Polk restructuring and litigation workstreams (0.7).
                                                       60
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 74 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Chao, Daniel                09/24/19           0.7   Meeting with Davis Polk team regarding workstreams update.
Chen, Bonnie                09/24/19           0.5   Partially attend weekly internal status meeting.
Consla, Dylan A.            09/24/19           3.3   Meet with Davis Polk restructuring, litigation, corporate,
                                                     intellectual property and executive compensation teams
                                                     regarding workstreams review (0.7); meet with E. Vonnegut
                                                     and C. Robertson regarding workstreams (0.5); review
                                                     workstreams chart (0.3); prepare draft notice of docketing
                                                     proposed final order (0.5); comment on draft lease of premises
                                                     (1.3).

Diggs, Elizabeth R.         09/24/19           0.5   Join weekly Davis Polk internal workstreams conference call.


Huebner, Marshall S.        09/24/19           0.4   Call with E. Vonnegut regarding multiple matters.
Levine, Zachary             09/24/19           0.7   Attend workstreams meeting with full Davis Polk team.
Lutchen, Alexa B.           09/24/19           0.7   Attend team meeting across workstreams.
McClammy, James I.          09/24/19           0.6   Conference with Davis Polk team regarding status updates,
                                                     next steps.
Pera, Michael               09/24/19           1.2   Review and revise workstreams chart (0.5); all-hands meeting
                                                     with Davis Polk team (0.7).
Robertson,                  09/24/19           4.6   Call with B. Masumoto regarding cash management (0.5);
Christopher                                          conduct follow-up diligence regarding investment accounts
                                                     (1.8); call with J. DelConte regarding various workstreams
                                                     (0.2); meet with D. Consla regarding outstanding workstreams
                                                     (0.3); call with R. Aleali regarding status of First Day orders
                                                     and matters to be heard at Second Day Hearing (0.5); all-
                                                     hands workstreams meeting (0.7); follow-up meeting with E.
                                                     Vonnegut and D. Consla (0.6).
Shimamura,                  09/24/19           1.8   Email correspondence with M. Pera regarding workstreams
Alexander K.B.                                       chart (0.2); email correspondence with C. Robertson regarding
                                                     same (0.2); email correspondence with E. Diggs regarding
                                                     same (0.1); email correspondence with T. Horley regarding
                                                     same (0.1); email correspondence with D. Forester regarding
                                                     same (0.1); email correspondence with S. Brecher regarding
                                                     same (0.1); prepare workstreams chart (1.0).
Taylor, William L.          09/24/19           0.5   Attend weekly meeting with Davis Polk team.
Tobak, Marc J.              09/24/19           0.8   Attend weekly call with team regarding next steps, ongoing
                                                     Chapter 11 projects (0.7); correspondence with Z. Levine
                                                     regarding due diligence requests (0.1).
Vonnegut, Eli J.            09/24/19           1.7   Meeting with C. Robertson and D. Consla regarding general
                                                     workstream coordination and staffing (0.6); all-hands team
                                                     planning meeting (0.7); call with M. Huebner regarding various
                                                     issues (0.4).
Consla, Dylan A.            09/25/19           3.5   Correspond with J. Goodman regarding same (0.3);
                                                     correspond M. Pera and Z. Levine regarding diligence
                                                     materials (0.5); correspond with M. Pera regarding diligence
                                                     materials (0.6); review diligence request and proposed
                                                     response categories (1.2); review case management
                                                     procedures (0.4); review docket entries (0.4).

Giddens, Magali             09/25/19           1.1   Review docket and certain pleadings (0.9); prepare task list
                                                     regarding Second Day hearing (0.2).
Huebner, Marshall S.        09/25/19           0.8   Review and reply to many miscellaneous emails and inquiries
                                                     (0.7); calls with J. Lowne and M. Kesselman regarding
                                                     multiple matters (0.8).
Robertson,                  09/25/19           4.0   Call with counsel to insurance counterparty (0.4); review and
                                                       61
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 75 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Christopher                                          revise insurance order to address counterparty comments
                                                     (0.9); discuss same with E. Vonnegut (0.3); follow-up emails
                                                     with counsel to insurance counterparty (0.3); review
                                                     comments to insurance order from counsel to same(0.2);
                                                     discuss issues relating to Second Day hearing with J.
                                                     DelConte (0.7); call with Prime Clerk regarding noticing issues
                                                     (0.1); further revise insurance order (1.1).
Vonnegut, Eli J.            09/25/19           0.3   Discuss counterparty comments to insurance order with C.
                                                     Robertson (0.3).
Consla, Dylan A.            09/26/19           0.3   Review email from C. DeStefano regarding incentive
                                                     programs (0.5); correspond with M. Pera regarding incentive
                                                     programs (0.3); correspond with E. Hwang regarding
                                                     workstreams (0.3); revise draft communications materials from
                                                     public relations firm (1.0).
Giddens, Magali             09/26/19           2.0   Electronically file ordinary course professionals motion (0.4);
                                                     correspond with Prime Clerk regarding service (0.2); review
                                                     ordinary course professionals Motion (0.4); review deposition
                                                     transcript (1.0).
Huebner, Marshall S.        09/26/19           0.7   Review and reply to several dozen emails on variety of topics.
Ismail, Mohamed Ali         09/26/19           3.4   Prepare litigation documents for attorney review as per Z.
                                                     Kaufman.
Levine, Zachary             09/26/19           1.8   Revise ordinary course professionals motion (1.4); revise
                                                     proposed final insurance order (0.4).
Robertson,                  09/26/19           3.0   Email to E. Vonnegut regarding outstanding workstreams
Christopher                                          (0.2); call with chambers regarding upcoming hearing dates
                                                     (0.1); correspond with Z. Levine regarding investment
                                                     agreement diligence (0.1); review and revise insurance order
                                                     (2.6).
Vonnegut, Eli J.            09/26/19           0.2   General workstream coordination.
Benedict, Kathryn S.        09/27/19           0.5   Review and revise case organizational materials.
Giddens, Magali             09/27/19           1.1   Review dockets, pleadings and correspondence.
Levine, Zachary             09/27/19           0.2   Conference with C. Robertson regarding omnibus hearing
                                                     dates (0.1); correspond with C. Robertson regarding
                                                     workstreams (0.1).
Pera, Michael               09/27/19           1.1   Review and revise workstreams chart (0.8); emails with Davis
                                                     Polk team members regarding same (0.2); email to Purdue
                                                     regarding same (0.1).
Robertson,                  09/27/19           2.0   Review and revise workstreams chart prior to sending to
Christopher                                          Purdue (0.5); review comments to insurance order (0.2);
                                                     emails with K. Benedict regarding audited financials (0.2);
                                                     review investment guidelines and related diligence materials
                                                     (0.8); emails with clients regarding investment accounts (0.3).
Shimamura,                  09/27/19           1.6   Prepare workstreams chart (0.8); email correspondence with
Alexander K.B.                                       E. Vonnegut regarding workstreams chart (0.1); email
                                                     correspondence with M. Pera regarding same (0.1); email
                                                     correspondence with C. Robertson regarding same (0.1);
                                                     email correspondence with E. Diggs regarding same (0.1);
                                                     email correspondence with S. Brecher regarding same (0.1);
                                                     email correspondence with D. Forester regarding same (0.1);
                                                     review and route new docket filings (0.2).
Tobak, Marc J.              09/27/19           0.7   Review draft financial statement (0.4); conference with C.
                                                     Robertson regarding same (0.3).
Vonnegut, Eli J.            09/27/19           0.3   General workstream coordination.
Huebner, Marshall S.        09/28/19           2.7   Discussions with M. Kesselman and others regarding wide
                                                     variety of matters and upcoming meetings and hearings (2.1);
                                                     review and reply to emails regarding miscellaneous matters
                                                       62
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 76 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours    Narrative
                                                      (0.6).
Huebner, Marshall S.        09/29/19            0.3   Call with J. Lowne regarding multiple topics.
Levine, Zachary             09/29/19            0.7   Emails with Davis Polk team and vendor regarding reservation
                                                      of conference space for hearings at Bankruptcy Court.
Robertson,                  09/29/19            0.2   Email to E. Vonnegut regarding market research proposal.
Christopher
Benedict, Kathryn S.        09/30/19            0.2   Correspond with travel department regarding hotel
                                                      arrangements for preliminary injunction team.
Consla, Dylan A.            09/30/19            0.8   Correspond with C. Duggan and E. Vonnegut regarding
                                                      privilege issues.
Giddens, Magali             09/30/19            1.3   Review deposition transcript.
Robertson,                  09/30/19            1.0   Coordinate investment account diligence (0.6); call with B.
Christopher                                           Masumoto regarding investment accounts (0.3); email to J.
                                                      DelConte regarding U.S. Trustee diligence information (0.1).
Vonnegut, Eli J.    09/30/19                    0.3   Coordinate U.S. Trustee diligence.
Total PURD145 General Case                    397.8
Administration

PURD150 Non-DPW Retention and Fee Issues
Levine, Zachary   09/18/19              3.2           Research concerning professional retention issues (1.4);
                                                      prepare materials concerning professional retention (1.8).
Robertson,                  09/18/19            1.1   Call with R. Aleali regarding ordinary course professionals
Christopher                                           (0.2); review ordinary course professional talking points (0.5);
                                                      emails to co-professionals regarding retentions (0.4).
Levine, Zachary             09/19/19            2.3   Review precedents with respect to procedures relating to
                                                      retention application filing, as well as emails regarding same
                                                      (0.9); review and revise PJT Partners retention application
                                                      (1.4).
Robertson,                  09/19/19            2.0   Prepare overview of retention and ordinary course
Christopher                                           professional process for R. Aleali.
Vonnegut, Eli J.            09/19/19            0.3   Emails regarding ordinary course professionals retention with
                                                      R. Aleali and C. Robertson.
Chao, Daniel                09/20/19            2.0   Research on ordinary course professionals fee cap.
Consla, Dylan A.            09/20/19            0.4   Call with R. Aleali and C. Robertson regarding ordinary course
                                                      professionals motion.
Levine, Zachary             09/20/19            0.9   Research regarding accounting firm retentions in chapter 11
                                                      (0.8); email with C. Robertson regarding retention issues (0.1)
Robertson,                  09/20/19            0.7   Call with R. Aleali regarding retention issues (0.6); call with R.
Christopher                                           Aleali regarding Ernst & Young retention (0.1).
Chao, Daniel                09/23/19            0.8   Review precedents for ordinary course professionals motion
                                                      fee caps (0.4); prepare ordinary course professionals motion
                                                      (0.4).
Consla, Dylan A.            09/23/19            0.6   Correspond with C. Robertson regarding ordinary course
                                                      professionals motion (0.3); revise ordinary course
                                                      professionals motion (0.3).
Robertson,                  09/23/19            0.2   Emails to co-professionals regarding retention issues.
Christopher
Chao, Daniel                09/24/19            1.1   Prepare ordinary course professionals motions.
Consla, Dylan A.            09/24/19            1.0   Review and revise ordinary course professionals motion.
Robertson,                  09/24/19            2.7   Call with R. Smith regarding retention issues (0.3); review and
Christopher                                           revise ordinary course professionals motion and related filings
                                                      (2.4).
Chao, Daniel                09/25/19            1.3   Prepare ordinary course professionals motion.
Consla, Dylan A.            09/25/19            0.9   Revise ordinary course professionals motion.
Pera, Michael               09/25/19            1.4   Call with C. Robertson regarding ordinary course
                                                        63
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 77 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     professionals motion (0.4); review same (0.3); precedent
                                                     research in connection with same (0.4); revise same (0.3).
Robertson,                  09/25/19           1.5   Discuss ordinary course professionals motion with M. Pera
Christopher                                          (0.4); emails with the company and U.S. Trustee regarding
                                                     same (0.8); discuss same with C. MacDonald (0.3).
Robertson,                  09/26/19           1.5   Multiple calls with C. MacDonald regarding ordinary course
Christopher                                          professionals motion (1.1); call with ordinary course
                                                     professional regarding process (0.2); coordinate finalization
                                                     and filing of motion (0.2).
Vonnegut, Eli J.            09/26/19           0.6   Review and comment on ordinary course professionals
                                                     motion.
Vonnegut, Eli J.            09/30/19           0.5   Discuss ordinary course professionals retention question with
                                                     Davis Polk team and R. Aleali.
Total PURD150 Non-DPW                         27.0
Retention and Fee Issues

PURD155 Non-Working Travel
Graulich, Timothy    09/16/19                  0.8   Travel to Westchester
Mazer, Deborah S.    09/16/19                  1.3   Travel in preparation for First Day hearing.
Benedict, Kathryn S. 09/17/19                  1.1   Drive to White Plains for First Day hearing prep and hearing
                                                     (0.9); drive to New York City from White Plains (1.3).
Consla, Dylan A.            09/17/19           0.5   Return from White Plains.
Giddens, Magali             09/17/19           1.3   Travel to First Day hearing (1.4); travel from First Day hearing
                                                     to office (1.2).
Graulich, Timothy           09/17/19           0.6   Travel back to New York City from First Day hearing.
Kaminetzky,                 09/17/19           0.5   Travel from White Plains court to Manhattan office.
Benjamin S.
Levine, Zachary             09/17/19           1.2   Travel to and from First Day hearing in White Plains
Mazer, Deborah S.           09/17/19           0.4   Travel from White Plains to New York office.
McClammy, James I.          09/17/19           1.7   Travel to and from First Day hearing.
Milstein, Adi               09/17/19           1.0   Travel to and back from First Day hearing.
Rudewicz, Daniel            09/17/19           0.2   Travel from First Day hearing.
Shimamura,                  09/17/19           1.2   Travel to White Plains for the First Day hearing (1.4); Travel
Alexander K.B.                                       from White Plains back to Davis Polk (1.0)
Tobak, Marc J.              09/17/19           0.5   Travel to office from First Day hearing
Vonnegut, Eli J.            09/17/19           0.3   Travel back to office from First Day hearing.
Robertson,                  09/18/19           2.5   Travel to Toronto for Canadian proceeding hearing.
Christopher
Jackson Jr., Ahmad          09/19/19           0.5   Round trip travel to Court for M. Giddens regarding certified
                                                     copy of foreign representative order.
Robertson,         09/19/19                    2.5   Return travel from Canadian proceeding hearing.
Christopher
Total PURD155 Non-Working                     18.1
Travel

PURD160 Support Agreement/Plan/Disclosure Statement
Consla, Dylan A.     09/27/19           0.3 Meet with Z. Levine regarding Restructuring Support
                                              Agreement issues (0.3).
Levine, Zachary      09/27/19           0.3 Conference with D. Consla regarding Restructuring Support
                                              Agreement.
Robertson,           09/30/19           0.2 Review current term sheet.
Christopher
Total PURD160 Support                   0.8
Agreement/Plan/Disclosure

                                                       64
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 78 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Statement

PURD165 DPW Retention/Preparation of Fee Statements/Applications Budget
Shimamura,            09/16/19           1.2 Prepare conflicts summary chart (0.8); revise parties in
Alexander K.B.                                interest list in M. Huebner's declaration for the Davis Polk
                                              retention application (0.4)
Giddens, Magali       09/18/19           1.0 Correspond with E. Vonnegut regarding sending client matter
                                              email to all time keepers (0.1); review and check list of same,
                                              retrieve all emails and transfer to Word document for E.
                                              Vonnegut to insert (0.8); follow-up correspondence regarding
                                              same (0.1).
Levine, Zachary       09/18/19           0.8 Review Bankruptcy Rules, Local Rules and Case
                                              Management Procedures concerning filing of retention
                                              applications.
Giddens, Magali       09/25/19           1.3 Review billing guidelines, email to time keepers and prepare
                                              time plan regarding preparing fee statement.
Giddens, Magali       09/27/19           0.1 Request billing detail.
Giddens, Magali       09/28/19           1.2 Review and prepare billing detail.
Total PURD165 DPW                        5.6
Retention/Preparation of Fee
Statements/Applications Budget

PURD170 IP, Regulatory and Tax
Bauer, David R.      09/16/19                  0.9   Provide comments regarding summary of intellectual property
                                                     review (0.5); discussions with B. Chen and D. Forester
                                                     regarding same (0.4).
Chen, Bonnie                09/16/19           0.9   Draft Intellectual Property summary points for restructuring
                                                     team (0.5); discuss same with D. Bauer and D. Forester (0.4).
Forester, Daniel F.         09/16/19           2.6   Discuss intellectual property summaries with D. Bauer and B.
                                                     Chen (0.4); preparation of draft bullets regarding intellectual
                                                     property summaries (1.3); revise to draft bullets (0.9).
Frankel, Jay                09/16/19           0.1   Review certain patent assignment.
Bauer, David R.             09/17/19           0.9   Call with R. Inz and D. Forester regarding Purdue question
                                                     pertaining to potential patent assignment (0.5); correspond
                                                     with A. Lele regarding same (0.2); review emails regarding
                                                     Purdue question pertaining to intellectual property litigation
                                                     (0.2).
Forester, Daniel F.         09/17/19           4.2   Review First Day hearing transcript (2.9); teleconference with
                                                     R. Inz regarding certain patent assets (0.5); correspond and
                                                     review related to R. Inz's inquiry (0.8).
Bauer, David R.             09/18/19           0.2   Review email regarding Purdue question pertaining to
                                                     intellectual property litigation (0.1); correspond with E.
                                                     Vonnegut and F. Bivens regarding same (0.1).
Hendin, Alexander J.        09/18/19           0.3   Correspond with W. Curran (0.2), review emails, notes from
                                                     W. Curran regarding structuring (0.1).
Vonnegut, Eli J.            09/18/19           0.3   Call with Purdue regarding certain litigation proceedings.
Bauer, David R.             09/19/19           0.8   Review revised draft development agreement provided by
                                                     Purdue (0.5); discussions with D. Forester regarding same
                                                     (0.3).
Forester, Daniel F.         09/19/19           2.1   Review the workstream tracker (0.4); review the latest draft of
                                                     a Purdue development agreement term sheet (1.4); discuss
                                                     same with D. Bauer (0.3).
Bauer, David R.             09/20/19           0.4   Discussions with D. Forester regarding potential development
                                                     agreement and term sheet for potential license agreement
                                                     with counterparty.
                                                       65
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 79 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Forester, Daniel F.         09/20/19           2.0   Review the Purdue development agreement term sheet (0.7);
                                                     discuss same with D. Bauer (0.4); review principal terms
                                                     agreement (0.9).
Bauer, David R.             09/23/19           0.2   Review email regarding Purdue questions pertaining to certain
                                                     counterparty agreement.
Curran, William A.          09/23/19           0.2   Conference with A. Hendin regarding transaction structure.
Hendin, Alexander J.        09/23/19           0.5   Correspond with A. Shimamura regarding status of
                                                     restructuring, recent developments (0.1); correspond with Z.
                                                     Levine regarding same (0.1); teleconference with W. Curran
                                                     summarizing discussions with restructuring team on recent
                                                     developments (0.2); review list of open substantive tax
                                                     questions (0.1).
Bauer, David R.             09/24/19           0.6   Correspond with D. Forester regarding potential patent
                                                     assignment (0.1); attend weekly team meeting (0.5).
Forester, Daniel F.         09/24/19           2.4   Review workstreams list (0.4); review certain licensing term
                                                     sheet (1.0); discuss with C. Robertson regarding assignment
                                                     issue (0.3); participation in all-hands meeting (0.7).
Huebner, Marshall S.        09/24/19           0.4   Emails with Davis Polk team regarding intellectual property
                                                     hearing.
Robertson,                  09/24/19           0.5   Email to N. Simon regarding schedules/SOFAs (0.2); call with
Christopher                                          D. Forester regarding patent assignment issue (0.3).
Bauer, David R.             09/25/19           0.6   Provide comments regarding term sheet with counterparty.
Consla, Dylan A.            09/25/19           0.6   Draft summary of schedule disclosure provisions.
Forester, Daniel F.         09/25/19           1.3   Teleconference with A. Lutchen and C. Robertson regarding
                                                     patent litigation strategy (0.4); correspond with R. Aleali
                                                     regarding patent assignments (0.5); review certain licensing
                                                     term sheet (0.4).
Robertson,                  09/25/19           0.9   Email to D. Forester regarding patent assignment issue (0.1);
Christopher                                          call with D. Forester regarding patent litigation issue (0.4); call
                                                     with Jones Day regarding same (0.1); call with AlixPartners
                                                     and R. Aleali regarding schedules/SOFAs (0.3).
Vonnegut, Eli J.            09/25/19           0.4   Emails with counterparty regarding SOFA questions (0.2);
Curran, William A.          09/26/19           0.7   Analysis regarding wage reporting.
Forester, Daniel F.         09/26/19           0.9   Review licensing term sheet.
Hendin, Alexander J.        09/26/19           1.8   Correspondence with W. Curran, G. Mazzoni regarding
                                                     income reporting sent by S. Brecher (0.1); analysis with
                                                     respect to income reporting (1.7).
Scheiner, Tyler             09/26/19           5.1   Meet with A. Hendin regarding analysis of tax informational
                                                     return matters (0.5); meet with A. Hendin (senior biller)
                                                     regarding same (0.3); research tax informational return
                                                     requirements (2.4); summarize research for W. Curran
                                                     regarding same (1.9).
Forester, Daniel F.         09/27/19           0.3   Review workstreams tracker for intellectual property issues.
Hendin, Alexander J.        09/27/19           1.0   Conference with T. Scheiner regarding tax issues (0.5); review
                                                     wage withholding authorities sent by W. Curran (0.2);
                                                     correspond with W. Curran, J. Crandall, S. Brecher, T.
                                                     Scheiner, D. Consla regarding wage withholding (0.3).
Robertson,                  09/27/19           1.9   Telephonically attend patent hearing conference (0.5); call
Christopher                                          with M. Tobak and others regarding same (0.3); email to E.
                                                     Vonnegut regarding same (0.4); emails with M. Huebner
                                                     regarding same (0.7).
Scheiner, Tyler             09/27/19           1.6   Emails with A. Hendin regarding informational return
                                                     conference (0.1); prepare and send report regarding
                                                     information return conference to conference participants (0.2);
                                                     review regulations and instructions concerning informational
                                                     return requirements (1.0); draft email regarding informational
                                                       66
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36            Main Document
                                                  Pg 80 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     return requirements (0.3).
Vonnegut, Eli J.            09/27/19           0.8   Review and markup counterparty statement (0.6); emails and
                                                     calls regarding counterparty litigation statement (0.2).
Robertson,           09/30/19                  0.1   Email to N. Simon regarding schedules/SOFAs.
Christopher
Total PURD170 IP, Regulatory and              38.5
Tax

PURD175 Special Committee/Investigations Issues
Clarens, Margarita  09/16/19              2.7 Coordinate information relating to Special Committee
                                                investigations for First Day hearing (0.8); correspond with K.
                                                Wolfgang and Z. Kaufman regarding same (0.2); conference
                                                with J. Kiechel regarding request to AlixPartners (0.8);
                                                correspond with C. Duggan and team regarding Special
                                                Committee investigations (0.5); correspond with D. Mazer
                                                regarding Special Committee investigations for hearing (0.1);
                                                review supporting documents from R. Collura at AlixPartners
                                                relating to report (0.3).
Kaufman, Zachary A. 09/16/19              2.5 Compile investigations-related information for First Day
                                                hearing (0.8); correspond with M. Clarens and K. Wolfgang
                                                regarding same (0.3); review of Bates White analysis (1.4).
Kiechel, Julia      09/16/19              2.0 Review materials in connection with evaluation of company
                                                claims (1.2); conferences with M. Clarens and AlixPartners on
                                                same (0.8).
Kim, Eric M.        09/16/19              5.9 Email with N. Williams regarding Bates White analysis (0.1);
                                                review email from Bates White regarding transfer pricing
                                                analysis (0.1); correspond with N. Williams regarding Bates
                                                White analysis (0.6); review documents from AlixPartners
                                                regarding cash reimbursements to Purdue (0.5); emails with
                                                C. Duggan and M. Clarens regarding same (0.6); review
                                                Purdue intercompany agreements (4.0).
Obasaju, Victor     09/16/19              1.6 Review documents regarding potential claims held by the
                                                estate.
Theodora, Brooke    09/16/19              3.1 Research potential claims held by Purdue.
Williams, Nikolaus  09/16/19              3.6 Emails with K. Wolfgang regarding Bates White analysis (0.2);
                                                call with E. Kim on same (0.6); analyze fact development for
                                                potential claims (2.8).
Wolfgang, Katelyn   09/16/19              1.7 Compile information for First Day hearing (0.9); emails with M.
Trionfetti                                      Clarens and Z. Kaufman regarding same (0.2); call with N.
                                                Williams regarding Bates White analysis (0.6).
Clarens, Margarita  09/17/19              2.0 Email with AlixPartners regarding discovery request (0.1);
                                                review material from AlixPartners for discovery requests in
                                                litigation (0.3); conference with C. Duggan regarding
                                                investigations strategy, work plan (0.8); correspond with N.
                                                Williams regarding Bates White call (0.3); correspond with M.
                                                Huebner and C. Duggan regarding employee indemnification
                                                reimbursements (0.3); review reimbursements (0.2).
Duggan, Charles S.  09/17/19              1.0 Meet with M. Clarens and J. Kiechel to discuss status of legal
                                                research and fact review projects regarding potential Purdue
                                                claims (0.8); correspond with M. Huebner, M. Clarens
                                                regarding special committee role in indemnifying corporate
                                                officers (0.2).
Kaufman, Zachary A. 09/17/19              4.0 Research history of litigation against Purdue (3.8); conference
                                                with N. Williams regarding same (0.2).
Kiechel, Julia      09/17/19              1.1 Meet with C. Duggan, M. Clarens regarding Special
                                                       67
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 81 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     Committee projects (0.8); prepare for same (0.3).
Kim, Eric M.                09/17/19           7.1   Review Purdue intercompany agreements (1.2); email with M.
                                                     Clarens and others regarding same (0.1); email to Special
                                                     Committee document review team regarding same (0.1);
                                                     teleconference Bates White regarding intercompany transfers
                                                     (0.9); review email from S. Strauss regarding same(0.3);
                                                     review email from AlixPartners regarding payment to
                                                     shareholders (0.4); email F. Selck regarding same(0.1); email
                                                     with N. Williams regarding intercompany transfers (0.1);
                                                     correspond with N. Williams regarding intercompany transfers
                                                     (0.4); review documents in connection with Bates White
                                                     transfer pricing analysis (3.5).
Obasaju, Victor             09/17/19           2.7   Document review related to evaluation of potential claims.
Strauss, Steven             09/17/19           1.6   Review documents regarding intercompany transfers.
Williams, Nikolaus          09/17/19           3.2   Call with F. Selck at Bates White regarding intercompany
                                                     transfers (0.8); emails with Z. Kaufmann regarding potential
                                                     claims held by the estate (0.3); call with K. Wolfgang regarding
                                                     fact development for analyzing potential claims (0.3); status
                                                     update meeting with C. Duggan, M. Clarens and J. Kietchel
                                                     regarding same (0.8); review documents regarding same
                                                     (0.8); discuss Purdue litigation history with Z. Kaufman (0.2).
Wolfgang, Katelyn           09/17/19           0.5   Correspond with N. Williams to discuss potential claims by the
Trionfetti                                           company (0.3); emails with Z. Kaufman regarding same (0.2).
Cheung, Chui-Lai            09/18/19           1.3   Attend meeting with Special Committee investigations team
                                                     (0.9); prepare materials for same (0.4).
Clarens, Margarita          09/18/19           1.5   Call with R. Collura at AlixPartner regarding discovery request
                                                     (0.3); meet with N. Williams, K. Wolfgang and team, regarding
                                                     factual analysis of transfers involving IACs, valuation analysis
                                                     (0.9); correspond with K. Wolfgang and Z. Kaufman regarding
                                                     employee indemnification payment procedure for Special
                                                     Committee (0.3).
Duggan, Charles S.          09/18/19           1.7   Email with R. Aleali, M. Huebner, M. Clarens regarding
                                                     Special Committee meeting (0.5); email with colleagues
                                                     regarding Attorney General allegations (0.1); review inventory
                                                     of Attorney General allegations (1.1).
Kaufman, Zachary A.         09/18/19          12.3   Review Purdue's litigation history in connection with assessing
                                                     its potential claims (3.5); conference with K. Wolfgang
                                                     regarding Purdue's litigation history (1.1); draft guidelines for
                                                     Special Committee regarding advancements of requests for
                                                     defense costs (7.8); conference with M. Clarens, N. Williams
                                                     and others on claims (0.9).
Kiechel, Julia              09/18/19           0.9   Attend meeting with M. Clarens, C. Duggan and others
                                                     regarding workstreams.
Kim, Eric M.                09/18/19           8.6   Call with N. Williams regarding Bates White analysis (0.4);
                                                     email with M. Clarens regarding AlixPartners analysis (0.1);
                                                     email AlixPartners regarding intercompany transfers
                                                     documentation (0.1); meet with Special Committee
                                                     investigations team (0.9); teleconference with AlixPartners
                                                     regarding cash reimbursements to the estate (0.6); email to M.
                                                     Clarens and J. Kiechel regarding same (0.3); email with
                                                     Special Committee investigation team regarding status of
                                                     document review (0.3); draft outline of intercompany transfers
                                                     (5.9).
Obasaju, Victor             09/18/19           5.7   Review documents related to evaluation of potential claims
                                                     held by the estate.
Strauss, Steven             09/18/19           3.9   Attend conference with M. Clarens, N. Williams, E. Kim, Z.
                                                       68
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 82 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     Kaufman, K. Wolfgang and review team regarding transaction
                                                     review and potential claims by company (0.9); review
                                                     documents regarding intercompany transfers and potential
                                                     claims by Purdue (3.0).
Theodora, Brooke            09/18/19           1.6   Meet with Special Committee investigations team to discuss
                                                     workstreams for evaluating claims (0.9); correspond with N.
                                                     Williams regarding research related to same (0.7).
Williams, Nikolaus          09/18/19           2.6   Call with N. Reck regarding potential claims (0.3); weekly
                                                     workstream review meeting (0.9); review documents on
                                                     transfer analysis (2.1); call with E. Kim regarding Bates White
                                                     analysis (0.4).
Wolfgang, Katelyn           09/18/19           5.4   Review documents related to Purdue litigation history (1.4);
Trionfetti                                           meet with Z. Kaufman to discuss same (1.1); meet with M.
                                                     Clarens and others regarding Special Committee document
                                                     review (0.9); correspond with M. Clarens and Z. Kaufman
                                                     related to wages motion order related to legal fees (0.3);
                                                     emails with Z. Kaufman regarding same (0.2); review and
                                                     revise memorandum to Special Committee on payment of
                                                     legal fees (1.1); emails with M. Clarens and Z. Kaufman
                                                     regarding same (0.4).
Clarens, Margarita          09/19/19           1.2   Conference with M. Huebner and C. Duggan regarding status
                                                     and scope of Special Committee investigations, strategy (0.9);
                                                     prepare for same (0.3).
Duggan, Charles S.          09/19/19           1.4   Meet with M. Huebner and M. Clarens regarding plans for
                                                     Special Committee meeting to discuss investigation progress
                                                     and issues (0.9); prepare for same (0.4); email M. Clarens and
                                                     associate team regarding certain allegations to investigate
                                                     (0.1).
Huebner, Marshall S.        09/19/19           0.9   Meet with C. Duggan and M. Clarens regarding upcoming
                                                     Special Committee meeting and projects.
Kaufman, Zachary A.         09/19/19           7.9   Review and revise guidelines regarding Special Committee's
                                                     approval of employee indemnification (2.6); conference with K.
                                                     Wolfgang and J. Kiechel regarding same (0.5); research
                                                     Purdue litigation history in connection with assessing potential
                                                     claims by the Company (4.5); correspond with N. Williams and
                                                     E. Kim regarding same (0.3).
Kiechel, Julia              09/19/19           1.4   Revise memorandum regarding employee indemnification
                                                     (0.4); meet with Z. Kaufman and K. Wolfgang on same (0.5);
                                                     analyze shareholder transfers (0.5).
Kim, Eric M.                09/19/19          10.5   Review email from C. Duggan regarding news reports about
                                                     Purdue distributions (0.2); review documents in connection
                                                     with Rhode Island subpoena (2.5); email with M. Clarens and
                                                     J. Kiechel regarding same (0.4); call with K. Darragh regarding
                                                     Purdue financials (0.2); correspond with N. Williams regarding
                                                     Bates White transfer pricing analysis (0.2); teleconference with
                                                     Bates White regarding same (0.5); draft transfer outline of
                                                     intercompany transfers (6.0); email to R. Hoff and others
                                                     regarding production of documents to Rhode Island (0.5).
Reck, Nick                  09/19/19           0.7   Review documents related to Purdue compliance.
Strauss, Steven             09/19/19           3.6   Review documents regarding intercompany transfers and
                                                     potential claims by Purdue.
Vonnegut, Eli J.            09/19/19           1.1   Call with Department of Justice and M. Huebner regarding
                                                     information sharing and investigation status (0.9); draft notes
                                                     regarding same (0.2).
Williams, Nikolaus          09/19/19           0.3   Review documents relating to potential claims held by the
                                                     estate.
                                                       69
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 83 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Wolfgang, Katelyn           09/19/19           3.6   Correspond with Z. Kaufman regarding memorandum to
Trionfetti                                           Special Committee on payment of legal expenses (0.2);
                                                     review documents regarding potential claims against Purdue
                                                     (0.3); conference with Z. Kaufman and J. Kiechel regarding
                                                     Purdue employees legal costs (0.5); review documents related
                                                     to Rhodes document review (2.6).
Clarens, Margarita          09/20/19           3.2   Meet with J. Kiechel regarding employee indemnification
                                                     memorandum, Special Committee meeting (0.6); email
                                                     regarding investigation workflows (0.9); conference with C.
                                                     Duggan and J. Kiechel regarding agenda and presentations
                                                     for Special Committee meeting (1.5); correspond with D.
                                                     Mazer regarding investigations (0.2).
Duggan, Charles S.          09/20/19           2.8   Email with M. Huebner and M. Clarens regarding email
                                                     discovery review (0.4); review updates regarding litigation
                                                     developments in response to bankruptcy filing (0.2); review
                                                     First Day hearing transcript regarding references to Special
                                                     Committee and indemnification (0.4); email with J. Dubel, M.
                                                     Kesselman, R. Aleali regarding agenda for Special Committee
                                                     meeting (0.3); confer with M. Clarens and J. Kiechel regarding
                                                     briefing topics for Special Committee meeting (1.5).
Kaufman, Zachary A.         09/20/19           5.5   Review documents in connection with assessing potential
                                                     claims by the company (0.8); revise guidelines for employee
                                                     indemnification issue (3.8); correspond with M. Clarens, J.
                                                     Kiechel, and K. Wolfgang regarding same (0.3); conference
                                                     with M. Clarens, J. Kiechel, and K. Wolfgang regarding
                                                     investigation workstreams relating to assessing potential
                                                     claims by Purdue (0.6).
Kiechel, Julia              09/20/19           3.7   Meet with C. Duggan and M. Clarens regarding Special
                                                     Committee Projects (1.5); meet with M. Clarens regarding
                                                     preparation for Special Committee meeting, indemnification
                                                     issues, plus follow-up (0.6); review Dechert documents from
                                                     multi-district litigation (1.2); correspond on same with E. Kim
                                                     (0.9).
Kim, Eric M.                09/20/19           6.9   Email Special Committee investigations team regarding
                                                     document review (0.2); email J. Kiechel regarding same (0.3);
                                                     review email from M. Clarens regarding same (0.2); review
                                                     documents regarding potential claims against the estate from
                                                     Dechert (6.2).
Mazer, Deborah S.           09/20/19           0.2   Correspond with M. Clarens regarding investigations to
                                                     special committee (0.2).
Obasaju, Victor             09/20/19           1.5   Review documents related to evaluation of potential claims
                                                     held by the estate.
Strauss, Steven             09/20/19           1.0   Review documents regarding intercompany transfers and
                                                     potential claims held by Purdue.
Wolfgang, Katelyn           09/20/19           2.3   Meet with M. Clarens, J. Kiechel, and Z. Kaufman to discuss
Trionfetti                                           development of work plan (0.6); correspond with J. Kiechel to
                                                     discuss preparation of talking points for Special Committee
                                                     meeting (0.3); review and revise memorandum to Special
                                                     Committee regarding approval of legal expenses (1.3); email
                                                     to M. Clarens, J. Kiechel and Z. Kaufman regarding same
                                                     (0.1).
Duggan, Charles S.          09/21/19           0.3   Email with R. Aleali regarding agenda for Special Committee
                                                     meeting (0.1); email with M. Huebner regarding tax-related
                                                     consideration (0.2).
Kaufman, Zachary A.         09/21/19           1.1   Revise guidelines for Special Committee's approval of legal
                                                     costs for eligible Purdue employees (1.0); correspond with M.
                                                       70
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 84 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     Clarens, J. Kiechel, and K. Wolfgang regarding same (0.1).
Kim, Clara Y.               09/21/19           1.1   Review documents for Special Committee investigation.
Vonnegut, Eli J.            09/21/19           0.3   Review material on golden creditor issues.
Clarens, Margarita          09/22/19           3.5   Prepare material for Special Committee meeting regarding
                                                     various investigations workstreams.
Duggan, Charles S.          09/22/19           0.2   Email with M. Huebner and M. Clarens regarding lookback
                                                     issue.
Huebner, Marshall S.        09/22/19           0.9   Review documents and emails with C. Duggan regarding
                                                     Special Committee issues and research projects.
Kim, Clara Y.               09/22/19           1.4   Review documents for Special Committee investigation.
Kim, Eric M.                09/22/19           7.4   Review emails from M. Tobak, M. Huebner, C. Duggan
                                                     regarding golden creditor issues (0.2); review documents
                                                     concerning Purdue cash distributions (2.3); review documents
                                                     produced to plaintiffs in multi-district litigation (4.9).
Williams, Nikolaus          09/22/19           2.8   Prepare summary of potential claims held by the debtor.
Clarens, Margarita          09/23/19          13.9   Correspond with D. Mazer and N. Williams regarding
                                                     assessment of Company claims (0.8); prepare materials,
                                                     update for Special Committee (5.8); review and comment on
                                                     guidance to Special Committee regarding employee
                                                     indemnification payments (2.6); conference with C. Duggan
                                                     team regarding update and guidance to Special Committee
                                                     (1.1); correspond with Purdue regarding indemnification
                                                     payments (1.3); review memoranda regarding fraudulent
                                                     transfer claims (2.3).
Duggan, Charles S.          09/23/19           4.4   Email with J. Dubel regarding Special Committee meeting
                                                     (0.2); email with M. Clarens and other colleagues regarding
                                                     document collections identified by Purdue internal counsel
                                                     (0.2); teleconference with P. Fitzgerald and J. Bragg
                                                     regarding distribution analysis (1.0); email with M. Kesselman
                                                     and R. Aleali regarding Special Committee agenda (0.3);
                                                     discussion with M. Clarens and team regarding preparation for
                                                     Special Committee meeting (1.1); revise draft memorandum
                                                     regarding indemnification of employees (1.2); email M.
                                                     Huebner regarding scope of Bates White review (0.1);
                                                     correspond with J. McClammy regarding Bates White
                                                     engagement (0.3).
Kaufman, Zachary A.         09/23/19          13.3   Revise memorandum regarding Special Committee's review of
                                                     requests for indemnity payments (2.4); conference with C.
                                                     Duggan, M. Clarens, J. Kiechel, K. Wolfgang, and N. Williams
                                                     regarding same (1.1); review and prepare materials for
                                                     Special Committee meeting (3.1); review and analyze
                                                     schedule of indemnification payments (1.3); review and
                                                     analyze Purdue's Board documents in connection with
                                                     analysis of potential claims by the company (4.3); correspond
                                                     with N. Williams, E. Kim, V. Obasaju, and S. Strauss regarding
                                                     same (1.1).
Kiechel, Julia              09/23/19           2.2   Meet with C. Duggan regarding Special Committee (1.1);
                                                     review indemnity information (0.8); email with M. Clarens
                                                     regarding same (0.3).
Kim, Eric M.                09/23/19           7.4   Meet with N. Williams, Z. Kaufman, V. Obasaju and S. Strauss
                                                     regarding potential claims held by the estate (1.1); calls with
                                                     N. Williams regarding Bates White analysis (0.3); email with Z.
                                                     Kaufman, V. Obasaju regarding Purdue liability analysis (0.1);
                                                     email to S. Strauss regarding intercompany transfers (0.1);
                                                     review documents produced to plaintiffs in multi-district
                                                     litigation (4.5); prepare and review binders concerning
                                                       71
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 85 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     documents produced to plaintiffs in multi-district litigation (0.9).
Obasaju, Victor             09/23/19           5.9   Review documents related to bankruptcy proceedings (0.2);
                                                     review documents in connection with evaluation of potential
                                                     claims held by the debtor (3.5); attend meeting with Z.
                                                     Kaufman, E. Kim and others regarding same (1.1); meet with
                                                     Davis Polk team concerning Special Committee workstreams
                                                     (1.1).
Reck, Nick                  09/23/19           4.8   Review documents related to investigations (1.7); review
                                                     Board materials (1.3); research in connection with assessing
                                                     Purdue's claims (1.8).
Strauss, Steven             09/23/19           3.7   Attend conference with N. Williams, E. Kim, Z. Kaufman, and
                                                     V. Obasaju regarding intercompany transfer review (1.1);
                                                     review documents regarding intercompany transfers and
                                                     potential claims by Purdue (2.6).
Williams, Nikolaus          09/23/19           7.8   Meet with Davis Polk team to prepare for Special Committee
                                                     meeting (1.1); prepare and revise material for Transaction
                                                     Committee meeting (4.7); call with E. Kim regarding fact
                                                     investigation into potential claims (0.3); review documents
                                                     regarding same (2.5).
Wolfgang, Katelyn           09/23/19           3.3   Draft talking points and PowerPoint for meeting with Special
Trionfetti                                           Committee (2.3); meet with C. Duggan, M. Clarens, J. Kiechel,
                                                     N. Williams, Z. Kaufman to discuss meeting with Special
                                                     Committee (1.1).
Cheung, Chui-Lai            09/24/19           6.0   Review documents review regarding potential claims held by
                                                     Purdue.
Clarens, Margarita          09/24/19           5.2   Prepare for Special Committee meeting (1.2); attend meeting
                                                     with Special Committee (2.5); conference with C. Duggan
                                                     regarding same (0.5); emails with W. Curran, C. Duggan,
                                                     team regarding Special Committee meeting follow-up (1.0).
Duggan, Charles S.          09/24/19           7.5   Revise memorandum regarding indemnification of employees
                                                     (1.4); prepare for Special Committee meeting (1.3); attend
                                                     meeting of Special Committee (2.5); correspond with M.
                                                     Clarens regarding Special Committee projects (0.5); email
                                                     with M. Huebner, C. Clarens, J. Kiechel and co-counsel at
                                                     Skadden regarding Department of Justice request for
                                                     information regarding Special Committee projects (1.8).
Huebner, Marshall S.        09/24/19           2.2   Attend and prepare for Special Committee call (1.6);
                                                     discussion with M. Kesselman regarding issues raised during
                                                     same (0.6).
Kaufman, Zachary A.         09/24/19          11.8   Revise memorandum regarding Special Committee's review of
                                                     requests for indemnity payments (1.2); review memorandum
                                                     regarding fraudulent transfer analysis (1.4); review Purdue
                                                     Board materials in connection with analysis of potential claims
                                                     by Purdue (3.4); review litigation history in connection with
                                                     analysis of potential claims by same (4.7); conference with N.
                                                     Williams and K. Wolfgang regarding same (1.1).
Kiechel, Julia              09/24/19           1.3   Correspond with Davis Polk team regarding cash distributions
                                                     analysis.
Kim, Eric M.                09/24/19           4.5   Review memorandum regarding employee indemnification
                                                     issue (0.2); emails to and from K. Wolfgang, N. Williams and
                                                     others regarding intercompany transfers (0.4); review
                                                     documents regarding intercompany transfers (3.9).
Obasaju, Victor             09/24/19           1.1   Review emails concerning bankruptcy proceedings (0.3);
                                                     review documents concerning evaluation of potential claims
                                                     held by the debtor (0.8).
Reck, Nick                  09/24/19           1.3   Review documents related to Special Committee investigation.
                                                       72
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 86 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
Strauss, Steven             09/24/19           2.8   Review memoranda regarding Purdue history and litigation
                                                     (0.5); review documents regarding intercompany transfers
                                                     (2.3).
Theodora, Brooke            09/24/19           0.9   Review fraudulent conveyance memorandum from N. Williams
                                                     in connection with evaluation of potential claims held by
                                                     Purdue.
Williams, Nikolaus          09/24/19           7.5   Prepare for Special Committee meeting (1.7) attend Special
                                                     Committee meeting (2.5); call with Z. Kaufman and K.
                                                     Wolfgang regarding fact investigation into claims that could be
                                                     brought by Purdue (1.1); prepare work plan for factual
                                                     investigation regarding same (1.0); review documents and
                                                     email team regarding same (1.2).
Wolfgang, Katelyn           09/24/19           3.3   Emails with N. Williams and E. Kim regarding AlixPartners
Trionfetti                                           analysis (0.2); review documents related to Purdue
                                                     intercompany transfers (1.3); call with N. Williams and Z.
                                                     Kaufman to discuss liability analysis (1.1); review chronology
                                                     related to same (0.7).
Cheung, Chui-Lai            09/25/19           0.8   Meet with M. Clarens and team regarding potential claims by
                                                     company (0.7); email with N. Williams regarding potential
                                                     claim by company (0.1).
Clarens, Margarita          09/25/19           2.2   Email with Davis Polk team regarding information request from
                                                     Department of Justice (0.4); conference with N. Williams, K.
                                                     Wolfgang regarding analysis of Company claims (0.7); emails
                                                     with N. Williams, team regarding investigations findings,
                                                     development (1.1).
Duggan, Charles S.          09/25/19           0.8   Email with P. Fitzgerald, M. Huebner and colleagues
                                                     regarding information requests from Department of Justice
                                                     (0.7); email with N. Williams regarding access to company
                                                     materials (0.1).


Hamby, Aly                  09/25/19           0.7   Conference with M. Clarens and associate team regarding
                                                     analysis of potential claims by the Company.
Kaufman, Zachary A.         09/25/19          12.6   Conference with M. Clarens and associate team regarding
                                                     analysis of potential claims by Purdue (0.7); conference with
                                                     N. Williams and associate team regarding liability analysis in
                                                     connection with potential claims by the company (0.5);
                                                     conference with N. Williams and E. Kim regarding
                                                     investigations workstreams in connection with analysis of
                                                     potential claims by Purdue (0.6); review and analyze
                                                     documents pertaining to Purdue's litigation history in
                                                     connection with analysis of potential claims by same (4.7);
                                                     correspond with N. Williams regarding same (0.4); review and
                                                     analyze AlixPartners draft report regarding transfers of value
                                                     from the Company (5.7).
Kiechel, Julia              09/25/19           3.7   Review distributions analysis and communications with
                                                     Purdue and Davis Polk team regarding same (3.2);
                                                     correspond with Davis Polk team regarding Special
                                                     Committee investigations document review and PJT Partners
                                                     analysis (0.3); correspond with Davis Polk team regarding
                                                     indemnification analysis (0.2).
Kim, Clara Y.               09/25/19           0.7   Conference with M. Clarens and team regarding Special
                                                     Committee investigation (0.7).
Kim, Eric M.                09/25/19           8.2   Review email from M. Clarens regarding AlixPartners analysis
                                                     (0.2); meet with M. Clarens and others regarding Special
                                                     Committee investigations workstreams (0.7); meet with N.
                                                       73
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 87 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     Williams and others regarding fraudulent conveyance and
                                                     liabilities analysis (0.5); meet with N. Williams and Z. Kaufman
                                                     regarding Special Committee investigations strategy (0.6); call
                                                     N. Williams regarding Bates White analysis (0.5); review email
                                                     from S. Strauss regarding intercompany transfers (0.2); email
                                                     Bates White regarding intercompany transfers (0.5); draft
                                                     outline of intercompany transfers (5.0).
Obasaju, Victor             09/25/19           4.0   Meeting with M. Clarens concerning evaluation of potential
                                                     claims held by the debtor (0.7); prepare for same (0.1);
                                                     correspond with N. WIlliams concerning evaluation of potential
                                                     claims held by the debtor concerning evaluation of potential
                                                     claims held by the debtor (0.6); review documents concerning
                                                     evaluation of potential claims held by the debtor (2.6).
Strauss, Steven             09/25/19           2.6   Attend conference with M. Clarens and team to discuss
                                                     Special Committee updates (0.7); attend conference with N.
                                                     Williams and team to discuss targeted searches to research
                                                     potential claims by Purdue (0.5); target searches and review
                                                     of documents to assess potential claims by company (1.4).
Wasim, Roshaan              09/25/19           0.7   Conference with M. Clarens and associate team regarding
                                                     analysis of potential claims by the Company.
Whisenant, Anna Lee         09/25/19           0.7   Conference with M. Clarens and associate team regarding
                                                     analysis of potential claims by the Company.
Williams, Nikolaus          09/25/19           6.7   Meet with M. Clarens and others to discuss status of review of
                                                     potential claims by Company (0.7); meet with E. Kim and
                                                     others regarding same (1.1); correspond with Z. Kaufman to
                                                     discuss review of potential claims by Company (1.0); review
                                                     documents concerning potential claims by Company (3.4); call
                                                     with E. Kim regarding Bates White analysis (0.5).
Wohlberg, Charlie           09/25/19           0.7   Conference with M. Clarens and associate team regarding
                                                     analysis of potential claims by the Company.
Wolfgang, Katelyn           09/25/19           3.1   Emails with W. Curran regarding tax implications question
Trionfetti                                           (0.4); emails to N. Williams, Z. Kaufman and V. Obasaju
                                                     regarding liability analysis (0.3); meet with M. Clarens, N.
                                                     Williams, and others to discuss analysis of potential claims by
                                                     Purdue (0.7); emails with N. Williams and Z. Kaufman
                                                     regarding liability chronology (0.3); emails with N. Williams
                                                     and E. Kim regarding intercompany transfers (0.3); review
                                                     documents related to same (0.7); review documents related
                                                     to liability analysis (0.4).
Clarens, Margarita          09/26/19           0.8   Review documents relating to Special Committee
                                                     investigations into claims held by Company.
Hamby, Aly                  09/26/19           3.3   Conference with N. Williams and associate team regarding
                                                     analysis of potential claims by the Company (1.1); review of
                                                     background materials regarding same (2.2).
Kaufman, Zachary A.         09/26/19           9.2   Conference with N. Williams and associate team regarding
                                                     analysis of potential claims by the Company (1.1);review and
                                                     analyze documents relating to Purdue's litigation history in
                                                     connection with analysis of potential claims by the Company
                                                     (7.4); conference with N. Williams regarding same (0.4);
                                                     conference with J. Kiechel regarding AlixPartners draft report
                                                     on transfers of value from the Company (0.3).
Kiechel, Julia              09/26/19           4.1   Calls with J. Lowne, AlixPartners regarding distributions
                                                     analysis (3.4); correspond with Skadden regarding
                                                     distributions analysis (0.7).
Kim, Clara Y.               09/26/19           0.9   Review team emails regarding updates to bankruptcy (0.2);
                                                     correspond with A. Hamby, K. Wolfgang, Z. Kaufman
                                                       74
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36             Main Document
                                                  Pg 88 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     regarding analysis of state attorney general complaints (0.7).
Kim, Eric M.                09/26/19           7.8   Email with N. Williams regarding outline of intercompany
                                                     transfers (0.1); correspond with N. Williams regarding same
                                                     (0.5); meet with N. Williams, Z. Kaufman, C. Wohlberg and
                                                     others regarding Special Committee advisory workstreams
                                                     (1.1); review documents regarding Rhodes (2.3);
                                                     teleconference with Bates White regarding transfer pricing
                                                     analysis (1.3); correspond with N. Williams, S. Strauss
                                                     regarding same (0.4); review AlixPartners draft transfers
                                                     analysis (2.2).
Meyer, Corey M.             09/26/19           2.8   Conference with N. Williams and associate team regarding
                                                     analysis of potential claims by the Company (1.1); review
                                                     Special Committee document review protocol and background
                                                     memorandum regarding potential claims by the Company
                                                     (0.8); review expert report of J. Coffee in connection with
                                                     analysis of potential claims by the Company (0.9).
Reck, Nick                  09/26/19           3.4   Review documents in connection with investigations
                                                     workstream (2.1); draft tracking chart of Special Committee
                                                     investigations workstreams (1.3).
Strauss, Steven             09/26/19           3.5   Teleconference with Bates White, N. Williams, and E. Kim
                                                     regarding intercompany transfers (1.7); review documents
                                                     regarding intercompany transfers (1.8).
Wasim, Roshaan              09/26/19           3.7   Conference with N. Williams and associate team regarding
                                                     analysis of potential claims by the Company (1.1); review
                                                     Company’s first-day information brief (1.1); review
                                                     memoranda and documents in connection with same (1.5).
Whisenant, Anna Lee         09/26/19           3.2   Conference with N. Williams and associate team regarding
                                                     analysis of potential claims by the Company (1.1); review
                                                     background materials on fraudulent transfers and Purdue
                                                     (2.1).
Williams, Nikolaus          09/26/19           6.0   Meet with E. Kim and others regarding potential claims by
                                                     Company (1.1); call with Bates White (F. Selck and others)
                                                     discussing analysis regarding same (2.2); call with Z. Kaufman
                                                     regarding same (0.4); email with Davis Polk team and prepare
                                                     working plan regarding same (2.3).
Wohlberg, Charlie           09/26/19           8.1   Conference with N. Williams and associate team regarding
                                                     analysis of potential claims by the Company (1.1); research
                                                     case law regarding potential claims by the Company (1.5);
                                                     research case law concerning liability analysis (5.5).
Wolfgang, Katelyn           09/26/19           1.6   Correspond with Z. Kaufman regarding liability analysis
Trionfetti                                           projects (0.5); meet with Z. Kaufman, N. Williams, and others
                                                     regarding same (1.1).
Clarens, Margarita          09/27/19           6.2   Conference with N. Williams, K. Wolfgang, J. Kiechel
                                                     regarding Special Committee investigations strategy (1.1);
                                                     conference with C. Duggan regarding tax question (0.7);
                                                     communications with Davis Polk team regarding AlixPartners
                                                     cash transfers report and related issues (1.1); manage Special
                                                     Committee investigations work streams (2.2); email with C.
                                                     Robertson regarding employee indemnification (0.4)
Duggan, Charles S.          09/27/19           3.1   Correspond with M. Clarens regarding production of requested
                                                     information (0.3); meet with J. Dubel (Chair, Special
                                                     Committee) regarding status of cash transfers report (0.2);
                                                     meet with M. Clarens, W. Curran regarding possible tax
                                                     implications of repayments to company (0.7); correspond with
                                                     Davis Polk team, Purdue regarding meeting with Committee
                                                     members to review information (0.6); email with clients and
                                                       75
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 89 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours   Narrative
                                                     colleagues regarding indemnification process and related
                                                     documentation (1.3).


Hamby, Aly                  09/27/19           0.5   Conference with E. Kim and associate team regarding Special
                                                     Committee investigations document review.
Kiechel, Julia              09/27/19           3.5   Review and revise draft cash distributions analysis (2.0); meet
                                                     with M. Clarens and others regarding special committee
                                                     projects (1.5).
Kim, Clara Y.               09/27/19           0.4   Review lawsuits filed against Purdue (0.3); correspond with
                                                     Reference regarding same (0.1).
Kim, Eric M.                09/27/19           1.8   Meet with C. Wohlberg and others regarding Special
                                                     Committee document review (0.5); review email from Bates
                                                     White regarding transfer pricing analysis (0.3); review email
                                                     from K. Darragh regarding Purdue financials (0.2); review
                                                     documents regarding Rhodes (0.3); review documents
                                                     regarding Rhodes (0.5).
Meyer, Corey M.             09/27/19           1.8   Conference with N. Williams and associate team regarding
                                                     analysis of potential claims by Purdue (1.2); correspond with
                                                     E. Kim regarding Special Committee investigations document
                                                     review protocol (0.3); review documents regarding potential
                                                     claims by the company (0.3).
Reck, Nick                  09/27/19           5.3   Review documents in connection with Special Committee
                                                     investigations (2.4); draft tracking chart regarding same (1.7);
                                                     meet with N. Williams and others regarding same (1.2).
Strauss, Steven             09/27/19           1.4   Review documents regarding evaluation of potential claims by
                                                     company.
Wasim, Roshaan              09/27/19           1.5   Conference with N. Williams and associate team regarding
                                                     analysis of potential claims by the Company (1.0); conference
                                                     with E. Kim regarding Special Committee investigations
                                                     document review (0.5).
Whisenant, Anna Lee         09/27/19           0.5   Conference with E. Kim and associate team regarding Special
                                                     Committee investigations document review.
Williams, Nikolaus          09/27/19           2.7   Meet with M. Clarens, J. Kietchel, K. Wolfgang to discuss
                                                     status of review of potential claims by Company (1.5); meet
                                                     with N. Reck, S. Wu, and others to discuss same (1.2).
Wohlberg, Charlie           09/27/19           4.6   Review court filings in bankruptcy processing (1.5); research
                                                     case law regarding potential Company claims (2.1); meet with
                                                     E. Kim and associate team in connection with Special
                                                     Committee investigation document review (0.5); review
                                                     documents regarding same (0.5).
Wolfgang, Katelyn           09/27/19           4.5   Review presentation on Special Committee investigation (0.3);
Trionfetti                                           correspond with E. Kim regarding same (0.2) email with J.
                                                     Kiechel regarding same (0.1) correspond with N. Williams, E.
                                                     Kim related to same (0.2); correspond with M. Clarens related
                                                     to same (0.4); meeting with M. Clarens, N. Williams to discuss
                                                     special committee investigations strategy (1.5); review
                                                     documents related to Purdue litigation history (1.8).
Duggan, Charles S.          09/28/19           1.0   Confer with M. Huebner, E. Vonnegut regarding overtures
                                                     from other entities.


Kim, Clara Y.               09/28/19           0.8   Review chronology of litigation bearing on liability analysis
                                                     (0.4); review emails regarding deposition summaries and other
                                                     bankruptcy case developments relevant to the Special
                                                     Committee investigation (0.4).
                                                       76
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 90 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                              Time Detail By Project

Name                        Date             Hours    Narrative
Duggan, Charles S.          09/29/19            0.2   Correspond with M. Huebner regarding requests for
                                                      information.


Kim, Eric M.                09/29/19            1.2   Review draft AlixPartners intercompany transfers analysis.
Obasaju, Victor             09/29/19            3.3   Development of chronology concerning documents relevant to
                                                      potential claims held by the debtor.
Wohlberg, Charlie           09/29/19            6.4   Review documents in connection with Special Committee
                                                      investigations.
Wolfgang, Katelyn           09/29/19            2.1   Review partnership agreement and wages motion (0.9); draft
Trionfetti                                            good faith affirmation for legal fees indemnification (1.1); email
                                                      to M. Clarens regarding same (0.1).
Duggan, Charles S.          09/30/19            1.5   Correspond with E. Vonnegut regarding information requests
                                                      from Creditors’ Committee (0.3); email with G. McCarthy
                                                      regarding Special Committee (0.1); review and revise draft
                                                      minutes of Special Committee meeting (1.0); email with
                                                      Purdue regarding meeting of Special Committee (0.1).
Hamby, Aly                  09/30/19            4.8   Review relevant background material (3.4); prepare chart for
                                                      liability analysis (0.7); conduct research for liability analysis
                                                      (0.7).
Kiechel, Julia              09/30/19            0.5   Correspond with Davis Polk team regarding cash distributions
                                                      analysis.
Kim, Clara Y.               09/30/19            2.3   Teleconference with K. Wolfgang regarding reviewing state
                                                      attorney general complaints for liability analysis (0.2); email
                                                      with A. Hamby regarding complaints for liability analysis (0.1);
                                                      correspond with library regarding state attorney general
                                                      complaints for same (0.2); analyze state attorney general
                                                      complaints (1.0); review documents and memoranda
                                                      concerning same (0.8).
Kim, Eric M.                09/30/19            0.5   Email K. Wolfgang regarding state complaints (0.2); review
                                                      emails from N. Williams regarding Bates White transfer pricing
                                                      analysis (0.3).
Meyer, Corey M.             09/30/19            6.7   Review documents in connection with Special Committee
                                                      investigations (2.6); research case law and secondary sources
                                                      regarding potential claims by the company (4.1).
Obasaju, Victor             09/30/19            0.7   Email with Z. Kauffman regarding documents relevant to
                                                      potential claims held by the debtor.
Robertson,                  09/30/19            0.8   Email with J. Lowne regarding transfer diligence (0.4); emails
Christopher                                           with C. Duggan, E. Vonnegut, D. Consla and M. Pera
                                                      regarding transfer analysis issues (0.4).
Wasim, Roshaan              09/30/19            2.4   Review materials in connection with analyzing potential claims
                                                      by the Company (2.0); review Special Committee
                                                      investigations document review protocol (0.4).
Whisenant, Anna Lee         09/30/19            7.9   Review documents and memoranda regarding fraudulent
                                                      transfers and Purdue (1.0); research case law regarding
                                                      fraudulent transfers (4.5); research case law regarding the
                                                      Golden Creditor rule (2.4).
Williams, Nikolaus          09/30/19            4.7   Review documents in connection with analyzing potential
                                                      claims by Company (4.4); call with Bates White (F. Selck)
                                                      regarding same (0.3).
Wolfgang, Katelyn           09/30/19            5.5   Review materials related to Attorney General lawsuits (1.2);
Trionfetti                                            call with C. Kim related to same (0.2); review documents
                                                      produced in multi-district litigation (2.8); review J. O'Connell
                                                      deposition transcript (1.3).
Total PURD175 Special                         490.3

                                                        77
  19-23649-rdd            Doc 551   Filed 11/27/19 Entered 11/27/19 16:12:36   Main Document
                                               Pg 91 of 123
Invoice No.7006597
Invoice Date: November 26, 2019


                                           Time Detail By Project

Name                        Date          Hours    Narrative
Committee/Investigations Issues

TOTAL                                    3,145.3




                                                     78
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36        Main Document
                                                  Pg 92 of 123
Invoice No.7006597
Invoice Date: November 22, 2019




DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                  Amount
                 Type

09/16/19         Computer         Westlaw usage by LUTCHEN,ALEXA on 09/16/2019                   $64.20
                 research

09/16/19         Computer         Westlaw usage by BOEHM,KOREY on 09/16/2019                    $129.30
                 research

09/16/19         Computer         Westlaw usage by SHIMAMURA,ALEXANDER on 09/16/2019             $25.93
                 research

09/16/19         Computer         Westlaw usage by STEFANIK,SEAN on 09/16/2019                   $23.45
                 research

09/16/19         Computer         Westlaw usage by HIRAKAWA,LISA on 09/16/2019                   $14.81
                 research

09/16/19         Computer         Westlaw usage by PECK,DANIEL on 09/16/2019                    $112.37
                 research




                                                         78
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36      Main Document
                                                  Pg 93 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                Amount
                 Type

09/16/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                 $207.69
                 research

09/16/19         Computer         US BACK-OF-BOOK INDICES;DOC ACCESS                          $249.13
                 research

09/16/19         Computer         US CASES;DOC ACCESS                                          $13.64
                 research

09/16/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                 $103.85
                 research

09/17/19         Computer         Westlaw usage by CONSLA,DYLAN on 09/17/2019                  $25.93
                 research

09/17/19         Computer         Westlaw usage by RUBIN,DYLAN on 09/17/2019                    $6.17
                 research

09/18/19         Computer         Westlaw usage by STEFANIK,SEAN on 09/18/2019                 $73.63
                 research

09/18/19         Computer         Westlaw usage by STRAUSS,STEVEN on 09/18/2019                 $8.64
                 research

09/18/19         Computer         Westlaw usage by PECK,DANIEL on 09/18/2019                   $34.58
                 research

09/18/19         Computer         Westlaw usage by CONSLA,DYLAN on 09/18/2019                  $17.29
                 research

09/18/19         Computer         Westlaw usage by SWANNER,JACQUELYN on 09/18/2019             $29.62
                 research

09/18/19         Computer         Westlaw usage by KAUFMAN,ZACHARY on 09/18/2019               $32.52
                 research

09/18/19         Computer         Westlaw usage by MAZER,DEBORAH on 09/18/2019                  $8.64
                 research

09/18/19         Computer         US COURT RULES;DOC ACCESS                                     $1.05
                 research

09/18/19         Computer         US TREATISES;DOC ACCESS                                     $249.13
                 research

09/18/19         Computer         US TREATISES;DOC ACCESS                                      $49.83
                 research

09/18/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                 $311.54
                 research



                                                         79
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36       Main Document
                                                  Pg 94 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                 Amount
                 Type

09/18/19         Computer         US CASES;DOC ACCESS                                            $2.10
                 research

09/18/19         Computer         US TREATISES;DOC ACCESS                                       $49.83
                 research

09/18/19         Computer         US CASES;DOC ACCESS                                            $1.05
                 research

09/18/19         Computer         Westlaw usage by KAUFMAN,ZACHARY on 09/18/2019                 $8.64
                 research

09/19/19         Computer         Westlaw usage by STEFANIK,SEAN on 09/19/2019                 $322.01
                 research

09/19/19         Computer         Westlaw usage by RUBIN,DYLAN on 09/19/2019                   $110.20
                 research

09/19/19         Computer         Westlaw usage by DIGGS,ELIZABETH on 09/19/2019               $159.04
                 research

09/19/19         Computer         Westlaw usage by WASSERMAN,BENJAMIN on 09/19/2019             $20.98
                 research

09/19/19         Computer         Westlaw usage by BENEDICT,KATHRYN on 09/19/2019                $8.64
                 research

09/19/19         Computer         Westlaw usage by KAUFMAN,ZACHARY on 09/19/2019                 $4.35
                 research

09/19/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                   $51.92
                 research

09/19/19         Computer         US CASES;DOC ACCESS                                            $2.10
                 research

09/19/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                  $155.77
                 research

09/19/19         Computer         US BACK-OF-BOOK INDICES;DOC ACCESS                           $398.60
                 research

09/19/19         Computer         US CASES;DOC ACCESS                                            $1.05
                 research

09/19/19         Computer         US TREATISES;DOC ACCESS                                      $298.95
                 research

09/19/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                   $51.92
                 research



                                                         80
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36     Main Document
                                                  Pg 95 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                               Amount
                 Type

09/19/19         Computer         US BACK-OF-BOOK INDICES;DOC ACCESS                         $149.48
                 research

09/19/19         Computer         US STATUTORY CODES;DOC ACCESS                                $2.10
                 research

09/19/19         Computer         US TREATISES;DOC ACCESS                                    $298.95
                 research

09/19/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                 $51.92
                 research

09/19/19         Computer         US TREATISES;DOC ACCESS                                    $149.48
                 research

09/20/19         Computer         Westlaw usage by RUBIN,DYLAN on 09/20/2019                   $8.64
                 research

09/20/19         Computer         Westlaw usage by CARDILLO,GARRETT on 09/20/2019             $17.29
                 research

09/20/19         Computer         Westlaw usage by DIMARCO,NICHOLAS on 09/20/2019             $45.46
                 research

09/20/19         Computer         US TREATISES;DOC ACCESS                                     $27.80
                 research

09/20/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                $103.85
                 research

09/20/19         Computer         US TREATISES;DOC ACCESS                                     $49.83
                 research

09/20/19         Computer         US CASES;DOC ACCESS                                          $1.05
                 research

09/22/19         Computer         Westlaw usage by RUBIN,DYLAN on 09/22/2019                  $30.42
                 research

09/23/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                $192.29
                 research

09/23/19         Computer         US BACK-OF-BOOK INDICES;DOC ACCESS                         $138.39
                 research

09/23/19         Computer         US TREATISES;DOC ACCESS                                    $230.65
                 research

09/23/19         Computer         Westlaw usage by RECK,NICK on 09/23/2019                    $25.08
                 research



                                                         81
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36       Main Document
                                                  Pg 96 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                 Amount
                 Type

09/23/19         Computer         Westlaw usage by HORLEY,TIMOTHY on 09/23/2019                 $12.54
                 research

09/23/19         Computer         Westlaw usage by BENEDICT,KATHRYN on 09/23/2019               $34.02
                 research

09/23/19         Computer         Westlaw usage by WASSERMAN,BENJAMIN on 09/23/2019             $12.54
                 research

09/23/19         Computer         Westlaw usage by RUBIN,DYLAN on 09/23/2019                    $81.01
                 research

09/24/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                   $48.07
                 research

09/24/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                  $144.22
                 research

09/24/19         Computer         US CASES;DOC ACCESS                                            $3.88
                 research

09/24/19         Computer         US TREATISES;DOC ACCESS                                       $92.26
                 research

09/24/19         Computer         Westlaw usage by TOWNES,ESTHER on 09/24/2019                  $12.54
                 research

09/24/19         Computer         Westlaw usage by MAZER,DEBORAH on 09/24/2019                  $21.48
                 research

09/24/19         Computer         Westlaw usage by KAUFMAN,ZACHARY on 09/24/2019                $12.54
                 research

09/24/19         Computer         Westlaw usage by RUBIN,DYLAN on 09/24/2019                    $84.17
                 research

09/25/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                   $96.14
                 research

09/25/19         Computer         US CASES;DOC ACCESS                                            $1.94
                 research

09/25/19         Computer         US TREATISES;DOC ACCESS                                      $184.52
                 research

09/25/19         Computer         Westlaw usage by KAUFMAN,ZACHARY on 09/25/2019                $37.26
                 research

09/25/19         Computer         Westlaw usage by BOEHM,KOREY on 09/25/2019                    $96.71
                 research



                                                         82
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36      Main Document
                                                  Pg 97 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                Amount
                 Type

09/25/19         Computer         Westlaw usage by TOWNES,ESTHER on 09/25/2019                 $25.08
                 research

09/25/19         Computer         Westlaw usage by MAZER,DEBORAH on 09/25/2019                 $62.69
                 research

09/25/19         Computer         Westlaw usage by RUBIN,DYLAN on 09/25/2019                   $37.26
                 research

09/25/19         Computer         Westlaw usage by YOUNG,RYAN on 09/25/2019                    $25.08
                 research

09/26/19         Computer         Westlaw usage by TURAY,EDNA on 09/26/2019                    $80.58
                 research

09/26/19         Computer         Westlaw usage by LEVINE,ZACHARY on 09/26/2019                 $8.94
                 research

09/26/19         Computer         Westlaw usage by LUTCHEN,ALEXA on 09/26/2019                 $12.54
                 research

09/26/19         Computer         Westlaw usage by BENEDICT,KATHRYN on 09/26/2019              $25.08
                 research

09/26/19         Computer         Westlaw usage by BOEHM,KOREY on 09/26/2019                   $15.78
                 research

09/26/19         Computer         Westlaw usage by D'ANGELO,NICHOLAS on 09/26/2019             $34.02
                 research

09/26/19         Computer         Westlaw usage by TOWNES,ESTHER on 09/26/2019                 $37.61
                 research

09/26/19         Computer         Westlaw usage by WORKMAN,BRETT on 09/26/2019                $368.16
                 research

09/26/19         Computer         US TREATISES;DOC ACCESS                                     $784.20
                 research

09/26/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                  $48.07
                 research

09/27/19         Computer         US CASES;DOC ACCESS                                           $3.88
                 research

09/27/19         Computer         US TREATISES;DOC ACCESS                                     $599.68
                 research

09/27/19         Computer         Westlaw usage by RUBIN,DYLAN on 09/27/2019                   $25.08
                 research



                                                         83
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36      Main Document
                                                  Pg 98 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                Amount
                 Type

09/27/19         Computer         Westlaw usage by PECK,DANIEL on 09/27/2019                  $137.92
                 research

09/27/19         Computer         Westlaw usage by LUTCHEN,ALEXA on 09/27/2019                 $25.08
                 research

09/27/19         Computer         Westlaw usage by MAZER,DEBORAH on 09/27/2019                 $50.15
                 research

09/27/19         Computer         Westlaw usage by D'ANGELO,NICHOLAS on 09/27/2019             $25.08
                 research

09/27/19         Computer         Westlaw usage by TOWNES,ESTHER on 09/27/2019                 $37.61
                 research

09/27/19         Computer         Westlaw usage by WORKMAN,BRETT on 09/27/2019                  $8.94
                 research

09/28/19         Computer         Westlaw usage by CARDILLO,GARRETT on 09/28/2019              $47.42
                 research

09/28/19         Computer         Westlaw usage by PERA,MICHAEL on 09/28/2019                   $8.53
                 research

09/28/19         Computer         Westlaw usage by MAZER,DEBORAH on 09/28/2019                 $47.84
                 research

09/28/19         Computer         Westlaw usage by TOWNES,ESTHER on 09/28/2019                 $11.96
                 research

09/29/19         Computer         Westlaw usage by BOEHM,KOREY on 09/29/2019                   $11.96
                 research

09/29/19         Computer         Westlaw usage by BENEDICT,KATHRYN on 09/29/2019              $35.88
                 research

09/29/19         Computer         Westlaw usage by DIMARCO,NICHOLAS on 09/29/2019             $140.08
                 research

09/29/19         Computer         Westlaw usage by MCCARTHY,GERARD on 09/29/2019               $68.32
                 research

09/29/19         Computer         Westlaw usage by MAZER,DEBORAH on 09/29/2019                 $11.96
                 research

09/29/19         Computer         Westlaw usage by TOWNES,ESTHER on 09/29/2019                 $47.84
                 research

09/29/19         Computer         US TREATISES;DOC ACCESS                                      $85.81
                 research



                                                         84
  19-23649-rdd            Doc 551      Filed 11/27/19 Entered 11/27/19 16:12:36      Main Document
                                                  Pg 99 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                Amount
                 Type

09/30/19         Computer         Westlaw usage by D'ANGELO,NICHOLAS on 09/30/2019             $11.96
                 research

09/30/19         Computer         Westlaw usage by ZALECK,MARK on 09/30/2019                   $26.93
                 research

09/30/19         Computer         Westlaw usage by DIMARCO,NICHOLAS on 09/30/2019             $101.78
                 research

09/30/19         Computer         Westlaw usage by GRIFFITH,DANIELLE on 09/30/2019             $35.88
                 research

09/30/19         Computer         Westlaw usage by HWANG,ERIC on 09/30/2019                    $23.92
                 research

09/30/19         Computer         Westlaw usage by PERA,MICHAEL on 09/30/2019                  $76.85
                 research

09/30/19         Computer         Westlaw usage by MAZER,DEBORAH on 09/30/2019                 $95.67
                 research

09/30/19         Computer         Westlaw usage by MCCARTHY,GERARD on 09/30/2019               $11.96
                 research

09/30/19         Computer         Westlaw usage by MEYER,COREY on 09/30/2019                   $68.24
                 research

09/30/19         Computer         Westlaw usage by PECK,DANIEL on 09/30/2019                  $128.03
                 research

09/30/19         Computer         Westlaw usage by TOWNES,ESTHER on 09/30/2019                 $47.84
                 research

09/30/19         Computer         Westlaw usage by WASIM,ROSHAAN on 09/30/2019                 $20.49
                 research

09/30/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                  $89.42
                 research

09/30/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                  $44.71
                 research

09/30/19         Computer         US TREATISES;DOC ACCESS                                      $85.81
                 research

09/30/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                 $178.84
                 research

09/30/19         Computer         US DOCKETS;DOC ACCESS                                         $3.16
                 research



                                                         85
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 100 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                           Amount
                 Type

09/30/19         Computer         LEXIS ADVANCE;ACCESS CHARGE                                            $44.71
                 research

09/30/19         Computer         US TREATISES;DOC ACCESS                                                $42.90
                 research

09/30/19         Computer         US TREATISES;DOC ACCESS                                               $128.71
                 research

09/30/19         Computer         US TREATISES;DOC ACCESS                                                $42.90
                 research

09/16/19         Court and        Payee: Chao, Daniel, New York Southern Bankruptcy Court,            $10,302.00
                 related fees     9/16/2019,

09/17/19         Court and        Payee: Levine, Zachary, CourtCall, 9/17/2019,                         $128.00
                 related fees

09/18/19         Court and        VENDOR: Veritext NY/Chicago/TX Reporting Compan, INVOICE #:          $1,300.75
                 related fees     NY3951874, DATE: 9/18/2019
                                  req by Magali Giddens


09/18/19         Court and        VENDOR: Clerk of the Court SDNY; INVOICE#: 204939-MP;                 $317.80
                 related fees     DATE: 9/18/2019 - CERTIFIED COPIES . REQ BY M. GIDDENS


09/19/19         Court and        Payee: Jackson Jr., Ahmad, United States Bankruptcy Court,               $2.00
                 related fees     9/19/2019, Electronic Copy

09/19/19         Court and        Payee: Jackson Jr., Ahmad, United States Bankruptcy Court,             $11.30
                 related fees     9/19/2019, Copies at United States Bankruptcy Court


09/19/19         Court and        Payee: Jackson Jr., Ahmad, UPS Store -                                   $4.36
                 related fees     #6404, 9/19/2019, Scan document at UPS Store


09/30/19         Court and        Pacer transactions 09/2019                                             $41.30
                 related fees

09/30/19         Court and        Pacer transactions 09/2019                                             $93.10
                 related fees

09/30/19         Court and        Pacer transactions 09/2019                                            $541.00
                 related fees

09/30/19         Court and        Pacer transactions 09/2019                                            $103.00
                 related fees



                                                            86
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                   Main Document
                                                  Pg 101 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                              Amount
                 Type

09/30/19         Court and        CourtAlert.com: Watchlist - Z. Kaufman, M. Clarens, K.                     $10.18
                 related fees     Wolfgang, N. Reck, E. Kim; Court SUP/Suffolk; Index No.
                                  400000/17; IN RE OPIOID LITIGATION vs. NONE


09/30/19         Court and        CourtAlert.com: B. Kaminetzky, G. McCarthy,                                $17.58
                 related fees     T. Horley; Court Supreme Court of the United States; Index No.
                                  22O151; State of Arizona, Plaintiff v. Richard Sackler, et al.


09/30/19         Court and        CourtAlert.com: D.Rubin, E. Townes; Court CANB; Index No.                 $201.20
                 related fees     3:19-ap-03003; PG&E
                                  Corporation et al v. Federal Energy Regulatory Commission


09/30/19         Court and        CourtAlert.com: D. Seshens, D. Rubin, A. Bianchini, E. Townes, N.         $201.20
                 related fees     Reck, D. Mazer, A. Lutchen, A.Bianchini, A.Shpeen, C. Cagney,
                                  D. Peck,; Court CANB; Index No. 3:19-bk-30088; PG&E
                                  Corporation


09/30/19         Court and        CourtAlert.com: D. Seshens, A. Shpeen. A. Lutchen; Court                   $80.02
                 related fees     CANB; Index No. 3:19-ap- 03006; PG&E Corporation et al v.
                                  Public Employees Retirement Association of New Mex



09/30/19         Court and        CourtAlert.com: K. Benedict; Court DEB; Index No. 1:19-ap-                 $80.02
                 related fees     50261; Insys Therapeutics, Inc. et al v. STATE OF ARIZONA, ex.
                                  rel. Mark Brnovich, Attorney


09/30/19         Court and        CourtAlert.com: E. Townes, K. Benedict, C. McMillian, D.                   $80.02
                 related fees     Mazer; Court DEB; Index No. 1:19-bk-11157; Elk Petroleum,
                                  Inc.

09/30/19         Court and        CourtAlert.com: K. Benedict; Court DEB; Index No. 1:19-bk-                 $80.02
                 related fees     11292; Insys Therapeutics, Inc.

09/16/19         Duplication      Requested by Magali Giddens; 15 pages duplicated; Job ID                    $1.50
                                  122593

09/16/19         Duplication      Requested by Kelly DiMeo; 14 pages duplicated; Job ID                       $1.40
                                  122585

09/16/19         Duplication      Requested by Magali Giddens; 30 pages duplicated; Job ID                    $3.00
                                  122582

09/16/19         Duplication      Requested by Elizabeth Diggs; 14 pages duplicated; Job ID                   $1.40
                                  122550



                                                            87
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 102 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                          Amount
                 Type

09/16/19         Duplication      Requested by Daniel Rudewicz; 584 pages printed; Job ID                $58.40
                                  122569

09/16/19         Duplication      Requested by Daniel Rudewicz; 500 pages printed; Job ID                $50.00
                                  122545

09/16/19         Duplication      Requested by Magali Giddens; 546 pages printed; Job ID                 $54.60
                                  122593

09/16/19         Duplication      Requested by Magali Giddens; 1086 pages printed; Job ID               $108.60
                                  122582

09/16/19         Duplication      Requested by Daniel Rudewicz; 387 color pages print; Job               $38.70
                                  ID 122549

09/16/19         Duplication      Requested by Elizabeth Diggs; 80 color pages print; Job ID              $8.00
                                  122550

09/16/19         Duplication      Requested by Daniel Chao; 360 color pages print; Job ID                $36.00
                                  122552

09/16/19         Duplication      Requested by Daniel Chao; 432 color pages print; Job ID                $43.20
                                  122546

09/16/19         Duplication      Requested by Kelly DiMeo; 2 binders; Job ID 122585                      $0.20


09/16/19         Duplication      Requested by Magali Giddens; 1 binders; Job ID 122593                   $0.10


09/17/19         Duplication      Requested by Daniel Chao; 16 pages duplicated; Job ID                   $1.60
                                  122637

09/17/19         Duplication      Requested by Daniel Chao; 670 pages printed; Job ID 122637             $67.00


09/17/19         Duplication      Requested by Daniel Chao; 1 binders; Job ID 122637                      $0.10


09/17/19         Duplication      Requested by Zachary Levine; 85 pages duplicated; Job ID                $8.50
                                  122628

09/17/19         Duplication      Requested by Zachary Levine; 1710 pages printed; Job ID               $171.00
                                  122612

09/17/19         Duplication      Requested by Zachary Levine; 3864 color pages print; Job              $386.40
                                  ID 122628

09/17/19         Duplication      Requested by Zachary Levine; 5 binders; Job ID 122628                   $0.50




                                                            88
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36              Main Document
                                                  Pg 103 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                          Amount
                 Type

09/19/19         Duplication      Requested by Tim Horley; 1005 pages duplicated; Job ID               $100.50
                                  122705

09/19/19         Duplication      Requested by Magali Giddens; 558 pages duplicated; Job ID             $55.80
                                  122731

09/19/19         Duplication      Requested by Magali Giddens; 558 images scanned; Job ID               $55.80
                                  122731

09/19/19         Duplication      Requested by Ryan Young; 1189 pages printed; Job ID                  $118.90
                                  122718

09/19/19         Duplication      Requested by Tim Horley; 18760 color pages print; Job ID            $1,876.00
                                  122705

09/19/19         Duplication      Requested by Nicholas DiMarco; 116 color pages print; Job             $11.60
                                  ID 122719

09/19/19         Duplication      Requested by Tim Horley; 65 binders; Job ID 122705                     $6.50


09/20/19         Duplication      Requested by Ryan Young; 74 pages duplicated; Job ID                   $7.40
                                  122766

09/20/19         Duplication      Requested by Ryan Young; 16 pages duplicated; Job ID                   $1.60
                                  122776

09/20/19         Duplication      Requested by Ryan Young; 2208 color pages print; Job ID              $220.80
                                  122766

09/20/19         Duplication      Requested by Ryan Young; 8054 color pages print; Job ID              $805.40
                                  122776

09/20/19         Duplication      Requested by Ryan Young; 4 binders; Job ID 122766                      $0.40


09/20/19         Duplication      Requested by Ryan Young; 4 binders; Job ID 122776                      $0.40


09/23/19         Duplication      Requested by Ryan Young; 856 pages duplicated; Job ID                 $85.60
                                  122794

09/23/19         Duplication      Requested by Ryan Young; 20112 color pages print; Job ID            $2,011.20
                                  122794

09/23/19         Duplication      Requested by Ryan Young; 12 binders; Job ID 122794                     $1.20


09/23/19         Duplication      Requested by Ryan Young; 347 pages duplicated; Job ID                 $34.70
                                  122814



                                                            89
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 104 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                          Amount
                 Type

09/23/19         Duplication      Requested by Jacquelyn Knudson; 276 pages printed; Job ID              $27.60
                                  122813

09/23/19         Duplication      Requested by Margarita Clarens; 108 pages printed; Job ID              $10.80
                                  122795

09/23/19         Duplication      Requested by Ryan Young; 1420 color pages print; Job ID               $142.00
                                  122814

09/23/19         Duplication      Requested by Jacquelyn Knudson; 12 binders; Job ID 122813               $1.20


09/23/19         Duplication      Requested by Margarita Clarens; 1 binders; Job ID 122795                $0.10


09/23/19         Duplication      Requested by Ryan Young; 4 binders; Job ID 122814                       $0.40


09/24/19         Duplication      Requested by Garrett Cardillo; 34 pages duplicated; Job ID              $3.40
                                  122834

09/24/19         Duplication      Requested by Garrett Cardillo; 44 pages duplicated; Job ID              $4.40
                                  122827

09/24/19         Duplication      Requested by Colin Fennelly; 57 pages duplicated; Job ID                $5.70
                                  122832

09/24/19         Duplication      Requested by Ryan Young; 238 pages duplicated; Job ID                  $23.80
                                  122828

09/24/19         Duplication      Requested by Garrett Cardillo; 338 pages printed; Job ID               $33.80
                                  122827

09/24/19         Duplication      Requested by Ryan Young; 1705 color pages print; Job ID               $170.50
                                  122828

09/24/19         Duplication      Requested by Garrett Cardillo; 1414 color pages print; Job            $141.40
                                  ID 122834

09/24/19         Duplication      Requested by Colin Fennelly; 795 color pages print; Job ID             $79.50
                                  122832

09/24/19         Duplication      Requested by Julia Kiechel; 2778 color pages print; Job ID            $277.80
                                  122822

09/24/19         Duplication      Requested by Colin Fennelly; 3 binders; Job ID 122832                   $0.30


09/24/19         Duplication      Requested by Ryan Young; 7 binders; Job ID 122828                       $0.70




                                                             90
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 105 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                          Amount
                 Type

09/24/19         Duplication      Requested by Garrett Cardillo; 4 binders; Job ID 122827                 $0.40


09/24/19         Duplication      Requested by Garrett Cardillo; 4 binders; Job ID 122834                 $0.40


09/24/19         Duplication      Requested by Julia Kiechel; 8 binders; Job ID 122822                    $0.80


09/24/19         Duplication      Requested by Jaclyn Katz; 102 pages duplicated; Job ID                 $10.20
                                  122842

09/24/19         Duplication      Requested by Jaclyn Katz; 2310 color pages print; Job ID              $231.00
                                  122842

09/24/19         Duplication      Requested by Jaclyn Katz; 6 binders; Job ID 122842                      $0.60


09/25/19         Duplication      Requested by Julia Kiechel; 1083 color pages print; Job ID            $108.30
                                  122894

09/25/19         Duplication      Requested by Julia Kiechel; 3 binders; Job ID 122894                    $0.30


09/26/19         Duplication      Requested by Daniel Zhang; 75 pages duplicated; Job ID                  $7.50
                                  122931

09/26/19         Duplication      Requested by Mohamed Ismail; 56 pages duplicated; Job ID                $5.60
                                  122933

09/26/19         Duplication      Requested by Daniel Zhang; 1395 color pages print; Job ID             $139.50
                                  122931

09/26/19         Duplication      Requested by Mohamed Ismail; 1712 color pages print; Job              $171.20
                                  ID 122933

09/26/19         Duplication      Requested by Daniel Zhang; 5 binders; Job ID 122931                     $0.50


09/26/19         Duplication      Requested by Mohamed Ismail; 4 binders; Job ID 122933                   $0.40


09/27/19         Duplication      Requested by Ryan Young; 116 pages duplicated; Job ID                  $11.60
                                  122946

09/27/19         Duplication      Requested by Benjamin Wasserman; 28 pages duplicated; Job ID            $2.80
                                  122963

09/27/19         Duplication      Requested by Ryan Young; 24 pages duplicated; Job ID                    $2.40
                                  122953



                                                             91
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 106 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                            Amount
                 Type

09/27/19         Duplication      Requested by Benjamin Wasserman; 252 color pages print; Job ID          $25.20
                                  122963

09/27/19         Duplication      Requested by Deborah Mazer; 14 color pages print; Job ID 122937           $1.40


09/27/19         Duplication      Requested by Ryan Young; 2190 color pages print; Job ID 122946         $219.00


09/27/19         Duplication      Requested by Ryan Young; 114 color pages print; Job ID 122953           $11.40


09/27/19         Duplication      Requested by Benjamin Wasserman; 1 binders; Job ID                        $0.10
                                  122963

09/27/19         Duplication      Requested by Ryan Young; 1 binders; Job ID 122953                         $0.10


09/27/19         Duplication      Requested by Ryan Young; 2 binders; Job ID 122946                         $0.20


09/30/19         Duplication      Requested by Sean Stefanik; 370 color pages print; Job ID 122967        $37.00


09/30/19         Duplication      Requested by Ryan Young; 1000 color pages print; Job ID 122985         $100.00


09/30/19         Duplication      Requested by Gerard McCarthy; 365 color pages print; Job ID             $36.50
                                  122968

09/30/19         Duplication      Requested by Sean Stefanik; 1 binders; Job ID 122967                      $0.10


09/30/19         Duplication      Requested by Gerard McCarthy; 1 binders; Job ID 122968                    $0.10


09/18/19         Meals            Payee: Robertson, Christopher, Bar Brace - LGA, 9/18/2019,              $21.56
                 Out of Town
                UCC Formation
09/17/19        Meeting Venue     Payee: Huebner, Marshall S., Grand Hyatt New York,                   $10,800.40
                Fee               9/17/2019, UCC Formation Meeting

09/16/19         Meals            Payee: Cardillo, Garrett, OT 6:39 PM, Chipotle,                         $18.24

09/16/19         Meals            Payee: Horley, Tim, OT 12:58 AM, Table Time,                            $15.96

09/16/19         Meals            Payee: Mazer, Deborah S., OT 5:48 PM, Eli Zabar FTM,                      $8.00


09/16/19         Meals            Payee: Mazer, Deborah S., OT 5:52 PM, Eli Zabar FTM,                      $3.99



                                                             92
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36             Main Document
                                                  Pg 107 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                        Amount
                 Type

09/16/19         Meals            SeamlessWeb delivery from Friedmans to EC Townes at 20:32:34         $20.00


09/16/19         Meals            SeamlessWeb delivery from Sukhumvit 51 to EJ Kaletka at              $20.00
                                  19:42:02

09/16/19         Meals            SeamlessWeb delivery from Kosher Deluxe Restaurant to SI             $20.00
                                  Brecher at 18:56:47

09/16/19         Meals            Payee: Horley, Tim, OT 7:21 PM, Antalia,                             $20.00

09/16/19         Meals            DPW Cafeteria 07:56 PM DINNER - HEALTHY BAR – K. Benedict            $20.00


09/16/19         Meals            DPW Cafeteria 08:08 PM DINNER – D. Bauer                              $8.50


09/16/19         Meals            DPW Cafeteria 07:31 PM DINNER Plate – E. Kim                         $14.00


09/16/19         Meals            DPW Cafeteria 07:29 PM DINNER – Buffet – D. Consla                   $19.33


09/16/19         Meals            DPW Cafeteria 07:55 PM DINNER – Buffet – C. Robertson                 $9.72


09/16/19         Meals            DPW Cafeteria 07:20 PM DINNER – Buffet – D. Rubin                     $9.64

09/16/19         Meals            Payee: Chao, Daniel, OT 7:13 PM, Hai Street,                         $17.00

09/16/19         Meals            Payee: Vonnegut, Eli J., GRK Fresh Greek, 9/16/2019,                 $15.70


09/17/19         Meals            Purdue Pharma Conference Meal                                       $326.63

09/17/19         Meals            Purdue Pharma Conference Meal                                       $195.98

09/17/19         Meals            Payee: Horley, Tim, OT 7:37 PM, Kuro-Obi,                            $17.42

09/17/19         Meals            DPW Cafeteria 07:57 PM DINNER – Buffet – D. Chao                     $18.21


09/17/19         Meals            DPW Cafeteria 07:40 PM DINNER – Buffet K. Benedict                   $17.53


09/17/19         Meals            DPW Cafeteria 08:26 PM DINNER - HEALTHY BAR – M. Tobak               $12.80




                                                            93
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                  Main Document
                                                  Pg 108 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                             Amount
                 Type

09/18/19         Meals            DPW Cafeteria 08:01 PM DINNER – Buffet – D. Chao                          $14.02


09/18/19         Meals            DPW Cafeteria 08:33 PM DINNER - SALAD BAR – M. Tobak                       $8.31

09/18/19         Meals            DPW Cafeteria 07:09 PM DINNER – Buffet – D. Consla                        $16.84


09/18/19         Meals            DPW Cafeteria 06:53 PM DINNER – Plate – E. Kim                            $16.70


09/18/19         Meals            DPW Cafeteria 07:30 PM DINNER - SALAD BAR – M. Huebner                     $5.54


09/18/19         Meals            DPW Cafeteria 05:11 PM DINNER - YAMATO SUSHI – B. Wasserman                $7.00

09/18/19         Meals            DPW Cafeteria 08:40 PM DINNER – Buffet – R. Young                          $7.60


09/18/19         Meals            DPW Cafeteria 08:03 PM DINNER - HEALTHY BAR – K. Benedict                 $18.05


09/18/19         Meals            DPW Cafeteria 07:46 PM DINNER – Plate – B. Wasserman                      $12.00

09/18/19         Meals            Payee: Consla, Dylan A., Herb Thai , 9/18/2019,                           $18.78


09/18/19         Meals            SeamlessWeb delivery from Hatsuhana to DS Mazer at 18:02:43               $20.00


09/18/19         Meals            SeamlessWeb delivery from Pita Grill to S Strauss at 20:18:03             $20.00


09/18/19         Meals            SeamlessWeb delivery from Eden Wok to ZA Kaufman at 20:43:01              $20.00


09/18/19         Meals            Payee: Horley, Tim, Antalia, 9/18/2019,                                   $20.00



09/18/19         Meals            Payee: Rubin, Dylan S., OT 8:25 PM, Dos Toros,                            $11.63


09/19/19         Meals            DPW Cafeteria 07:20 PM DINNER - SALAD BAR – K. Benedict                   $20.00


09/19/19         Meals            DPW Cafeteria 08:00 PM DINNER – Buffet – T. Horley                        $10.58

09/19/19         Meals            DPW Cafeteria 08:26 PM DINNER – Plate – D. Rubin                          $10.00




                                                             94
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                   Main Document
                                                  Pg 109 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                              Amount
                 Type

09/19/19         Meals            DPW Cafeteria 08:42 PM DINNER – SUSHI BAR – K. Benedict                    $14.05


09/19/19         Meals            Payee: Kim, Eric M., OT 7:15 PM, Dos Toros,                                $15.64

09/19/19         Meals            Purdue Pharma Conference Meal                                               $5.44

09/19/19         Meals            Payee: Wasserman, Benjamin D., OT 7:51 PM, Poke Time,                      $20.00


09/19/19         Meals            Payee: Stefanik, Sean, OT 6:24 PM, Fuel Grill & Juice Bar,                 $20.00


09/21/19         Meals            Payee: Cardillo, Garrett, OT 2:30 PM, Two Tablespoons,                     $19.00


09/23/19         Meals            Payee: Chao, Daniel, OT 7:08 PM, Sticky's,                                 $20.00

09/23/19         Meals            DPW Cafeteria 07:14 PM DINNER – Buffet – G. Cardillo                       $11.84


09/23/19         Meals            07:15 PM DINNER - Dinner Buffet – K. Benedict                              $19.32


09/23/19         Meals            DPW Cafeteria 07:23 PM DINNER - SALAD BAR – M. Tobak                       $10.01


09/23/19         Meals            DPW Cafeteria 08:23 PM DINNER - SALAD BAR – T. Horley                      $10.41

09/23/19         Meals            SeamlessWeb delivery from Hatsuhana to DS Mazer at 18:28:53                $20.00


09/23/19         Meals            SeamlessWeb delivery from Angelo Bellini to M Pera at 20:56:48             $20.00


09/24/19         Meals            07:00 PM DINNER - SALAD BAR; Dinner 12                                     $13.72
                                  Plate

09/24/19         Meals            DPW Cafeteria 08:03 PM DINNER Buffet – C. Robertson                        $13.15


09/24/19         Meals            DPW Cafeteria 07:23 PM DINNER - SALAD BAR – M. Tobak                        $9.96


09/24/19         Meals            DPW Cafeteria 07:30 PM DINNER – Buffet – D. Chao                           $17.62


09/24/19         Meals            DPW Cafeteria 08:47 PM DINNER – Buffet – K. Benedict                       $12.70


09/24/19         Meals            Purdue Pharma                                                             $639.08

                                                            95
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 110 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL


                 Expense
Date                              Description                                                             Amount
                 Type

09/24/19         Meals            DPW Cafeteria 06:57 PM DINNER – Buffet – D. Consla                       $18.15

09/24/19         Meals            SeamlessWeb delivery from Bobwhite Counter at Urbanspace                 $20.00
                                  Vanderbilt to M Pera at 19:43:37


09/25/19         Meals            SeamlessWeb delivery from Bareburger - Murray Hill to M Pera             $20.00
                                  at 19:31:05

09/25/19         Meals            Payee: Lutchen, Alexa B., OT 7:20 PM, Just Salad Midtown East,           $20.00


09/25/19         Meals            Payee: Horley, Tim, OT 8:33 PM, The Kati Roll,                           $16.83

09/25/19         Meals            DPW Cafeteria 08:02 PM DINNER – K. Benedict                               $9.60


09/26/19         Meals            DPW Cafeteria 07:09 PM DINNER – Buffet – T. Horley                       $12.62

09/26/19         Meals            DPW Cafeteria 07:15 PM DINNER – Plate – B. Workman                       $14.50


09/26/19         Meals            DPW Cafeteria 08:43 PM DINNER – Buffet – D. Rubin                         $7.84

09/26/19         Meals            DPW Cafeteria 08:56 PM DINNER - SALAD BAR – K. Benedict                  $18.01


09/26/19         Meals            DPW Cafeteria 06:17 PM DINNER – Plate – Z. Levine                        $12.20


09/26/19         Meals            SeamlessWeb delivery from Friedmans to DS Mazer at 18:56:25              $20.00


09/26/19         Meals            Payee: Huebner, Marshall S., OT 8:44 PM, Nargila Grill,                  $20.00


09/26/19         Meals            Purdue Pharma- Chaper                                                  $1,066.98

09/27/19         Meals            DPW Cafeteria 07:36 PM DINNER –Buffet – K. Benedict                      $20.00




09/27/19         Meals            SeamlessWeb delivery from GRK Fresh Greek to G Cardillo at               $20.00
                                  19:16:50

09/29/19         Meals            SeamlessWeb delivery from Aji Sushi to KS Benedict at 20:28:18           $20.00




                                                            96
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                   Main Document
                                                  Pg 111 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                               Amount
                 Type

09/29/19         Meals            SeamlessWeb delivery from Just Salad Midtown East (46th + 3rd)             $20.00
                                  to KS Benedict at 13:49:56


09/29/19         Meals            SeamlessWeb delivery from Angelo Bellini to M Pera at 19:44:13             $20.00


09/29/19         Meals            SeamlessWeb delivery from Toasties to M Pera at 13:43:57                   $20.00


09/30/19         Meals            SeamlessWeb delivery from Pho Saigon to G Cardillo at 17:58:56             $20.00


09/30/19         Meals            DPW Cafeteria 06:43 PM DINNER – Buffet -                                   $19.92


09/30/19         Meals            DPW Cafeteria 07:52 PM DINNER – Buffet -                                   $17.74




09/17/19         Miscellaneo      Payee: Levine, Zachary, PSAV - Ritz-Carlton White Plains,                $2,812.79
                 us               9/17/2019,
                 disburseme
                 nts

09/16/19         Office           Payee: Florio, Joseph A., Wolters Kluwer, 9/16/2019, purchase              $62.91
                 charges          "Pain management in trauma patients affected by the opiod
                                  epidemic" published in The Journal of Trauma and Acute Care
                                  Surgery - for A Milstein


09/09/19         Outside          courtlink: Search For Paul Smyth                                            $0.11
                 Documents
                 & Research

09/18/19         Outside          Restructuring Concepts/netDockets: Erik Jerrard; 9/18/2019                 $21.78
                 Documents        3:23:00 PM; Description: Multiple case search; Charge id: 255700
                 & Research

09/18/19         Outside          Restructuring Concepts/netDockets: Erik Jerrard; 9/18/2019                 $21.78
                 Documents        12:15:00 PM; Description: Multiple case search; Charge id: 255639
                 & Research

09/18/19         Outside          Restructuring Concepts/netDockets: Erik Jerrard; 9/18/2019                 $21.78
                 Documents        3:19:00 PM; Description: Multiple case search; Charge id: 255698
                 & Research

09/18/19         Outside          courtlink: Single Search For Alexa Lutchen                                  $3.49
                 Documents
                 & Research



                                                            97
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                  Pg 112 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                           Amount
                 Type

09/18/19         Outside          courtlink: Document View For Dylan Rubin                                 $0.22
                 Documents
                 & Research

09/18/19         Outside          courtlink: Search For Dylan Rubin                                        $0.30
                 Documents
                 & Research

09/19/19         Outside          courtlink: Document View For Alexa Lutchen                               $0.22
                 Documents
                 & Research

09/19/19         Outside          courtlink: Single Search For Alexa Lutchen                               $3.49
                 Documents
                 & Research

09/19/19         Outside          courtlink: Search For Sean Stefanik                                      $4.23
                 Documents
                 & Research

09/19/19         Outside          courtlink: Search For Zachary Kaufman                                    $0.96
                 Documents
                 & Research

09/20/19         Outside          courtlink: Document View For Dylan Rubin                                 $0.11
                 Documents
                 & Research

09/20/19         Outside          courtlink: Search For Dylan Rubin                                        $0.11
                 Documents
                 & Research

09/23/19         Outside          courtlink: Document View For Dylan Rubin                                 $0.55
                 Documents
                 & Research

09/23/19         Outside          courtlink: Search For Dylan Rubin                                        $0.22
                 Documents
                 & Research

09/23/19         Outside          courtlink: Single Search For Esther Townes                              $20.94
                 Documents
                 & Research

09/24/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/24/2019              $21.78
                 Documents        10:15:00 AM; Description: Multiple case search; Charge id: 256223
                 & Research

09/24/19         Outside          Restructuring Concepts/netDockets: Erik Jerrard; 9/24/2019              $21.78
                 Documents        11:10:00 PM; Description: Multiple case search; Charge id: 256294
                 & Research


                                                            98
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 113 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                            Amount
                 Type

09/24/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/24/2019                $3.27
                 Documents        11:13:00 AM; Description: Downloaded S0187: Docket #884;
                 & Research       Charge id: 256229


09/24/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/24/2019                $3.27
                 Documents        11:13:00 AM; Description: Downloaded S0187: Docket #885;
                 & Research       Charge id: 256230


09/24/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/24/2019                $3.27
                 Documents        10:18:00 AM; Description: Downloaded P0174: Docket #783;
                 & Research       Charge id: 256226


09/24/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/24/2019                $3.27
                 Documents        10:23:00 AM; Description: Downloaded P0174: Docket #784;
                 & Research       Charge id: 256227


09/24/19         Outside          Restructuring Concepts/netDockets: Erik Jerrard; 9/24/2019               $21.78
                 Documents        9:05:00 PM; Description: Multiple case search; Charge id: 256292
                 & Research

09/24/19         Outside          Restructuring Concepts/netDockets: Erik Jerrard; 9/24/2019               $21.78
                 Documents        11:03:00 PM; Description: Multiple case search; Charge id: 256293
                 & Research

09/24/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/24/2019               $21.78
                 Documents        10:16:00 AM; Description: Multiple case search; Charge id: 256224
                 & Research

09/24/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/24/2019                $3.27
                 Documents        10:16:00 AM; Description: Downloaded P0156: Docket #526;
                 & Research       Charge id: 256225


09/24/19         Outside          Restructuring Concepts/netDockets: Erik Jerrard; 9/24/2019               $21.78
                 Documents        7:43:00 AM; Description: Multiple case search; Charge id: 256190
                 & Research

09/24/19         Outside          courtlink: Document View For Esther Townes                                $0.11
                 Documents
                 & Research

09/24/19         Outside          courtlink: Single Search For Esther Townes                                $3.49
                 Documents
                 & Research

09/25/19         Outside          Restructuring Concepts/netDockets: Zachary Levine; 9/25/2019              $5.44
                 Documents        12:57:00 PM; Description: Single case search; Charge id: 256424
                 & Research

                                                            99
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 114 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                            Amount
                 Type

09/25/19         Outside          courtlink: Single Search For Alexa Lutchen                                $3.49
                 Documents
                 & Research

09/26/19         Outside          Restructuring Concepts/netDockets: Zachary Levine; 9/26/2019              $3.27
                 Documents        8:41:00 AM; Description: Downloaded L0011: Docket #29239;
                 & Research       Charge id: 256499


09/26/19         Outside          Restructuring Concepts/netDockets: Zachary Levine; 9/26/2019              $3.27
                 Documents        8:44:00 AM; Description: Downloaded L0011: Docket #29240;
                 & Research       Charge id: 256500


09/26/19         Outside          Restructuring Concepts/netDockets: Zachary Levine; 9/26/2019             $21.78
                 Documents        8:35:00 AM; Description: Multiple case search; Charge id: 256494
                 & Research

09/26/19         Outside          Restructuring Concepts/netDockets: Zachary Levine; 9/26/2019              $3.27
                 Documents        8:37:00 AM; Description: Downloaded N0109: Docket #1259; Charge
                 & Research       id: 256496


09/26/19         Outside          courtlink: Document View For Esther Townes                                $0.44
                 Documents
                 & Research

09/26/19         Outside          courtlink: Single Search For Esther Townes                                $3.49
                 Documents
                 & Research

09/26/19         Outside          courtlink: Document View For Ryan Young                                   $0.11
                 Documents
                 & Research

09/26/19         Outside          courtlink: Single Search For Ryan Young                                   $3.49
                 Documents
                 & Research

09/27/19         Outside          courtlink: Document View For Brett Workman                                $0.55
                 Documents
                 & Research

09/27/19         Outside          courtlink: Search For Brett Workman                                       $0.33
                 Documents
                 & Research

09/28/19         Outside          courtlink: Single Search For Korey Boehm                                  $6.98
                 Documents
                 & Research



                                                            100
  19-23649-rdd            Doc 551        Filed 11/27/19 Entered 11/27/19 16:12:36                Main Document
                                                   Pg 115 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                            Amount
                 Type

09/29/19         Outside          courtlink: Document View For Korey Boehm                                  $0.11
                 Documents
                 & Research

09/29/19         Outside          courtlink: Single Search For Korey Boehm                                  $6.98
                 Documents
                 & Research

09/30/19         Outside          courtlink: Search For Aly Hamby                                           $1.16
                 Documents
                 & Research

09/30/19         Outside          courtlink: Search For Danielle Griffith                                   $0.44
                 Documents
                 & Research

09/30/19         Outside          courtlink: Single Search For Esther Townes                                $3.49
                 Documents
                 & Research

09/30/19         Outside          courtlink: Document View For Ryan Young                                   $0.77
                 Documents
                 & Research

09/30/19         Outside          courtlink: Single Search For Ryan Young                                 $219.87
                 Documents
                 & Research

09/30/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/30/2019               $21.78
                 Documents        9:57:00 AM; Description: Multiple case search; Charge id: 256779
                 & Research

09/30/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/30/2019                $3.27
                 Documents        9:59:00 AM; Description: Downloaded M0144: Docket #798; Charge
                 & Research       id: 256782


09/30/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/30/2019               $21.78
                 Documents        9:59:00 AM; Description: Multiple case search; Charge id: 256783
                 & Research

09/30/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/30/2019                $3.27
                 Documents        10:00:00 AM; Description: Downloaded W0091: Docket #512;
                 & Research       Charge id: 256784


09/30/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/30/2019                $3.27
                 Documents        12:20:00 PM; Description: Downloaded D0099: Docket #358;
                 & Research       Charge id: 256812




                                                              101
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 116 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                            Amount
                 Type

09/30/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/30/2019                $3.27
                 Documents        9:57:00 AM; Description: Downloaded A0231: Docket #330; Charge
                 & Research       id: 256780


09/30/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/30/2019               $21.78
                 Documents        9:58:00 AM; Description: Multiple case search; Charge id: 256781
                 & Research

09/30/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/30/2019                $3.27
                 Documents        12:24:00 PM; Description: Downloaded S0226: Docket #1160;
                 & Research       Charge id: 256813


09/30/19         Outside          Restructuring Concepts/netDockets: Michael Pera; 9/30/2019                $3.27
                 Documents        12:26:00 PM; Description: Downloaded B0114: Docket #411;
                 & Research       Charge id: 256814


09/16/19         Postage,         From Zachary Levine to Todd Gravelle/Ritz- Carlton New York             $305.95
                 courier &        Westchester/Three Renaissance Square/White Plains NY
                 freight          10601/Hand Delivery - NPD LOGISITICS Tracking #
                                  CSTM0312103


09/16/19         Postage,         450 LEXINGTON A-NY WHITE P-1047pm- LEVINE                               $118.00
                 courier &
                 freight

09/17/19         Postage,         450 LEXINGTON A-NY WHITE P-107am- LEVINE/                               $120.56
                 courier &
                 freight

09/17/19         Postage,         From Zachary Levine to Todd Gravelle/Ritz- Carlton New York             $347.42
                 courier &        Westchester/Three Renaissance Square/White Plains NY
                 freight          10601/Hand Delivery - NPD LOGISITICS Tracking #
                                  CSTM0312212


09/19/19         Postage,         450 LEXINGTON A-NY WHITE P-651am-10.2 KA                                $118.00
                 courier &
                 freight

09/20/19         Postage,         From Marc J. Tobak to Marc L Kesselman, Esq/Purdue Pharma, L             $10.31
                 courier &        P/One Stamford Forum/STAMFORD CT 06901/FedEx Tracking
                 freight          # 789944681214 Documents


09/24/19         Postage,         From Ryan Young to Aleali Roxana/Purdue Pharma L P/1                     $10.31
                 courier &        STAMFORD FORUM/STAMFORD CT 06901/FedEx
                 freight          Tracking # 780019664079


                                                            102
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                  Main Document
                                                  Pg 117 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                              Amount
                 Type

09/28/19         Postage,         450 LEXINGTON A-315 W 57 S-454pm- STEFANI                                 $43.18
                 courier &
                 freight

09/16/19         Chapter 11      Payee: Robertson, Christopher, Pay.gov -- NEW YORK                      $10,302.00
                 Petition Filing SOUTHERN BANKRUPTCY COURT, 9/16/2019,
                 Fees

09/18/19         Court and        Payee: Horley, Tim, NY Southern District, 9/18/2019,                     $350.00
                 Related
                 fees

09/18/19         Travel           AIRFARE/Robertson,Christophe/09-18- 19/Electronic                           $6.00
                 Out of Town      Miscellaneous Document/Economy seats tkt 268


09/18/19         Travel           AIRFARE/Robertson,Christophe/09-18-19/LGA YYZ LGA/Economy                $506.51
                 Out of Town
                 Off-Site
09/17/19         Hearing          Payee: Levine, Zachary, 9/17/2019-9/17/2019, The Ritz Carlton White     $5,375.40
                 Preparation
                                  Plains NY5

                UCC Formation
09/17/19                          Payee: Glover, Tracy P., 9/17/2019-9/26/2019, Grand Hyatt              $17,003.15
                Meeting Venue
                Fee

09/16/19         Travel Hotel     Payee: Huebner, Marshall S., 9/16/2019- 9/17/2019, , The Ritz            $627.92
                                  Carlton, White Plains

09/16/19         Travel Hotel     Payee: Horley, Tim, Hotel Dupont, 9/16/2019,                              $55.80

09/16/19         Travel Hotel     Payee: Huebner, Marshall S., Seasons, 9/16/2019,                          $40.00


09/16/19         Travel Hotel     Payee: Vonnegut, Eli J., 9/16/2019-9/17/2019, , Cambria Suites White     $239.04
                                  Plains

09/17/19         Travel Hotel     Payee: Mazer, Deborah S., 9/17/2019- 9/17/2019, , Cambria                $216.22
                                  Suites White Plains

09/18/19         Travel Hotel     Payee: Robertson, Christopher, 9/18/2019- 9/19/2019, , Fairmont          $279.29
                                  Royal York Hotel

09/16/19         Travel           Payee: Kaletka, Erich J, 9/17/2019, Ryan Young and Adi Milstein           $65.37
                 Out of Town      were also in the car., Uber, SDNY Bankruptcy Court White Plains,
                                  450 Lexington Ave.

09/17/19         Travel       Payee: Kaletka, Erich J, OT 6:31 AM, Uber, Uber into the office in            $27.04
                 In Town Taxi the early morning

09/17/19         Travel           Payee: Vonnegut, Eli J., 9/17/2019, , Lyft, Court, office                 $73.69
                 Out of Town


                                                              103
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                    Main Document
                                                  Pg 118 of 123
Invoice No.7006597
Invoice Date: November 22, 2019

DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                               Amount
                 Type

09/17/19         Travel           Payee: Levine, Zachary, 9/17/2019, , Uber, Court, Ritz Carlton              $13.47
                 Out of Town

09/17/19         Travel           Payee: Levine, Zachary, 9/17/2019, , Uber, Ritz Carlton (White              $87.44
                 Out of Town      Plains), Home

09/17/19         Travel           Payee: Robertson, Christopher, 9/17/2019, , Uber, Home - Pelham             $29.40
                 Out of Town      NY, Hearing in White Plains


09/17/19         Travel           Payee: Robertson, Christopher, 9/17/2019, , Uber, Hearing - White           $18.54
                 Out of Town      Plains, Home - Pelham NY


09/17/19         Travel           450 LEXINGTON A-NY WHITE P-635am- GIDDENS                                  $114.40
                 Out of Town

09/17/19         Travel           108 E 81 ST NY-NY WHITE P-555am- BENEDICT                                  $114.40
                 Out of Town

09/17/19         Travel           Payee: Tobak, Marc J., 9/17/2019, , Uber, New York, NY, Court in            $82.92
                 Out of Town      White Plains, NY

09/17/19         Travel      NY WHITE PLAINS-450 LEXING-338pm-                                               $113.74
                 Out of Towm Gong,Ra

09/18/19         Travel           Payee: Robertson, Christopher, 9/18/2019, , Aerofleet Services,             $48.58
                 Out of Town      Airport Toronto, Hotel

09/18/19         Travel           450 LEXINGTON A-LG 11371-540pm- ROBERTSO                                    $87.11
                 Out of Town

09/19/19         Travel           Payee: Robertson, Christopher, 9/19/2019, , UP Express Union                 $9.32
                 Out of Town      TVM Toronto, ON, (C), Hotel, Airport


09/19/19         Travel           LG-NY PELHAM-440pm-                                                        $124.46
                 Out of Town      ROBERTSON,CHRISTOPHE

09/16/19         Travel           Payee: Cardillo, Garrett, OT 12:23 AM, Curb,                                $12.96

09/16/19         Travel           Payee: Wasserman, Benjamin D., OT 9:01 PM, Curb,                            $14.72


09/16/19         Travel           Payee: Horley, Tim, OT 12:51 AM, Medallion,                                 $15.36

09/16/19         Travel           450 LEXINGTON A-NY WHITE P-630pm-                                          $108.83
                                  Marshal

09/16/19         Travel           450 LEXINGTON A-60 MAPLE A-447am- RUDEWIC                                  $113.56




                                                            104
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 119 of 123
Invoice No.7006597
Invoice Date: November 22, 2019

DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                            Amount
                 Type

09/16/19         Travel           450 LEXINGTON A-225 ST NIC-535am- GIDDENS                                $43.12


09/16/19         Travel           450 LEXINGTON A-129 WOOD T-623am- HERNAND                                $89.63


09/16/19         Travel           450 LEXINGTON A-9 W 31 ST-623am- MILSTEIN                                $35.33


09/16/19         Travel           450 LEXINGTON A-201 E 2 ST-623am- YOUNG,R                                $35.33


09/16/19         Travel           450 LEXINGTON A-75 EXCHANG-1221am- MCCART                                $37.55


09/16/19         Travel           450 LEXINGTON A-250 E 88 S-119am- CHAO,DA                                $34.21


09/16/19         Travel           450 LEXINGTON A-1709 2 AVE-1157pm- CHAO,D                                $34.21


09/16/19         Travel           450 LEXINGTON A-NY WHITE P-1157pm- CONSLA                               $116.91


09/16/19         Travel           Payee: Mazer, Deborah S., OT 9:04 AM, Uber,                              $15.51

09/16/19         Travel           Payee: Rubin, Dylan S., OT 12:22 AM, NYC TLC, for work on                 $9.35
                                  9/15/19

09/16/19         Travel           Payee: Horley, Tim, OT 1:53 AM, Medallion,                               $15.35

09/16/19         Travel           Payee: Mazer, Deborah S., OT 7:05 PM, Taxi Service,                      $10.00


09/16/19         Travel           Payee: Mazer, Deborah S., 9/16/2019, , Metro- North Railroad, (C),       $12.75
                                  Grand Central, White Plains


09/16/19         Travel           Payee: Brecher, Stephen I., OT 9:35 PM, Uber,                            $65.96

09/16/19         Travel           Payee: Mazer, Deborah S., OT 1:22 PM, Uber,                              $41.98

09/16/19         Travel           Payee: Levine, Zachary, OT 1:53 AM, Uber,                                $28.87

09/16/19         Travel           Payee: Levine, Zachary, OT 11:44 PM, Uber,                               $31.40

09/16/19         Travel           Payee: Consla, Dylan A., OT 2:17 AM, NYC Yellow Taxi Cab ,               $29.75


09/17/19         Travel           Payee: Vonnegut, Eli J., OT 12:57 AM, Lyft,                              $97.67




                                                            105
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36                 Main Document
                                                  Pg 120 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                            Amount
                 Type

09/17/19         Travel           Payee: Townes, Esther C., OT 12:47 AM, Curb,                             $11.16


09/17/19         Travel           Payee: Rubin, Dylan S., OT 10:26 PM, Yellow Cab,                          $8.30


09/17/19         Travel           Payee: Rubin, Dylan S., OT 2:59 AM, Yellow Cab, Work date is              $9.35
                                  9/16/19

09/17/19         Travel           Payee: Horley, Tim, OT 10:06 PM, Medallion,                              $16.00

09/17/19         Travel           Payee: Kaminetzky, Benjamin S., Ritz Carlton, 9/17/2019,                 $14.00


09/17/19         Travel           9 W 31 ST NY Ma-450 LEXING-600am- MILSTEI                                $35.33


09/17/19         Travel           Payee: Wasserman, Benjamin D., OT 11:46 PM, Curb,                        $14.72


09/17/19         Travel           450 LEXINGTON A-1 ASD NY M-856pm-                                        $36.44
                                  Korey,B

09/17/19         Travel           450 LEXINGTON A-1735 YORK-218am- CARDILLO                                $34.21


09/17/19         Travel           450 LEXINGTON A-800 W 181-242am- TOBAK,MA                                $45.35


09/18/19         Travel           Payee: Rubin, Dylan S., OT 3:56 AM, Yellow Cab,                          $10.55


09/18/19         Travel           Payee: Consla, Dylan A., OT 10:11 AM, NYC Yellow Taxi Cab ,              $29.16


09/18/19         Travel           Payee: Forester, Daniel F., OT 9:41 PM, Curb,                            $24.50

09/18/19         Travel           450 LEXINGTON A-90 PINEHUR-317am- TOBAK,M                                $45.35


09/18/19         Travel           450 LEXINGTON A-201 E 2 ST-910pm- RYAN,YO                                $35.33


09/18/19         Travel           450 LEXINGTON A-935 PARK A-1033pm- BENEDI                                $34.21


09/18/19         Travel           450 LEXINGTON A-429 E 65 S-1107pm- SMYTH,                                $31.98


09/18/19         Travel           450 LEXINGTON A-161 6 AVE-1107pm- STEPHEN                                $54.25



                                                           106
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36            Main Document
                                                  Pg 121 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                       Amount
                 Type

09/18/19         Travel           450 LEXINGTON A-82 WASHING-825pm- BOEHN,K                           $37.55


09/18/19         Travel           450 LEXINGTON A-20 EXCHANG-852pm- MCCARTH                           $37.55


09/18/19         Travel           450 LEXINGTON A-99 E 14 ST-910pm- MAZER,D                           $35.33


09/18/19         Travel           450 LEXINGTON A-WEST 181ST-1033pm-                                  $47.57
                                  Marc,T

09/18/19         Travel           450 LEXINGTON A-WEST 135TH-932pm-                                   $40.89
                                  Magali,

09/19/19         Travel           Payee: Huebner, Marshall S., OT 8:47 PM, Curb,                      $15.32


09/19/19         Travel           Payee: Levine, Zachary, Southwest, 9/19/2019,                        $8.00

09/19/19         Travel           Payee: Levine, Zachary, Southwest, 9/19/2019,                        $8.00

09/19/19         Travel           Payee: Horley, Tim, OT 2:12 AM, TLC,                                $14.76

09/19/19         Travel           450 LEXINGTON A-WEST 181ST-826pm-                                   $44.24
                                  Marc,To

09/19/19         Travel           450 LEXINGTON A-108 E 81 S-908pm- BENEDIC                           $34.21


09/19/19         Travel           Payee: Wasserman, Benjamin D., OT 2:38 AM, Curb, Worked late        $14.72
                                  after midnight

09/20/19         Travel           450 LEXINGTON A-2 GRACE CT-840pm- CLARENS                           $48.69


09/20/19         Travel           Payee: Horley, Tim, OT 12:22 AM, TLC,                               $15.96

09/21/19         Travel           Payee: Cardillo, Garrett, OT 10:37 AM, Curb,                        $17.16

09/21/19         Travel           Payee: Cardillo, Garrett, OT 7:15 PM, Curb,                         $15.96

09/22/19         Travel           Payee: Levine, Zachary, Southwest, 9/22/2019,                        $8.00

09/22/19         Travel           Payee: Levine, Zachary, Southwest, 9/22/2019,                        $8.00

09/23/19         Travel           Payee: Pera, Michael, OT 11:28 PM, Curb,                            $14.16

09/23/19         Travel           Payee: Vonnegut, Eli J., OT 11:04 PM, TLC,                          $29.16




                                                            107
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36               Main Document
                                                  Pg 122 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                          Amount
                 Type

09/23/19         Travel           Payee: Wasserman, Benjamin D., OT 12:41 AM, Curb, Worked               $14.14
                                  late after midnight

09/23/19         Travel           450 LEXINGTON A-200 E 81 S-1122pm- BENEDI                              $34.21


09/23/19         Travel           450 LEXINGTON A-10 ST MARK-1024pm- HORLEY                              $35.33


09/23/19         Travel           450 LEXINGTON A-1 WEST 18T-1030pm-                                     $34.21
                                  Marc,T

09/23/19         Travel           Payee: Huebner, Marshall S., Viaset, 9/23/2019,                        $16.00


09/23/19         Travel           Payee: Kaufman, Zachary A., OT 11:49 PM, Medallion,                     $8.30


09/24/19         Travel           450 LEXINGTON A-WEST 181ST-915pm-                                      $44.24
                                  Marc,To

09/24/19         Travel           450 LEXINGTON A-10 ST MARK-928pm- HORLEY,                              $35.33


09/24/19         Travel           Payee: Pera, Michael, OT 9:50 PM, Curb,                                $15.36

09/25/19         Travel           450 LEXINGTON A-108 E 81 S-840pm- BENEDIC                              $34.21


09/25/19         Travel           450 LEXINGTON A-120 ST MAR-840pm- HARLEY,                              $35.33


09/25/19         Travel           Payee: Pera, Michael, OT 10:52 PM, NYC Cab,                            $14.15


09/26/19         Travel           Payee: Mazer, Deborah S., OT 12:07 AM, Curb, Curb for work             $12.43
                                  of 9/26/19 evening

09/26/19         Travel           Payee: Vonnegut, Eli J., OT 10:29 PM, TLC,                             $29.75

09/26/19         Travel           450 LEXINGTON A-CT WESTPOR-600pm-                                     $100.00
                                  Christo

09/26/19         Travel           450 LEXINGTON A-10 ST MARK-840pm- HORLEY,                              $35.33


09/26/19         Travel           450 LEXINGTON A-300 E 63 S-910pm- LUTCHEN                              $31.98


09/26/19         Travel           450 LEXINGTON A-20 EXCHANG-910pm- MCCARTH                              $37.55



                                                           108
  19-23649-rdd            Doc 551       Filed 11/27/19 Entered 11/27/19 16:12:36           Main Document
                                                  Pg 123 of 123
Invoice No.7006597
Invoice Date: November 22, 2019


DISBURSEMENT DETAIL
                 Expense
Date                              Description                                                       Amount
                 Type

09/26/19         Travel           450 LEXINGTON A-108 E 81 S-1048pm- BENEDI                          $34.21


09/27/19         Travel           Payee: Huebner, Marshall S., OT 8:42 PM, NYC TLC Taxi,             $15.80


09/27/19         Travel           450 LEXINGTON A-1735 1 AVE-921pm- CARDILL                          $38.38


09/27/19         Travel           450 LEXINGTON A-75 E 81 ST-1002pm- BENEDI                          $34.21


09/28/19         Travel           450 LEXINGTON A-935 PARK A-1033pm- BENEDI                          $34.21


09/29/19         Travel           450 LEXINGTON A-125 E 81 S-1140pm- BENEDI                          $34.21


09/29/19         Travel           450 LEXINGTON A-20 EXCHANG-1006pm- MCCART                          $37.55


09/29/19         Travel           Payee: Boehm, Korey, OT 3:29 PM, TAXI,                             $17.94

09/29/19         Travel           Payee: Cardillo, Garrett, OT 12:01 PM, Curb,                       $14.16

09/29/19         Travel           Payee: Pera, Michael, OT 9:40 PM, Curb,                            $14.16

09/29/19         Travel           Payee: Pera, Michael, OT 8:27 AM, Curb,                            $11.76

09/30/19         Travel           450 LEXINGTON A-239 W 123-941pm- CARAJAL,                          $40.89


09/30/19         Travel           450 LEXINGTON A-1735 YORK-941pm- CARDILLO                          $34.21


09/30/19         Travel           Payee: Pera, Michael, OT 9:23 PM, Curb,                            $14.76

09/30/19         Travel           450 LEXINGTON A-20 EXCHANG-840pm- MCCARTH                          $37.55


09/30/19         Travel           450 LEXINGTON A-935 PARK A-1040pm- BENEDI                          $34.21


TOTAL                                                                                             $90,233.31




                                                            109
